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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                    )
    In re:                                                          )      Chapter 11
                                                                    )
    SANCHEZ ENERGY CORPORATION, et al.,1                            )      Case No. 19-34508 (MI)
                                                                    )
                              Debtors.                              )      (Jointly Administered)
                                                                    )

            ORDER APPROVING DEBTORS’ MOTION (A) AUTHORIZING THE
        SALE OF THE DEBTOR’S ASSETS FREE AND CLEAR OF LIENS, CLAIMS,
          INTERESTS, AND ENCUMBRANCES TO WHITE RIVER SPV 2 LLC, (B)
           AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF CERTAIN
         EXECUTORY CONTRACTS AND UNEXPIRED LEASES IN CONNECTION
                THEREWITH, AND (C) GRANTING RELATED RELIEF
                             [Relates To ECF No. ____]

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

for entry of an order (this “Order”), (a) approving the form of Assignments, Bill of Sale, and

Conveyance substantially in the forms attached hereto as Exhibits 1-6 (the “Assignment”) by and

between Sanchez Energy and White River SPV 2 LLC (the “Buyer” or “White River”), dated June

1, 2020 (the “Effective Time”), which provides for (a) the sale of certain of the Debtors Mississippi

and Louisiana assets (the “Assets”) to White River in a private sale free and clear of all liens,

claims, interests, and encumbrances (as more fully defined in paragraph 6 below, the “Liens,

Claims, and Interests”) to the fullest extent permitted by § 363(f) of the Bankruptcy Code (the

“Sale”); and (b) authorizing the assumption and assignment of certain executory contracts and



1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, include: Sanchez Energy Corporation (0102); SN Palmetto, LLC (3696); SN Marquis LLC (0102); SN
    Cotulla Assets, LLC (0102); SN Operating, LLC (2143); SN TMS, LLC (0102); SN Catarina, LLC (0102); Rockin
    L Ranch Company, LLC (0102); SN EF Maverick, LLC (0102); SN Payables, LLC (0102); and SN UR Holdings,
    LLC (0102). The location of the Debtors’ service address is 1000 Main Street, Suite 3000, Houston, Texas 77002.
2
       Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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unexpired leases associated with the Assets, and (c) granting other related relief, all as more fully

set forth in the Motion; and this Court having found that it has jurisdiction over this matter pursuant

to 28 U.S.C. § 1334; and this Court having found that this is a core proceeding pursuant to

28 U.S.C. § 157(b)(2); and this Court having found that it may enter a final order consistent with

Article III of the United States Constitution; and this Court having found that venue of this

proceeding and the Motion before this Court is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and this Court having found that the relief requested in the Motion is in the best interest of the

Debtors’ estate, its creditors, and other parties in interest; and this Court having found that the

Debtors’ notice of the Motion and opportunity for a hearing on the Motion was given to all parties

entitled to such notice under the Bankruptcy Code and Bankruptcy Rules, is appropriate under the

circumstances, and no other notice need be provided; and this Court having reviewed the Motion

and having heard the statements in support of the relief requested therein at a hearing before this

Court (the “Hearing”); and this Court having determined that the legal and factual bases set forth

in the Motion and at the Hearing establish just cause for the relief granted herein; and upon all of

the proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

                                        General Provisions

       1.      The Motion is granted and the relief requested therein with respect to the Sale is

granted and approved in its entirety, as set forth herein.

       2.      All objections to the Motion or relief requested therein, if any, that have not been

withdrawn, waived, or settled as announced to this Court at the Hearing or by stipulation filed with

this Court, and all reservations of rights included therein, are hereby overruled on the merits.

                                       Approval of the Sale



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        3.      The Assignments are hereby approved, and the Debtors are authorized to take any

and all actions necessary or appropriate to consummate the Sale.

        4.      The Debtors have satisfied all requirements of §§ 363(b) and 363(f) of the

Bankruptcy Code, and all other requirements and standards applicable to a sale outside the ordinary

course of business, free and clear of all Liens, Claims, and Interests.

                                     Sale and Transfer of Assets

        5.      Pursuant to §§ 105 and 363(b) of the Bankruptcy Code, the Debtors, and their

directors, officers, employees, and agents have the necessary corporate power and are authorized

and directed to take any and all actions necessary to: (a) consummate the Sale of the Assets to the

Buyer pursuant to and in accordance with the terms and conditions of the Assignment, (b) close

the Sale of the Assets as contemplated by the Assignment and this Order, and (c) execute and

deliver, perform under, consummate, implement, and close fully the Assignment, together with all

documents, instruments, and agreements necessary or appropriate to consummate the transaction

pursuant to the Assignment.

        6.      Pursuant to §§ 105(a), 363(b) and 363(f) of the Bankruptcy Code, the Debtors are

authorized to transfer, and upon the closing shall have transferred, all of the Debtors’ right, title,

and interest in and to, and possession of, the Assets to Buyer, which shall be immediately vested

in Buyer subject to the terms of the Assignments. All such Liens, Claims, and Interests shall attach

to the proceeds of the Sale of the Assets (if any) in the order of their priority, with the same validity,

force, and effect that they had against the Assets prior to entry of this Order, subject to any claims

and defenses that the Debtor may possess with respect thereto.

        7.      This Order shall be binding in all respects upon the Debtors, their estates, their

affiliates, creditors (whether known or unknown), and holders of equity interests in the Debtors,

any holders of Liens, Claims, and Interests against or on all or any portion of the Assets, all

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counterparties to the Contracts, Buyer and all of their successors and assigns. This Order and the

Assignments shall inure to the benefit of the Debtors and their estates, Buyer, and their respective

successors and assigns.

       8.      This Order shall be effective as a determination that, pursuant to the Assignments,

all Liens, Claims, and Interests (except as provided under the Assignments), have been

unconditionally released, discharged and terminated as to the Buyer and the Assets. This Order is

binding upon and shall govern the acts of all persons and entities, including all filing agents, filing

officers, title agents, title companies, recorders of mortgages, recorders of deeds, registrars of

deeds, administrative agencies, governmental departments, secretaries of state, federal and local

officials and all other persons and entities who may be required by operation of law, the duties of

their office, or contract, to accept, file, register or otherwise record or release any documents or

instruments, or who may be required to report or insure any title or state of title in or to any lease;

and each of the foregoing persons and entities is hereby directed to accept for filing any and all of

the documents and instruments necessary and appropriate to consummate the Sale contemplated

by the Assignments.

       9.      Following entry of the Order, no holder of any Lien, Claim, or Interest in the Assets

(except to the extent provided under the Assignment solely in accordance with applicable law)

shall interfere with the Buyer’s title to, or use and enjoyment of, the Assets based on, or related to,

any such Lien, Claim or Interest, or based on any actions the Debtors may take in this case.

       10.     Persons, including, without limitation, the Debtors, all holders of Liens, Claims, or

Interests (other than as provided under the Assignment) or other rights, debt security holders,

equity security holders, governmental, tax and regulatory authorities (as to governmental, tax and

regulatory authorities, to the greatest extent allowed by applicable law), lenders and trade and other



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creditors holding and/or asserting claims (as that term is defined in the Bankruptcy Code)

including, but not limited to, claims arising out and/or related to the Sale of the Assets (except for

any claims arising pursuant to the Assignment), and/or Liens, Claims, or Interests arising in any

way in connection with any acts, or failure to act, of the Debtor, obligations, demands or

guaranties, of any kind and nature against or in the Debtor or the Assets (whether legal or equitable,

secured or unsecured, matured or unmatured, contingent or noncontingent, senior or subordinated),

arising under or out of, in connection with or in any way relating to the Debtor, the Assets, the

operation of the Debtors’ business prior to the Effective Time, or the transfer of the Assets to the

Buyer, hereby are, and will be, forever barred, estopped and permanently enjoined from asserting

such Liens, Claims, or Interests against Buyer, its successors or assigns, or its property, including

the Assets. Nothing in this Order releases, nullifies, precludes, or enjoins the enforcement of any

police or regulatory liability to a governmental unit, to which the Buyer may be subject to as the

post-sale owner or operator of any property that is an Asset (as defined in the Assignment) after

the date of entry of this Order; provided, however, that all rights and defenses of the Buyer under

nonbankruptcy law are preserved. Nothing in this Order or the Assignment authorizes the transfer

or assignment of any governmental (i) license, (ii) permit, (iii) registration, (iv) authorization, or

(v) approval, or the discontinuation of any obligation thereunder, without compliance with all

applicable legal requirements and required approvals, if any, under police or regulatory law.

Nothing in this Order divests any tribunal of any jurisdiction it may have under police or regulatory

law to interpret this Order or to adjudicate any defense asserted under this Order.

       11.     Upon entry of this Order, all creditors and any other holder of a Lien, Claim or

Interest is authorized and directed to execute such documents and take all other actions as may be

necessary to release its Lien, Claim, or Interest in the Assets (except to the extent provided in the



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Assignment). If any person or entity that has filed financing statements, mortgages, deeds of trust,

mechanic’s liens, lis pendens or other documents or agreements evidencing Liens, Claims or

Interests against the Assets has not delivered to the Debtor prior to the closing, in proper form for

filing and executed by the appropriate parties, termination statements, instruments of satisfaction,

releases of all interests which the person or entity has with respect to the Assets or otherwise, then

with regard to the Assets: (i) the Debtors are hereby authorized, and the Buyer is hereby authorized,

to execute and file such statements, instruments, releases and other documents on behalf of the

person or entity with respect to the Assets; and (ii) the Buyer is hereby authorized to file, register

or otherwise record a certified copy of this Order, which, once filed, registered or otherwise

recorded, shall constitute conclusive evidence of the release of all Liens, Claims, and Interests

(except to the extent provided under the Assignment) against the Assets. Each and every federal,

state, and local governmental agency or department is hereby directed to accept any and all

documents and instruments necessary and appropriate to consummate the transactions

contemplated by the Assignment, including, without limitation, recordation of this Order. This

Order is deemed to be in recordable form sufficient to be placed in the filing or recording system

of each and every federal, state or local government agency, department or office. This Order shall

be binding upon and shall govern the acts of all persons including, without limitation, all filing

agents, filing officers, title agents, title companies, recorders of mortgages, recorders of deeds,

registrars of deeds, administrative agencies, governmental departments, secretaries of state,

federal, state, and local officials, and all other persons who may be required by operation of law,

the duties of their office, or contract, to accept, file, register, or otherwise record or release any

documents or instruments, or who may be required to report or insure any title or state of title in or

to any of such assets or other property interests. Notwithstanding and without limiting the



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foregoing, the provisions of this Order authorizing the Sale of the Assets free and clear of Liens,

Claims and Interests (except to the extent provided in the Assignment), shall be self-executing, and

neither the Debtor nor the Buyer shall be required to execute or file releases, termination

statements, assignments, consents, or other instruments in order to effectuate, consummate and

implement the provisions of this Order.

       12.     The Buyer is not and shall not be deemed a “successor” to the Debtors or their

estates, or to have, de facto or otherwise, merged with or into the Debtors or be a mere continuation

or substantial continuation of the Debtors or the enterprise of the Debtors under any theory of law

or equity as a result of any action taken in connection with the Assignment or any of the

transactions or documents ancillary thereto or contemplated thereby or in connection with the

acquisition of the Assets. The Buyer has given substantial consideration under the Assignment,

which consideration shall constitute valid, valuable, and sufficient consideration for the absolution

from any potential claims of successor liability of the Buyer to the greatest extent allowed by

applicable law.

                                            Good Faith

       13.     The Assignment and all related documents, instruments and agreements were

negotiated, proposed and entered into by the Debtors and the Buyer at arm’s length, without

collusion, and in good faith within the meaning of § 363(m) of the Bankruptcy Code. The Buyer

is not an “insider” of the Debtors, as that term is defined in Bankruptcy Code § 101(31). The

Buyer is a good faith purchasers and entitled to all of the protections of § 363(m) of the Bankruptcy

Code. The good faith finding is necessary under the Sale and the Sale cannot proceed without it.

                    Assumption and Assignment of the Assumed Contracts

       14.     Pursuant to §§ 105(a), 363(b)(1), and 365(a) of the Bankruptcy Code, the Debtors’

Sale, assumption, and assignment of the Assumed Contracts to Buyer is approved, and the

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requirements of § 365(b)(1) of the Bankruptcy Code with respect thereto are deemed satisfied. All

requirements and conditions under §§ 363 and 365 of the Bankruptcy Code for the assumption by

the Debtors and assignment to Buyer of the Assumed Contracts have been satisfied. The Debtors

are hereby authorized to (i) assume and assign to Buyer, effective as of the Effective Time, the

Assumed Contracts free and clear of all Liens, Claims, and Interests of any kind or nature

whatsoever, other than to the extent provided under the Assignment, and (ii) execute and deliver

to Buyer such documents or other instruments as Buyer reasonably deems necessary to assign and

transfer the Assumed Contracts to Buyer. Buyer has provided adequate assurance of future

performance of their obligations under the Assumed Contracts. Upon entry of this Order, all cure

amounts applicable to the Assumed Contracts will be paid in accordance with the DIP Order.

       15.     The Assumed Contracts shall be transferred to, and remain in full force and effect

for the benefit of Buyer in accordance with their terms, notwithstanding any provision in any such

contract that prohibits, restricts, or conditions such assignment or transfer pursuant to § 365(f) of

the Bankruptcy Code. There shall be no accelerations, assignment fees, increases, or any other

fees charged to Buyer or the Debtors as a result of the assumption and assignment of the Assumed

Contracts.

                                      Additional Provisions

       16.     Nothing in this Order shall be deemed a waiver of any rights, remedies or defenses

that any party has or may have under applicable bankruptcy and non-bankruptcy law, under any

related agreements or any letters of credit relating thereto, or any rights, remedies or defenses of

the Debtor with respect thereto.

       17.     To the extent that any provision of this Order is inconsistent with the terms of the

Assignment, the Order shall govern.



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       18.     All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       19.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

       20.     The requirements set forth in Bankruptcy Local Rule 9013-1 and the Complex Case

Procedures are satisfied by the contents of the Motion.

       21.     Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), this Order shall be

effective and enforceable immediately upon entry hereof.

       22.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

 Houston, Texas
 Dated: ___________, 2020

                                                     MARVIN ISGUR
                                                     UNITED STATES BANKRUPTCY JUDGE




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                                 EXHIBITS 1-6

                                  Assignments




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                            ASSIGNMENT AND BILL OF SALE



ASSIGNORS:            SN TMS, LLC
                      1000 Main Street, Suite 3000
                      Houston, Texas 77002
                      Tel. (713) 783-8000

ASSIGNEE:             WHITE RIVER SPV 2 LLC
                      5899 Preston Road, Suite 505
                      Frisco, Texas 75034
                      Tel. (800) 919-4534


PREPARED BY:          SANCHEZ ENERGY CORPORATION
                      1000 Main Street, Suite 3000
                      Houston, Texas 77002
                      Tel. (713) 783-8000


INDEXING INSTRUCTIONS:

Index in general index and note on face of each lease in Exhibit A.
Index in Sectional Indices as follows:

TOWNSHIP 2 NORTH, RANGE 7 EAST
SECTION 26: SE/4; S/2NE/4; PT E/2SW/4
SECTION 35: NE/4; N/4SE/4
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                             ASSIGNMENT AND BILL OF SALE



STATE OF MISSISSIPPI

COUNTY OF PIKE

        This Assignment and Bill of Sale (this “Assignment”) is by and between SN TMS, LLC
(“Assignor”), a wholly owned subsidiary of Sanchez Energy Corporation, whose address is 1000
Main Street, Suite 3000, Houston, Texas 77002, and White River SPV 2 LLC (“Assignee”), whose
address is 5899 Preston Road, Suite 505, Frisco, Texas 75034. Assignor and Assignee referred to
collectively as the “Parties”.

                                         WITNESSETH:

        WHEREAS, Assignor has agreed to assign to Assignee all of its interest in and to the Assets
(as defined herein);

        WHEREAS, Assignee has agreed to assume the Asset Related Liabilities (as defined
herein);

       NOW, THEREFORE, in consideration of the premises and of the mutual covenants and
agreements hereinafter contained and performed by the Parties hereto, Assignor and Assignee
hereby agree as follows:

                                       ARTICLE 1
                                  CONVEYANCE OF ASSETS

       Section 1.1     Conveyance of Assets. FOR AND IN CONSIDERATION of the sum of
ONE HUNDRED TWENTY-FIVE DOLLARS ($125.00) and other good and valuable
consideration, the receipt and full sufficiency of which are hereby acknowledged by the Parties,
Assignor does, subject to the reservations, covenants, terms and conditions of this Assignment,
hereby GRANT, SELL, CONVEY, TRANSFER, ASSIGN, SET OVER and DELIVER to
Assignee, and Assignee hereby accepts from Assignor, effective as of the Effective Date (as
defined herein), one hundred percent (100%) of Assignor’s interest in the following (the “Assets”):

       (a)     the oil, gas, and mineral leases described in Exhibit “A” attached hereto (“Leases”),
               and all of Assignor’s interest in the Leases and lands described in the Leases or
               pooled or unitized therewith, including, but not limited to, leasehold working
               interests, net revenue interests, royalty interests, non-participating royalty interests,
               overriding royalty interests, net profits interests, reversionary interests and any and
               all other interests owned by Assignor in and to the Leases and the lands described
               in the Leases and pooled or unitized therewith;

       (b)     all wells (including all oil, gas, water, disposal or injection wells) located on any of
               the Leases or on any expired lease or lands with which any Lease has been unitized,
               whether such wells are producing, shut-in, abandoned or in any other condition


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              (Assignor’s collective interest in such wells, including the wells described in
              Exhibit “B” attached hereto (“Wells”));

       (c)    all surface agreements, rights-of-way, saltwater disposal agreements, joint
              operating agreements, letter agreements, unit designations, unit agreements and any
              other contracts and instruments that are used for, or attributable to, the ownership
              or operation of any of the Leases or Wells (“Agreements”);

       (d)    all equipment, machinery, fixtures and other personal and mixed property,
              operational and nonoperational, known or unknown, located on, in or under any of
              the Leases and Wells, that are primarily used or held for use in connection with the
              ownership, operation or development of the Leases and Wells, including pipelines,
              gathering systems, well equipment, casing, tubing, pumps, motors, fixtures,
              machinery, compression equipment, flow lines, tanks, processing and separation
              facilities, water lines and related facilities, structures, materials, drilling barge,
              boats and other items primarily used in the ownership, operation or development of
              the Leases and Wells;

       (e)    all hydrocarbons attributable to the Leases and Wells to the extent such
              hydrocarbons (i) were produced from and after the Effective Date, or (ii) were in
              pipelines or in tanks above the pipeline sales connection, in each case, as of the
              Effective Date, and any unsold inventory of gas products as of the Effective Date,
              and any and all imbalances relating to the Assets regardless of the time of
              occurrence; and

       (f)    all files, records, maps, information and data that (i) relate to the ownership,
              operation or development of the Assets described above, (ii) that are in such
              Assignor’s or its Affiliates’ possession, and (iii) that are not subject to
              confidentiality obligations, including: (A) land and title records (including
              abstracts of title, title opinions and title curative documents); (B) applicable
              contract files; (C) correspondence (to the extent not subject to attorney-client
              privilege or other similar privilege); (D) operations, environmental, health and
              safety, pipeline safety, production, accounting and asset tax records (other than to
              the extent relating to Assignor’s business generally); and (E) production, facility
              and well records and data (including non-confidential logs).

       TO HAVE AND TO HOLD the Assets, together with all rights, privileges and
appurtenances thereto, unto Assignee and its successors and assigns forever, subject to the
reservations, covenants, terms and conditions set forth in this Assignment.

      Section 1.2   Excluded Assets. Assignor hereby reserves and retains the following (the
“Excluded Assets”):

       (a)    all of Assignor’s corporate minute books and corporate financial records that relate
              to Assignor’s business generally;

       (b)    all hydrocarbons produced from the Assets with respect to all periods prior to the
              Effective Date, other than those hydrocarbons produced from or allocated to the


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              Assets and in storage or existing in stock tanks, pipelines or plants (including
              inventory) as of the Effective Date;

       (c)    all personal computers, network equipment and associated peripherals not
              including SCADA, measurement or communication equipment;

       (d)    all drilling rigs, and all trucks, cars and vehicles;

       (e)    all of Assignor’s proprietary computer software, patents, trade secrets, copyrights,
              names, trademarks, logos and other intellectual property;

       (f)    all documents and instruments and other data or information of Assignor that may
              be protected by an attorney-client privilege, including all work product of and
              attorney-client communications with Assignor’s legal counsel or any other
              documents or instruments that may be protected by an attorney-client privilege, but
              excluding any title opinions covering, addressing or commenting on the Assets
              and/or other materials addressing the environmental or other condition of the
              Assets; and

       (g)    all documents and instruments and other data or information that cannot be
              disclosed to Assignee as a result of confidentiality arrangements under agreements
              with third parties or which are proprietary information of third parties such as
              seismic data.

                                          ARTICLE 2
                                         DISCLAIMERS

       Section 2.1    Disclaimers of All Warranties and Representations.

       (a)     Assignor and Assignee acknowledge and agree that the Assets are being conveyed
without warranty of title of any kind whether expressed or implied, at common law, by statute, or
otherwise. Without in any way limiting the generality of the foregoing, Assignee acknowledges
and agrees that the Assets are being assigned subject to the following:

                      (i)    all matters of public record in the county(ies) where a particular
              Asset is located which are still in effect and affect such Asset;

                      (ii)    the terms and conditions of all Agreements, Leases (including with
              respect to (x) any Leases that have expired, or will expire, pursuant to their express
              terms, and (y) any portions of any Leases that are lost as the result of any vertical
              or horizontal “Pugh clauses” or other similar provisions contained therein);

                      (iii)   liens for taxes or assessments not yet due or delinquent;

                      (iv)    conventional rights of reassignment upon final intention to abandon
              or release the Assets, or any of them;




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                   (v)     easements, conditions, covenants, restrictions, servitudes, permits,
           rights-of-way, surface leases and other similar rights for the purpose of surface or
           other operations, facilities, pipelines, transmission lines, transportation lines,
           distribution lines, power lines, telephone lines and other like purposes, or for the
           joint or common use of the lands, rights-of-way, facilities and equipment;

                 (vi)   vendors’, carriers’, warehousemens’, repairmens’, mechanics’,
           workmens’, materialmens’, construction or other like liens arising by operation of
           law in the ordinary course of business or incident to the construction or
           improvement of any property in respect of obligations which are not yet due;

                 (vii) liens created under Leases, permits, easements, rights-of-way or
           Agreements, or by operation of law;

                  (viii) any encumbrance affecting the Assets that has been cured or
           remedied by applicable statutes of limitation or statutes of prescription;

                  (ix)    calls on production under existing Agreements;

                  (x)     defects arising out of lack of survey;

                   (xi)    defects arising out of lack of corporate or other entity authorization
           in the public records; and

                 (xii) defects that affect only which person has the right to receive royalty
           payments (rather than the amount of the proper payment of such royalty payment).

       (b)   IN ADDITION, ASSIGNOR MAKES NO WARRANTIES, EXPRESS,
STATUTORY OR IMPLIED, OR REPRESENTATION OF ANY KIND AND ASSIGNOR
EXPRESSLY DISCLAIMS ALL LIABILITY AND RESPONSIBILITY FOR ANY
REPRESENTATION, WARRANTY, STATEMENT OR INFORMATION MADE OR
COMMUNICATED (ORALLY OR IN WRITING) TO ASSIGNEE OR ANY ASSIGNEE
REPRESENTATIVE (INCLUDING ANY OPINION, INFORMATION, PROJECTION OR
ADVICE THAT MAY HAVE BEEN PROVIDED TO ASSIGNEE BY ASSIGNOR, ANY
AFFILIATE OR SUBSIDIARY OF ASSIGNOR, OR ANY OF THEIR RESPECTIVE
OFFICERS, DIRECTORS, MANAGERS, MEMBERS, PARTNERS, EMPLOYEES, AGENTS,
ADVISORS, PROFESSIONALS OR REPRESENTATIVES). WITHOUT IN ANY WAY
LIMITING THE GENERALITY OF THIS SECTION 2.1, ASSIGNOR EXPRESSLY
DISCLAIMS ANY REPRESENTATION OR WARRANTY, EXPRESS, STATUTORY OR
IMPLIED BY ASSIGNOR, ANY AFFILIATE OR SUBSIDIARY OF ASSIGNOR, OR ANY OF
THEIR RESPECTIVE OFFICERS, DIRECTORS, MANAGERS, MEMBERS, PARTNERS,
EMPLOYEES, AGENTS, ADVISORS, PROFESSIONALS OR REPRESENTATIVES, AS TO
(I) TITLE TO ANY OF THE ASSETS, (II) THE CONTENTS, CHARACTER OR NATURE OF
ANY REPORT OF ANY PETROLEUM ENGINEERING CONSULTANT, OR ANY
ENGINEERING, GEOLOGICAL OR SEISMIC DATA OR INTERPRETATION, RELATING
TO THE ASSETS, (III) THE QUANTITY, QUALITY OR RECOVERABILITY OF
HYDROCARBONS IN OR FROM THE ASSETS, (IV) ANY ESTIMATES OF THE VALUE
OF THE ASSETS OR FUTURE REVENUES GENERATED BY THE ASSETS, (V) THE


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PRODUCTION OF HYDROCARBONS FROM THE ASSETS, (VI) THE MAINTENANCE,
REPAIR, CONDITION, QUALITY, SUITABILITY, DESIGN OR MARKETABILITY OF THE
ASSETS, (VII) THE CONTENT, CHARACTER OR NATURE OF ANY INFORMATION
MEMORANDUM, REPORTS, BROCHURES, CHARTS OR STATEMENTS PREPARED BY
OR ON BEHALF OF ASSIGNOR OR THIRD PARTIES WITH RESPECT TO THE ASSETS,
(VIII) ANY OTHER MATERIALS OR INFORMATION THAT MAY HAVE BEEN MADE
AVAILABLE TO ASSIGNEE OR ANY ASSIGNEE REPRESENTATIVE IN CONNECTION
WITH THE TRANSACTION EFFECTED BY THIS ASSIGNMENT OR ANY DISCUSSION
OR PRESENTATION RELATING THERETO AND (IX) ANY IMPLIED OR EXPRESS
WARRANTY OF FREEDOM FROM PATENT OR TRADEMARK INFRINGEMENT.

     (c)   ASSIGNOR FURTHER DISCLAIMS ANY REPRESENTATION OR
WARRANTY, EXPRESS, STATUTORY OR IMPLIED, OF MERCHANTABILITY,
FREEDOM FROM LATENT VICES OR DEFECTS, FITNESS FOR A PARTICULAR
PURPOSE OR CONFORMITY TO MODELS OR SAMPLES OF MATERIALS OF ANY
ASSETS, RIGHTS OF A PURCHASER UNDER APPROPRIATE STATUTES TO CLAIM
DIMINUTION OF CONSIDERATION OR RETURN OF THE PURCHASE PRICE OR
CONSIDERATION, IT BEING EXPRESSLY UNDERSTOOD AND AGREED BY THE
PARTIES THAT, ASSIGNEE SHALL BE DEEMED TO BE ACQUIRING THE ASSETS IN
THEIR PRESENT STATUS, CONDITION AND STATE OF REPAIR, “AS IS” AND “WHERE
IS” WITH ALL FAULTS OR DEFECTS (KNOWN OR UNKNOWN, LATENT,
DISCOVERABLE OR UNDISCOVERABLE), AND THAT ASSIGNEE HAS MADE OR
CAUSED TO BE MADE SUCH INSPECTIONS AS ASSIGNEE DEEMS
APPROPRIATE. WITHOUT LIMITING THE FOREGOING, ASSIGNOR FURTHER
DISCLAIMS ANY REPRESENTATION OR WARRANTY, EXPRESS, STATUTORY OR
IMPLIED, OF THE VALUE, QUALITY, QUANTITY OR DELIVERABILITY OF ANY OIL,
GAS, OR OTHER MINERAL OR RESERVE, ATTRIBUTABLE OR RELATED TO THE
ASSETS.

     (d)   ASSIGNEE WARRANTS AND REPRESENTS THAT IT: (I) IS EXPERIENCED
AND KNOWLEDGEABLE WITH RESPECT TO THE OIL AND GAS EXPLORATION
INDUSTRY GENERALLY AND WITH TRANSACTIONS AND ASSIGNMENTS OF THIS
TYPE SPECIFICALLY; (II) POSSESSES MORE THAN SUFFICIENT KNOWLEDGE,
EXPERIENCE AND EXPERTISE TO EVALUATE INDEPENDENTLY THE MERITS AND
RISKS OF THE TRANSACTIONS HEREIN CONTEMPLATED; AND (III) IS NOT IN A
MATERIALLY DISPARATE BARGAINING POSITION WHEN COMPARED TO
ASSIGNOR.

     (e)  ASSIGNOR HAS NOT AND WILL NOT MAKE ANY REPRESENTATION OR
WARRANTY REGARDING ANY MATTER OR CIRCUMSTANCE RELATING TO
ENVIRONMENTAL LAWS, THE RELEASE OF HAZARDOUS MATERIALS OR OTHER
MATERIALS INTO THE ENVIRONMENT OR THE PROTECTION OF HUMAN HEALTH,
SAFETY, NATURAL RESOURCES OR THE ENVIRONMENT, OR ANY OTHER
ENVIRONMENTAL CONDITION OF THE ASSETS, AND NOTHING IN THIS
ASSIGNMENT OR OTHERWISE SHALL BE CONSTRUED AS SUCH A
REPRESENTATION OR WARRANTY. ASSIGNEE SHALL BE DEEMED TO BE
ACQUIRING THE ASSETS “AS IS – WHERE IS” WITHOUT ANY REPRESENTATION OR


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WARRANTY WHATSOEVER, WITH ALL FAULTS FOR PURPOSES OF THEIR
ENVIRONMENTAL CONDITION, AND ASSIGNEE HAS MADE OR CAUSED TO BE
MADE SUCH ENVIRONMENTAL INSPECTIONS AS ASSIGNEE DEEMS
APPROPRIATE. ASSIGNEE SHALL RELY, AND HEREBY RELIES, UPON ASSIGNEE’S
OWN INVESTIGATION AND DUE DILIGENCE OF THE PHYSICAL CONDITION OF THE
ASSETS, INCLUDING ANY AND ALL ENVIRONMENTAL CONDITIONS, AND
ASSIGNEE HEREBY ACCEPTS THE ASSETS INCLUSIVE OF ANY ADVERSE
ENVIRONMENTAL CONDITION PRESENTLY EXISTING, WHETHER KNOWN OR
UNKNOWN.

      (f)  ASSIGNEE ACCEPTS THIS ASSIGNMENT SUBJECT TO AND ON THE
BASIS OF THE FOREGOING DISCLAIMERS, DISCLAIMS ANY RELIANCE ON ANY
STATEMENTS OR INFORMATION MADE OR PROVIDED REGARDING ANY SUCH
MATTERS, AND WAIVES ANY RIGHTS IT MAY OTHERWISE HAVE HAD TO RELY ON
ANY SUCH STATEMENTS OR INFORMATION. ASSIGNOR AND ASSIGNEE AGREE
THAT, TO THE EXTENT REQUIRED BY APPLICABLE LAW TO BE EFFECTIVE, THE
DISCLAIMERS OF CERTAIN REPRESENTATIONS AND WARRANTIES CONTAINED IN
THIS SECTION 2.1 ARE CONSPICUOUS DISCLAIMERS.

        Section 2.2      Except to the extent constituting Retained Liabilities, Assignee hereby
assumes and agrees, by accepting this Assignment, the responsibility for the Assets and all the
risk, cost, and expense of all Liabilities and operations related to the Assets, including without
limitation (i) any ongoing operations related to any Asset, (ii) any and all repair and maintenance
related to the Assets, (iii) the proper plugging and abandoning of the Wells, (iv) any surface
restoration or environmental obligations related to any of the Assets, and (v) all other Liabilities
relating to, arising out of or arising in connection with the use, occupation, operation, ownership,
maintenance or abandonment of the Assets whether arising prior to, on or after the Effective Date
(all Liabilities set forth in this Section 2.2, collectively, the “Asset Related Liabilities”). As used
in this Assignment, “Liability” or “Liabilities” means any debt, liability, loss, damage, claim,
demand, cost, expense (including reasonable attorneys’ and consultants’ fees and expenses),
interest, award, judgment, penalty, fine, commitment or obligation (whether direct or indirect,
known or unknown, asserted or unasserted, absolute or contingent, accrued or unaccrued, matured
or unmatured, determined or determinable, disputed or undisputed, liquidated or unliquidated, or
due or to become due) of every kind and description (whether in contract, tort, strict liability or
otherwise), including all costs and expenses related thereto (including all fees, disbursements and
expenses of legal counsel, experts and advisors and costs of investigation), and including
Liabilities arising under any law, regulation, lawsuit or other legal action, any order, writ,
judgment, injunction, decree, stipulation, determination or award entered by or with any
governmental, regulatory or administrative authority and Liabilities arising under any of the
Agreements and whether arising prior to, on or after the Effective Date. “Retained Liabilities”
means the following obligations and Liabilities, known or unknown, arising from, based upon or
associated with the Assets: (a) personal injury, illness or death relating to the use, ownership or
operation of the Assets prior to the Effective Date to the extent such injury, illness or death occurs
both prior to the Effective Date and during Assignor’s ownership of the Assets; (b) Hazardous
Materials related or attributable to the Assets that, during Assignor’s ownership of the Assets, were
disposed of by Assignor or any of its affiliates at off-site commercial disposal facilities; and (c)
any claim made by an employee of Assignor or any of its affiliates relating to such employment.


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         Section 2.3      Assignee agrees to defend, indemnify and hold harmless Assignor and
Sanchez Oil & Gas Corporation (“SOG”) (which acted as contract operator), their respective
agents, employees and assigns (each an “Indemnified Party” and collectively, the “Indemnified
Parties”) from any and all Asset Related Liabilities and any and all obligations and Liabilities
relating to, arising out of or arising in connection with Assignee’s and/or SOG’s operation or use
of the Assets, even if such Liabilities arose from conditions, actions or inactions occurring prior
to, on or after to the Effective Date of this Assignment and even if such Liabilities are caused in
whole or in part by, or contributed to by, the negligence (whether sole, joint or concurrent), strict
liability or other legal fault of an Indemnified Party, its affiliates, agents, employees or contractors,
or any invitee or third party, and whether or not caused by a preexisting condition.

        Section 2.4    Additionally, Assignee hereby agrees to indemnify and hold harmless
Assignor and the Indemnified Parties from any and all claims arising from the production and sale
of hydrocarbons from the Assets assigned hereunder, including the accounting or payment to third
parties of monies attributable to their interests in such production, including any suspense funds,
insofar as such claims relate to hydrocarbons produced from the Wells. Assignee shall be subject
to, responsible for and comply with, at its sole cost and expense, all duties and obligations of
Assignor and any of the Indemnified Parties, express or implied, with respect to the Assets under
or by virtue of any Lease, contract, Agreement, document, permit, applicable statute or rule,
regulation or order of any governmental authority or at common law, specifically including, but
not limited to, any governmental request or requirement or contractual obligation to plug, re-plug
and/or abandon any Well of whatsoever type, status or classification, or take any clean-up, surface
restoration, environmental abatement or remediation or other action with respect to the Assets.

                                           ARTICLE 3
                                        MISCELLANEOUS

        Section 3.1     Government Filings. Assignee agrees and warrants that upon the execution
of this Assignment either Assignee or its designated operator will satisfy all requirements to
qualify under federal, state, and local laws, ordinance, regulations, and orders to operate the Wells,
at Assignee’s sole cost and expense, including, but not limited to, the following:

        (a)     file with the Mississippi State Oil and Gas Board (“MSOGB”) a MSOGB Form 2
                (Change of Operator) for each Well;

        (b)     file with the MSOGB a MSOGB Form 8 (Authorization to Transport) for each Well
                which is producing;

        (c)     submit financial assurance to the MSOGB satisfactory to the MSOGB to secure the
                plugging and abandonment obligations for all Wells and obtain the release of all
                financial assurance provided to the MSOGB by Assignor and/or SOG; and

        (d)     submit to the Mississippi Department of Environmental Quality a permit transfer
                form to transfer and assume from Assignor and SOG all environmental and natural
                resource permits, authorizations, notifications, etc., presently held by or identified
                with Assignor and/or SOG.




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        Section 3.2   Sale Order. This Assignment is expressly made subject to the terms of that
certain Sale Order dated June 18, 2020, issued by the United States Bankruptcy Court for the
Southern District of Texas in Case No. 19-34508 (the “Sale Order”).

        Section 3.3    Taxes. Assignee shall assume and pay all taxes, including ad-valorem taxes,
production taxes, or any other taxes of any kind or character imposed on the Assets as of the
Effective Date of this Assignment.

         Section 3.4    Successors and Assigns. This Assignment shall be binding upon and inure
to the benefit of the Parties and their respective successors and assigns. All references herein to
either Assignors or Assignee shall include their respective successors and assigns.Exhibits. All of
the Exhibits referred to in this Assignment constitute a part of this Assignment.Counterparts. This
Assignment may be executed in counterparts, each of which shall be deemed an original
instrument, but all such counterparts together shall constitute one instrument. No Party shall be
bound until such time as all of the Parties have executed counterparts of this Assignment. To
facilitate recordation or filing of this Assignment, each counterpart must be filed with a parish or
state agency or office that contain those portions of the Exhibits to this Assignment that describe
property in that parish or under the jurisdiction of that agency or office. Complete copies of this
Assignment containing the entire Exhibits have been retained by Assignor and Assignee. IN
WITNESS WHEREOF, this Assignment has been executed by each of the Parties as of the dates
of the acknowledgments below but shall be effective for all purposes as of June 1, 2020 (the
“Effective Date”).


                                    [Signature Page Follows]




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ASSIGNOR:

SN TMS, LLC,
a Delaware limited liability company

By: _________________________________
Name:
Title:




 STATE OF

 COUNTY OF

        Personally appeared before me, the undersigned authority in and for the said county and
        state, on this ____day of __________, 2020, within my jurisdiction, the within named
        _______________, who proved to me on the basis of satisfactory evidence to be the
        person whose name is subscribed in the above and foregoing instrument and
        acknowledged that he/she/they executed the same in his/her/their representative
        capacity(ies), and that by his/her/their signature(s) on the instrument, and as the act and
        deed of the person(s) or entity(ies) upon behalf of which he/she/they acted, executed the
        above and foregoing instrument, after first having been duly authorized so to do.

                                                 _______________________________________
                                                 NOTARY
____________________
My commission expires




                           Signature Page to Assignment and Bill of Sale
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ASSIGNEE:

WHITE RIVER SPV 2 LLC,
a Texas limited liability company


By: _________________________________
Name: Jason Puchir
Title: Chief Financial Officer




 STATE OF

 COUNTY OF



       Personally appeared before me, the undersigned authority in and for the said county and
       state, on this ____day of __________, 2020, within my jurisdiction, the within named
       JASON PUCHIR, who proved to me on the basis of satisfactory evidence to be the person
       whose name is subscribed in the above and foregoing instrument and acknowledged that
       he executed the same in his representative capacities, and that by his signature on the
       instrument, and as the act and deed of the person or entity upon behalf of which he acted,
       executed the above and foregoing instrument, after first having been duly authorized so to
       do.

                                                 _______________________________________
                                                 NOTARY
____________________
My commission expires




                           Signature Page to Assignment and Bill of Sale
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                                                                   EXHIBIT A

            Attached to that certain Assignment and Bill of Sale dated effective June 1, 2020, by and between SN TMS, LLC, as Assignor,
                                                     and White River SPV 2 LLC, as Assignee.

                                                                      Leases

Lease No.                        Lessor                   Lessee               Lease Date    Book     Page     File No.   County   State


MS571002        BOARD OF SUPERVISORS OF PIKE COUNTY,      WORLDWIDE         07/12/1999        201     617      122347      Pike    MS
                MISSISSIPPI                               COMPANIES




                                                             END OF EXHIBIT “A”




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                                             EXHIBIT B

       Attached to that certain Assignment and Bill of Sale dated effective June 1, 2020, by and
           between SN TMS, LLC, as Assignor, and White River SPV 2 LLC, as Assignee.

                                                   Wells


WELL NAME                 WELL NO.        COUNTY/PARISH              STATE                  API NUMBER

PIKE COUNTY FARM              1                PIKE                MISSISSIPPI          23113202340000
BRASWELL 24-12                1                PIKE                MISSISSIPPI          23113202211000


                                      END OF EXHIBIT “B”




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                     ASSIGNMENT AND BILL OF SALE



ASSIGNORS:      SN TMS, LLC
                1000 Main Street, Suite 3000
                Houston, Texas 77002
                Tel. (713) 783-8000


ASSIGNEE:       WHITE RIVER SPV 2 LLC
                5899 Preston Road, Suite 505
                Frisco, Texas 75034
                Tel. (800) 919-4534


PREPARED BY:    SANCHEZ ENERGY CORPORATION
                1000 Main Street, Suite 3000
                Houston, Texas 77002
                Tel. (713) 783-8000




INDEXING INSTRUCTIONS: (ON NEXT PAGE)




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INDEXING INSTRUCTIONS:
Index in general index and note on face of each lease in Exhibit A.
Index in Sectional Indices as follows:

TOWNSHIP 1 NORTH, RANGE 6 EAST
SECTION 19: SW/4; PT W/2W/2SE/4
SECTION 27: SW/4; PT S/2S/2NW/4
SECTION 30: S/2SW/4SW/4
SECTION 31: NW/4NW/4; PT N/2N/2SW/4NW/4
SECTION 34: NW/4; SW/4NE/4
SECTION 37: ALL

TOWNSHIP 1 NORTH, RANGE 5 EAST
SECTION 24: PT E/2NE/4SE/4
SECTION 25: PT S/2S/2SE/4
SECTION 36: PT N/2
SECTION 37: PT N/4

TOWNSHIP 2 NORTH, RANGE 3 EAST
SECTION 07: PT W/2W/2SW/4

TOWNSHIP 2 NORTH, RANGE 6 EAST
SECTION 12: PT SW/4; PT S/2NW/4




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                             ASSIGNMENT AND BILL OF SALE



STATE OF MISSISSIPPI

COUNTY OF AMITE

        This Assignment and Bill of Sale (this “Assignment”) is by and between SN TMS, LLC
(“Assignor”), a wholly owned subsidiary of Sanchez Energy Corporation, whose address is 1000
Main Street, Suite 3000, Houston, Texas 77002, and White River SPV 2 LLC (“Assignee”), whose
address is 5899 Preston Road, Suite 505, Frisco, Texas 75034. Assignor and Assignee referred to
collectively as the “Parties”.

                                         WITNESSETH:

        WHEREAS, Assignor has agreed to assign to Assignee all of its interest in and to the Assets
(as defined herein);

        WHEREAS, Assignee has agreed to assume the Asset Related Liabilities (as defined
herein);

       NOW, THEREFORE, in consideration of the premises and of the mutual covenants and
agreements hereinafter contained and performed by the Parties hereto, Assignor and Assignee
hereby agree as follows:

                                       ARTICLE 1
                                  CONVEYANCE OF ASSETS

       Section 1.1     Conveyance of Assets. FOR AND IN CONSIDERATION of the sum of
ONE HUNDRED TWENTY-FIVE DOLLARS ($125.00) and other good and valuable
consideration, the receipt and full sufficiency of which are hereby acknowledged by the Parties,
Assignor does, subject to the reservations, covenants, terms and conditions of this Assignment,
hereby GRANT, SELL, CONVEY, TRANSFER, ASSIGN, SET OVER and DELIVER to
Assignee, and Assignee hereby accepts from Assignor, effective as of the Effective Date (as
defined herein), one hundred percent (100%) of Assignor’s interest in the following (the “Assets”):

       (a)     the oil, gas, and mineral leases described in Exhibit “A” attached hereto (“Leases”),
               and all of Assignor’s interest in the Leases and lands described in the Leases or
               pooled or unitized therewith, including, but not limited to, leasehold working
               interests, net revenue interests, royalty interests, non-participating royalty interests,
               overriding royalty interests, net profits interests, reversionary interests and any and
               all other interests owned by Assignor in and to the Leases and the lands described
               in the Leases and pooled or unitized therewith;

       (b)     all wells (including all oil, gas, water, disposal or injection wells) located on any of
               the Leases or on any expired lease or lands with which any Lease has been unitized,

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              whether such wells are producing, shut-in, abandoned or in any other condition
              (Assignor’s collective interest in such wells, including the wells described in
              Exhibit “B” attached hereto (“Wells”));

      (c)     all surface agreements, rights-of-way, saltwater disposal agreements, joint
              operating agreements, letter agreements, unit designations, unit agreements and any
              other contracts and instruments that are used for, or attributable to, the ownership
              or operation of any of the Leases or Wells, including, but not limited to, the
              contracts listed in Exhibit “C” attached hereto (“Agreements”);

      (d)     all equipment, machinery, fixtures and other personal and mixed property,
              operational and nonoperational, known or unknown, located on, in or under any of
              the Leases and Wells, that are primarily used or held for use in connection with the
              ownership, operation or development of the Leases and Wells, including pipelines,
              gathering systems, well equipment, casing, tubing, pumps, motors, fixtures,
              machinery, compression equipment, flow lines, tanks, processing and separation
              facilities, water lines and related facilities, structures, materials, drilling barge,
              boats and other items primarily used in the ownership, operation or development of
              the Leases and Wells;

      (e)     all hydrocarbons attributable to the Leases and Wells to the extent such
              hydrocarbons (i) were produced from and after the Effective Date, or (ii) were in
              pipelines or in tanks above the pipeline sales connection, in each case, as of the
              Effective Date, and any unsold inventory of gas products as of the Effective Date,
              and any and all imbalances relating to the Assets regardless of the time of
              occurrence; and

      (f)     all files, records, maps, information and data that (i) relate to the ownership,
              operation or development of the Assets described above, (ii) that are in such
              Assignor’s or its Affiliates’ possession, and (iii) that are not subject to
              confidentiality obligations, including: (A) land and title records (including
              abstracts of title, title opinions and title curative documents); (B) applicable
              contract files; (C) correspondence (to the extent not subject to attorney-client
              privilege or other similar privilege); (D) operations, environmental, health and
              safety, pipeline safety, production, accounting and asset tax records (other than to
              the extent relating to Assignor’s business generally); and (E) production, facility
              and well records and data (including non-confidential logs).

       TO HAVE AND TO HOLD the Assets, together with all rights, privileges and
appurtenances thereto, unto Assignee and its successors and assigns forever, subject to the
reservations, covenants, terms and conditions set forth in this Assignment.

       Section 1.2   Excluded Assets.        Assignor hereby reserves and retains the following
(the “Excluded Assets”):

      (a)     all of Assignor’s corporate minute books and corporate financial records that relate
              to Assignor’s business generally;

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       (b)    all hydrocarbons produced from the Assets with respect to all periods prior to the
              Effective Date, other than those hydrocarbons produced from or allocated to the
              Assets and in storage or existing in stock tanks, pipelines or plants (including
              inventory) as of the Effective Date;

       (c)    all personal computers, network equipment and associated peripherals not
              including SCADA, measurement or communication equipment;

       (d)    all drilling rigs, and all trucks, cars and vehicles;

       (e)    all of Assignor’s proprietary computer software, patents, trade secrets, copyrights,
              names, trademarks, logos and other intellectual property;

       (f)    all documents and instruments and other data or information of Assignor that may
              be protected by an attorney-client privilege, including all work product of and
              attorney-client communications with Assignor’s legal counsel or any other
              documents or instruments that may be protected by an attorney-client privilege, but
              excluding any title opinions covering, addressing or commenting on the Assets
              and/or other materials addressing the environmental or other condition of the
              Assets; and

       (g)    all documents and instruments and other data or information that cannot be
              disclosed to Assignee as a result of confidentiality arrangements under agreements
              with third parties or which are proprietary information of third parties such as
              seismic data.

                                          ARTICLE 2
                                         DISCLAIMERS

       Section 2.1    Disclaimers of All Warranties and Representations.

       (a)     Assignor and Assignee acknowledge and agree that the Assets are being conveyed
without warranty of title of any kind whether expressed or implied, at common law, by statute, or
otherwise. Without in any way limiting the generality of the foregoing, Assignee acknowledges
and agrees that the Assets are being assigned subject to the following:

                      (i)    all matters of public record in the county(ies) where a particular
              Asset is located which are still in effect and affect such Asset;

                      (ii)    the terms and conditions of all Agreements, Leases (including with
              respect to (x) any Leases that have expired, or will expire, pursuant to their express
              terms, and (y) any portions of any Leases that are lost as the result of any vertical
              or horizontal “Pugh clauses” or other similar provisions contained therein);

                      (iii)   liens for taxes or assessments not yet due or delinquent;

                      (iv)    conventional rights of reassignment upon final intention to abandon
              or release the Assets, or any of them;

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                   (v)     easements, conditions, covenants, restrictions, servitudes, permits,
           rights-of-way, surface leases and other similar rights for the purpose of surface or
           other operations, facilities, pipelines, transmission lines, transportation lines,
           distribution lines, power lines, telephone lines and other like purposes, or for the
           joint or common use of the lands, rights-of-way, facilities and equipment;

                 (vi)   vendors’, carriers’, warehousemens’, repairmens’, mechanics’,
           workmens’, materialmens’, construction or other like liens arising by operation of
           law in the ordinary course of business or incident to the construction or
           improvement of any property in respect of obligations which are not yet due;

                 (vii) liens created under Leases, permits, easements, rights-of-way or
           Agreements, or by operation of law;

                  (viii) any encumbrance affecting the Assets that has been cured or
           remedied by applicable statutes of limitation or statutes of prescription;

                  (ix)    calls on production under existing Agreements;

                  (x)     defects arising out of lack of survey;

                   (xi)    defects arising out of lack of corporate or other entity authorization
           in the public records; and

                 (xii) defects that affect only which person has the right to receive royalty
           payments (rather than the amount of the proper payment of such royalty payment).

       (b)   IN ADDITION, ASSIGNOR MAKES NO WARRANTIES, EXPRESS,
STATUTORY OR IMPLIED, OR REPRESENTATION OF ANY KIND AND ASSIGNOR
EXPRESSLY DISCLAIMS ALL LIABILITY AND RESPONSIBILITY FOR ANY
REPRESENTATION, WARRANTY, STATEMENT OR INFORMATION MADE OR
COMMUNICATED (ORALLY OR IN WRITING) TO ASSIGNEE OR ANY ASSIGNEE
REPRESENTATIVE (INCLUDING ANY OPINION, INFORMATION, PROJECTION OR
ADVICE THAT MAY HAVE BEEN PROVIDED TO ASSIGNEE BY ASSIGNOR, ANY
AFFILIATE OR SUBSIDIARY OF ASSIGNOR, OR ANY OF THEIR RESPECTIVE
OFFICERS, DIRECTORS, MANAGERS, MEMBERS, PARTNERS, EMPLOYEES, AGENTS,
ADVISORS, PROFESSIONALS OR REPRESENTATIVES). WITHOUT IN ANY WAY
LIMITING THE GENERALITY OF THIS SECTION 2.1, ASSIGNOR EXPRESSLY
DISCLAIMS ANY REPRESENTATION OR WARRANTY, EXPRESS, STATUTORY OR
IMPLIED BY ASSIGNOR, ANY AFFILIATE OR SUBSIDIARY OF ASSIGNOR, OR ANY OF
THEIR RESPECTIVE OFFICERS, DIRECTORS, MANAGERS, MEMBERS, PARTNERS,
EMPLOYEES, AGENTS, ADVISORS, PROFESSIONALS OR REPRESENTATIVES, AS TO
(I) TITLE TO ANY OF THE ASSETS, (II) THE CONTENTS, CHARACTER OR NATURE OF
ANY REPORT OF ANY PETROLEUM ENGINEERING CONSULTANT, OR ANY
ENGINEERING, GEOLOGICAL OR SEISMIC DATA OR INTERPRETATION, RELATING
TO THE ASSETS, (III) THE QUANTITY, QUALITY OR RECOVERABILITY OF
HYDROCARBONS IN OR FROM THE ASSETS, (IV) ANY ESTIMATES OF THE VALUE
OF THE ASSETS OR FUTURE REVENUES GENERATED BY THE ASSETS, (V) THE
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PRODUCTION OF HYDROCARBONS FROM THE ASSETS, (VI) THE MAINTENANCE,
REPAIR, CONDITION, QUALITY, SUITABILITY, DESIGN OR MARKETABILITY OF THE
ASSETS, (VII) THE CONTENT, CHARACTER OR NATURE OF ANY INFORMATION
MEMORANDUM, REPORTS, BROCHURES, CHARTS OR STATEMENTS PREPARED BY
OR ON BEHALF OF ASSIGNOR OR THIRD PARTIES WITH RESPECT TO THE ASSETS,
(VIII) ANY OTHER MATERIALS OR INFORMATION THAT MAY HAVE BEEN MADE
AVAILABLE TO ASSIGNEE OR ANY ASSIGNEE REPRESENTATIVE IN CONNECTION
WITH THE TRANSACTION EFFECTED BY THIS ASSIGNMENT OR ANY DISCUSSION
OR PRESENTATION RELATING THERETO AND (IX) ANY IMPLIED OR EXPRESS
WARRANTY OF FREEDOM FROM PATENT OR TRADEMARK INFRINGEMENT.

     (c)   ASSIGNOR FURTHER DISCLAIMS ANY REPRESENTATION OR
WARRANTY, EXPRESS, STATUTORY OR IMPLIED, OF MERCHANTABILITY,
FREEDOM FROM LATENT VICES OR DEFECTS, FITNESS FOR A PARTICULAR
PURPOSE OR CONFORMITY TO MODELS OR SAMPLES OF MATERIALS OF ANY
ASSETS, RIGHTS OF A PURCHASER UNDER APPROPRIATE STATUTES TO CLAIM
DIMINUTION OF CONSIDERATION OR RETURN OF THE PURCHASE PRICE OR
CONSIDERATION, IT BEING EXPRESSLY UNDERSTOOD AND AGREED BY THE
PARTIES THAT, ASSIGNEE SHALL BE DEEMED TO BE ACQUIRING THE ASSETS IN
THEIR PRESENT STATUS, CONDITION AND STATE OF REPAIR, “AS IS” AND “WHERE
IS” WITH ALL FAULTS OR DEFECTS (KNOWN OR UNKNOWN, LATENT,
DISCOVERABLE OR UNDISCOVERABLE), AND THAT ASSIGNEE HAS MADE OR
CAUSED TO BE MADE SUCH INSPECTIONS AS ASSIGNEE DEEMS
APPROPRIATE. WITHOUT LIMITING THE FOREGOING, ASSIGNOR FURTHER
DISCLAIMS ANY REPRESENTATION OR WARRANTY, EXPRESS, STATUTORY OR
IMPLIED, OF THE VALUE, QUALITY, QUANTITY OR DELIVERABILITY OF ANY OIL,
GAS, OR OTHER MINERAL OR RESERVE, ATTRIBUTABLE OR RELATED TO THE
ASSETS.

     (d)   ASSIGNEE WARRANTS AND REPRESENTS THAT IT: (I) IS EXPERIENCED
AND KNOWLEDGEABLE WITH RESPECT TO THE OIL AND GAS EXPLORATION
INDUSTRY GENERALLY AND WITH TRANSACTIONS AND ASSIGNMENTS OF THIS
TYPE SPECIFICALLY; (II) POSSESSES MORE THAN SUFFICIENT KNOWLEDGE,
EXPERIENCE AND EXPERTISE TO EVALUATE INDEPENDENTLY THE MERITS AND
RISKS OF THE TRANSACTIONS HEREIN CONTEMPLATED; AND (III) IS NOT IN A
MATERIALLY DISPARATE BARGAINING POSITION WHEN COMPARED TO
ASSIGNOR.

     (e)  ASSIGNOR HAS NOT AND WILL NOT MAKE ANY REPRESENTATION OR
WARRANTY REGARDING ANY MATTER OR CIRCUMSTANCE RELATING TO
ENVIRONMENTAL LAWS, THE RELEASE OF HAZARDOUS MATERIALS OR OTHER
MATERIALS INTO THE ENVIRONMENT OR THE PROTECTION OF HUMAN HEALTH,
SAFETY, NATURAL RESOURCES OR THE ENVIRONMENT, OR ANY OTHER
ENVIRONMENTAL CONDITION OF THE ASSETS, AND NOTHING IN THIS
ASSIGNMENT OR OTHERWISE SHALL BE CONSTRUED AS SUCH A
REPRESENTATION OR WARRANTY. ASSIGNEE SHALL BE DEEMED TO BE
ACQUIRING THE ASSETS “AS IS – WHERE IS” WITHOUT ANY REPRESENTATION OR

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WARRANTY WHATSOEVER, WITH ALL FAULTS FOR PURPOSES OF THEIR
ENVIRONMENTAL CONDITION, AND ASSIGNEE HAS MADE OR CAUSED TO BE
MADE SUCH ENVIRONMENTAL INSPECTIONS AS ASSIGNEE DEEMS
APPROPRIATE. ASSIGNEE SHALL RELY, AND HEREBY RELIES, UPON ASSIGNEE’S
OWN INVESTIGATION AND DUE DILIGENCE OF THE PHYSICAL CONDITION OF THE
ASSETS, INCLUDING ANY AND ALL ENVIRONMENTAL CONDITIONS, AND
ASSIGNEE HEREBY ACCEPTS THE ASSETS INCLUSIVE OF ANY ADVERSE
ENVIRONMENTAL CONDITION PRESENTLY EXISTING, WHETHER KNOWN OR
UNKNOWN.

      (f)  ASSIGNEE ACCEPTS THIS ASSIGNMENT SUBJECT TO AND ON THE
BASIS OF THE FOREGOING DISCLAIMERS, DISCLAIMS ANY RELIANCE ON ANY
STATEMENTS OR INFORMATION MADE OR PROVIDED REGARDING ANY SUCH
MATTERS, AND WAIVES ANY RIGHTS IT MAY OTHERWISE HAVE HAD TO RELY ON
ANY SUCH STATEMENTS OR INFORMATION. ASSIGNOR AND ASSIGNEE AGREE
THAT, TO THE EXTENT REQUIRED BY APPLICABLE LAW TO BE EFFECTIVE, THE
DISCLAIMERS OF CERTAIN REPRESENTATIONS AND WARRANTIES CONTAINED IN
THIS SECTION 2.1 ARE CONSPICUOUS DISCLAIMERS.

        Section 2.2      Except to the extent constituting Retained Liabilities, Assignee hereby
assumes and agrees, by accepting this Assignment, the responsibility for the Assets and all the
risk, cost, and expense of all Liabilities and operations related to the Assets, including without
limitation (i) any ongoing operations related to any Asset, (ii) any and all repair and maintenance
related to the Assets, (iii) the proper plugging and abandoning the Wells, (iv) any surface
restoration or environmental obligations related to any of the Assets, and (v) all other Liabilities
relating to, arising out of or arising in connection with the use, occupation, operation, ownership,
maintenance or abandonment of the Assets whether arising prior to, on or after the Effective Date
(all Liabilities set forth in this Section 2.2, collectively, the “Asset Related Liabilities”). As used
in this Assignment, “Liability” or “Liabilities” means any debt, liability, loss, damage, claim,
demand, cost, expense (including reasonable attorneys’ and consultants’ fees and expenses),
interest, award, judgment, penalty, fine, commitment or obligation (whether direct or indirect,
known or unknown, asserted or unasserted, absolute or contingent, accrued or unaccrued, matured
or unmatured, determined or determinable, disputed or undisputed, liquidated or unliquidated, or
due or to become due) of every kind and description (whether in contract, tort, strict liability or
otherwise), including all costs and expenses related thereto (including all fees, disbursements and
expenses of legal counsel, experts and advisors and costs of investigation), and including
Liabilities arising under any law, regulation, lawsuit or other legal action, any order, writ,
judgment, injunction, decree, stipulation, determination or award entered by or with any
governmental, regulatory or administrative authority and Liabilities arising under any of the
Agreements and whether arising prior to, on or after the Effective Date. “Retained Liabilities”
means the following obligations and Liabilities, known or unknown, arising from, based upon or
associated with the Assets: (a) personal injury, illness or death relating to the use, ownership or
operation of the Assets prior to the Effective Date to the extent such injury, illness or death occurs
both prior to the Effective Date and during Assignor’s ownership of the Assets; (b) Hazardous
Materials related or attributable to the Assets that, during Assignor’s ownership of the Assets, were
disposed of by Assignor or any of its affiliates at off-site commercial disposal facilities; and (c)
any claim made by an employee of Assignor or any of its affiliates relating to such employment.

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         Section 2.3      Assignee agrees to defend, indemnify and hold harmless Assignor and
Sanchez Oil & Gas Corporation (“SOG”) (which acted as contract operator), their respective
agents, employees and assigns (each an “Indemnified Party” and collectively, the “Indemnified
Parties”) from any and all Asset Related Liabilities and any and all obligations and Liabilities
relating to, arising out of or arising in connection with Assignee’s and/or SOG’s operation or use
of the Assets, even if such Liabilities arose from conditions, actions or inactions occurring prior
to, on or after to the Effective Date of this Assignment and even if such Liabilities are caused in
whole or in part by, or contributed to by, the negligence (whether sole, joint or concurrent), strict
liability or other legal fault of an Indemnified Party, its affiliates, agents, employees or contractors,
or any invitee or third party, and whether or not caused by a preexisting condition.

        Section 2.4    Additionally, Assignee hereby agrees to indemnify and hold harmless
Assignor and the Indemnified Parties from any and all claims arising from the production and sale
of hydrocarbons from the Assets assigned hereunder, including the accounting or payment to third
parties of monies attributable to their interests in such production, including any suspense funds,
insofar as such claims relate to hydrocarbons produced from the Wells. Assignee shall be subject
to, responsible for and comply with, at its sole cost and expense, all duties and obligations of
Assignor and any of the Indemnified Parties, express or implied, with respect to the Assets under
or by virtue of any Lease, contract, Agreement, document, permit, applicable statute or rule,
regulation or order of any governmental authority or at common law, specifically including, but
not limited to, any governmental request or requirement or contractual obligation to plug, re-plug
and/or abandon any Well of whatsoever type, status or classification, or take any clean-up, surface
restoration, environmental abatement or remediation or other action with respect to the Assets.

                                           ARTICLE 3
                                        MISCELLANEOUS

        Section 3.1     Government Filings. Assignee agrees and warrants that upon the execution
of this Assignment either Assignee or its designated operator will satisfy all requirements to
qualify under federal, state, and local laws, ordinance, regulations, and orders to operate the Wells,
at Assignee’s sole cost and expense, including, but not limited to, the following:

        (a)     file with the Mississippi State Oil and Gas Board (“MSOGB”) a MSOGB Form 2
                (Change of Operator) for each Well;

        (b)     file with the MSOGB a MSOGB Form 8 (Authorization to Transport) for each Well
                which is producing;

        (c)     submit financial assurance to the MSOGB satisfactory to the MSOGB to secure the
                plugging and abandonment obligations for all Wells and obtain the release of all
                financial assurance provided to the MSOGB by Assignor and/or SOG; and

        (d)     submit to the Mississippi Department of Environmental Quality a permit transfer
                form to transfer and assume from Assignor and SOG all environmental and natural
                resource permits, authorizations, notifications, etc., presently held by or identified
                with Assignor and/or SOG.



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        Section 3.2   Sale Order. This Assignment is expressly made subject to the terms of that
certain Sale Order dated June 18, 2020, issued by the United States Bankruptcy Court for the
Southern District of Texas in Case No. 19-34508 (the “Sale Order”).

        Section 3.3    Taxes. Assignee shall assume and pay all taxes, including ad-valorem taxes,
production taxes, or any other taxes of any kind or character imposed on the Assets as of the
Effective Date of this Assignment.

        Section 3.4    Successors and Assigns. This Assignment shall be binding upon and inure
to the benefit of the Parties and their respective successors and assigns. All references herein to
either Assignors or Assignee shall include their respective successors and assigns.

        Section 3.5    Exhibits. All of the Exhibits referred to in this Assignment constitute a part
of this Assignment.

        Section 3.6    Counterparts. This Assignment may be executed in counterparts, each of
which shall be deemed an original instrument, but all such counterparts together shall constitute
one instrument. No Party shall be bound until such time as all of the Parties have executed
counterparts of this Assignment. To facilitate recordation or filing of this Assignment, each
counterpart must be filed with a parish or state agency or office that contain those portions of the
Exhibits to this Assignment that describe property in that parish or under the jurisdiction of that
agency or office. Complete copies of this Assignment containing the entire Exhibits have been
retained by Assignor and Assignee.

        IN WITNESS WHEREOF, this Assignment has been executed by each of the Parties as
of the dates of the acknowledgments below but shall be effective for all purposes as of June 1,
2020 (the “Effective Date”).


                                    [Signature Page Follows]




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ASSIGNOR:

SN TMS, LLC,
a Delaware limited liability company

By: _________________________________
Name:
Title:




 STATE OF

 COUNTY OF

        Personally appeared before me, the undersigned authority in and for the said county and
        state, on this ____day of __________, 2020, within my jurisdiction, the within named
        _______________, who proved to me on the basis of satisfactory evidence to be the
        person whose name is subscribed in the above and foregoing instrument and
        acknowledged that he/she/they executed the same in his/her/their representative
        capacity(ies), and that by his/her/their signature(s) on the instrument, and as the act and
        deed of the person(s) or entity(ies) upon behalf of which he/she/they acted, executed the
        above and foregoing instrument, after first having been duly authorized so to do.

                                                 _______________________________________
                                                 NOTARY
____________________
My commission expires




                           Signature Page to Assignment and Bill of Sale
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ASSIGNEE:

WHITE RIVER SPV 2 LLC,
a Texas limited liability company


By: _________________________________
Name: Jason Puchir
Title: Chief Financial Officer




 STATE OF

 COUNTY OF



        Personally appeared before me, the undersigned authority in and for the said county and
        state, on this ____day of __________, 2020, within my jurisdiction, the within named
        JASON PUCHIR, who proved to me on the basis of satisfactory evidence to be the person
        whose name is subscribed in the above and foregoing instrument and acknowledged that
        he executed the same in his representative capacities, and that by his signature on the
        instrument, and as the act and deed of the person or entity upon behalf of which he acted,
        executed the above and foregoing instrument, after first having been duly authorized so
        to do.

                                                 _______________________________________
                                                 NOTARY
____________________
My commission expires




                           Signature Page to Assignment and Bill of Sale
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                                                               EXHIBIT A
                     Attached to that certain Assignment and Bill of Sale dated effective June 1, 2020, by and between
                                  SN TMS, LLC, as Assignor, and White River SPV 2 LLC, as Assignee.

                                                                  Leases
                                                                                                                                 County /
Lease No.               Lessor               Lessee                                Lease Date Book Page         File No. State
                                                                                                                                  Parish
MS560005-   LAWSON, LEE RICHARD &   SOUTHEAST LAND SERVICES                        01/21/2003     170    287    0303055   MS      Amite
001         KATHLEEN                INC
MS560005-   WILLIAMS, ROBERT        SOUTHEAST LAND SERVICES                        01/23/2003     170    271    0303047   MS      Amite
002         EVERETT                 INC
MS560005-   PARISH, EUNICE WILLIAMS SOUTHEAST LAND SERVICES                        01/23/2003     170    285    0303054   MS      Amite
003                                 INC
MS560020-   BLACK STONE ACQUISITION WORLDWIDE COMPANIES                            03/10/2004     171    303    0401012   MS      Amite
001         PARTNE
MS560020-   TILLETT, ALICE C.       WORLDWIDE COMPANIES                            01/27/2004     171    178    0400628   MS      Amite
002
MS560020-   SMITH, ED A.                     WORLDWIDE COMPANIES                   01/27/2004     171    305    0401013   MS      Amite
003
MS560020-   RIDDLE III, JAMES I.             WORLDWIDE COMPANIES                   02/17/2004     171    319    0401020   MS      Amite
004
MS560020-   PENTON, DAVID                    WORLDWIDE COMPANIES                   02/13/2004     174    219    0502127   MS      Amite
005
MS560020-   OZBURN, ROBERT                   WORLDWIDE COMPANIES                   02/17/2004     171    361    0401039   MS      Amite
006
MS560020-   LANCASTER, JANE R.               WORLDWIDE COMPANIES                   02/17/2004     171    321    0401021   MS      Amite
007
MS560020-   ALFORD, RANDALL PRISCOK WORLDWIDE COMPANIES                            02/01/2004     171    654    0402122   MS      Amite
008
MS560020-   ALFORD, MARGARET JEAN            WORLDWIDE COMPANIES                   02/01/2004     171    363    0401040   MS      Amite
009         PEGGY
MS560020-   ALFORD, PRENTIS KEITH            WORLDWIDE COMPANIES                   04/09/2004     171    417    0401227   MS      Amite
010

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                                                                                                               County /
Lease No.             Lessor           Lessee                        Lease Date Book Page     File No. State
                                                                                                                Parish
MS560020-   ALFORD, HOWARD W.          WORLDWIDE COMPANIES           02/25/2004   171   325   0401023   MS      Amite
011
MS560020-   RICHARDSON, DEBORAH       WORLDWIDE COMPANIES            02/01/2004   171   333   0401027   MS      Amite
012         PENTON
MS560020-   NORMAN B. GILLIS SR TRUST WORLDWIDE COMPANIES            10/13/2003   170   226   0302772   MS      Amite
013
MS560020-   DORCHESTER MINERALS LP     WORLDWIDE COMPANIES           04/01/2004   171   393   0401218   MS      Amite
014
MS560020-   ESTATE OF WADE W. WILEY, WORLDWIDE COMPANIES             01/15/2004   171   131   0400475   MS      Amite
015         JR.
MS560020-   JONES, A. R.             WORLDWIDE COMPANIES             01/01/2004   171   114   0400467   MS      Amite
016
MS560020-   LOGAN, JULIA ANN           WORLDWIDE COMPANIES           01/27/2004   171   133   0400476   MS      Amite
017
MS560020-   FRAIZIER, WARREN W. DBA    WORLDWIDE COMPANIES           03/31/2004   171   413   0401225   MS      Amite
018         FRAZIE
MS560020-   BHCH PROPERTIES, LTD.      WORLDWIDE COMPANIES           03/31/2004   171   419   0401228   MS      Amite
019
MS560020-   BHCH MINERALS, LTD.        WORLDWIDE COMPANIES           03/31/2004   171   423   0401230   MS      Amite
020
MS560020-   BRANCH, TURNER W.          WORLDWIDE COMPANIES           02/09/2004   171   317   0401019   MS      Amite
021
MS560020-   BUTLER, DANA               WORLDWIDE COMPANIES           02/18/2004   171   406   0401222   MS      Amite
022
MS560020-   BRANCH JR., JAMES A.       WORLDWIDE COMPANIES           02/02/2004   171   186   0400632   MS      Amite
023
MS560020-   BOO-KER OIL & GAS CORP.    WORLDWIDE COMPANIES           01/20/2004   171   126   0400473   MS      Amite
024
MS560020-   SPEARS, CHARLES H.         WORLDWIDE COMPANIES           11/30/2003   170   437   0303269   MS      Amite
025



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                                                                                                               County /
Lease No.            Lessor            Lessee                        Lease Date Book Page     File No. State
                                                                                                                Parish
MS560020-   ESTATE OF WADE W. WILEY    SOUTHEAST LAND SERVICES       04/21/2003   170   277   0303050   MS      Amite
026                                    INC
MS560020-   THORNHILL JR., J. E.       SOUTHEAST LAND SERVICES       12/19/2002   170   279   0303051   MS      Amite
027                                    INC
MS560020-   STOCKARD, W. A.            SOUTHEAST LAND SERVICES       03/21/2003   170   275   0303049   MS      Amite
028                                    INC
MS560020-   JONES, A. R. AND ELIZABETH SOUTHEAST LAND SERVICES       01/09/2003   170   291   0303057   MS      Amite
029         C.                         INC
MS560020-   HOWELL, DOROTHY            SOUTHEAST LAND SERVICES       12/19/2002   170   293   0303058   MS      Amite
030         THORNHILL                  INC
MS560020-   LOGAN, JULIE ANN           SOUTHEAST LAND SERVICES       04/01/2003   171   460   0401562   MS      Amite
031                                    INC
MS560020-   FRAZIER RESOURCES          SOUTHEAST LAND SERVICES       04/20/2004   171   451   0401558   MS      Amite
032         COMPANY                    INC
MS560020-   BUTLER, DANA               SOUTHEAST LAND SERVICES       12/19/2002   170   307   0303065   MS      Amite
033                                    INC
MS560020-   BHCH MINERALS. ET AL       SOUTHEAST LAND SERVICES       04/20/2004   171   453   0401559   MS      Amite
034                                    INC
MS560020-   BRANCH, TURNER W.          SOUTHEAST LAND SERVICES       01/07/2003   170   311   0303067   MS      Amite
035                                    INC
MS560020-   BRANCH JR., JAMES A.       SOUTHEAST LAND SERVICES       01/07/2003   171   458   0401561   MS      Amite
036                                    INC
MS560020-   THE BOOTH-BRICKER FUND SOUTHEAST LAND SERVICES           03/21/2003   170   305   0303064   MS      Amite
037                                    INC
MS560020-   DORCHESTER MINERALS,       SOUTHEAST LAND SERVICES       01/12/2004   171   455   0401560   MS      Amite
038         L.P.                       INC
MS560020-   ELLZEY, ROY S.             SOUTHEAST LAND SERVICES       12/19/2002   170   299   0303061   MS      Amite
050                                    INC
MS560020-   HUGHES, JANE E.            SOUTHEAST LAND SERVICES       12/19/2002   170   295   0303059   MS      Amite
051                                    INC



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                                                                                                                  County /
Lease No.             Lessor              Lessee                        Lease Date Book Page     File No. State
                                                                                                                   Parish
MS560020-   STAHLMAN, JUDY E.       SOUTHEAST LAND SERVICES             12/19/2002   170   283   0303053   MS      Amite
052                                 INC
MS560020-   SETTOON, WILLIAM        SOUTHEAST LAND SERVICES             01/06/2003   170   281   0303052   MS      Amite
053         MICHAEL                 INC
MS560020-   CAGLE, SUE COPASS       SOUTHEAST LAND SERVICES             12/19/2002   170   301   0303062   MS      Amite
054                                 INC
MS560020-   JACKSON, SALLY COPAS    SOUTHEAST LAND SERVICES             12/19/2002   170   289   0303056   MS      Amite
055                                 INC
MS560020-   WOOLLEY, CYNTHIA COPASS SOUTHEAST LAND SERVICES             12/19/2002   170   265   0303044   MS      Amite
056                                 INC
MS560020-   WILTSHIRE, ANN B.       SOUTHEAST LAND SERVICES             01/09/2003   170   267   0303045   MS      Amite
057                                 INC
MS560020-   BILBO, WILLIAM B.       SOUTHEAST LAND SERVICES             01/09/2003   170   309   0303066   MS      Amite
058                                 INC
MS560020-   BRASWELL, RANDY, IND &  ORION ENERGY PARTNERS LP            10/10/2005   175   344   0503333   MS      Amite
059         DBA WOR
MS560020-   STOCKARD, W. A.         WORLDWIDE COMPANIES                 03/03/2004   171   408   0401223   MS      Amite
060
MS560020-   SPEARS, CHARLES H.            SOUTHEAST LAND SERVICES       11/11/2003   171   445   0401556   MS      Amite
062                                       INC
MS560020-   ATKINS MINERALS L. C.         WORLDWIDE COMPANIES           01/10/2004   171   107   0400464   MS      Amite
063
MS560020-   JACKSON, SALLY COPASS         SN TMS, LLC                   10/30/2014   254   532   1500806   MS      Amite
075
MS560020-   THE THOMSEN COMPANY,    SN TMS, LLC                         10/07/2014   252    1    1405937   MS      Amite
078         LLC
MS560020-   WOOLLEY, CYNTHIA COPASS SN TMS, LLC                         10/31/2014   258   310   1501896   MS      Amite
079
MS560020-   COPASS, SUE                   SN TMS, LLC                   10/31/2014   258   321   1501898   MS      Amite
080



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                                                                                                                County /
Lease No.              Lessor           Lessee                        Lease Date Book Page     File No. State
                                                                                                                 Parish
MS560031-   MAY, MARTHA SMILEY          SR ACQUISITION I, LLC         12/16/2011   206   368   1104366   MS      Amite
001
MS560044-   SPEARS, CHARLES H.          SR ACQUISITION I, LLC         12/13/2011   206   146   1104282   MS      Amite
001
MS560044-   TATE, THOMAS A.             F-OIL PROPERTIES INC          05/25/2012   222   435   1204479   MS      Amite
002
MS560044-   TATE, ROBERT DALE           F-OIL PROPERTIES INC          05/25/2012   222   431   1204478   MS      Amite
003
MS560044-   TATE, WILLIAM LEE           F-OIL PROPERTIES INC          05/25/2012   222   427   1204477   MS      Amite
004
MS561001-   JAMES, PAMELA B., ET VIR    F-OIL PROPERTIES, INC.        04/08/2014   240   179   1402902   MS      Amite
005
MS561001-   CARRAWAY, CORNELIUS         F-OIL PROPERTIES, INC         05/30/2014   241   580   1403360   MS      Amite
006
MS561001-   BROWN, ALFRED LEE, ET UX F-OIL PROPERTIES, INC            04/08/2014   241   550   1403355   MS      Amite
007
MS561001-   RAY, GAY L., ET VIR         WORLDWIDE COMPANIES           11/19/2010   225   19    1205191   MS      Amite
R01
MS561001-   ALDRIDGE, JAMES A.          WORLDWIDE COMPANIES           11/19/2010   225   15    1205190   MS      Amite
R02         ALDRIDGE ET AL
MS561001-   JACKSON, PEGGY L., ET VIR   WORLDWIDE COMPANIES           11/19/2010   225   23    1205192   MS      Amite
R03
MS561003-   BOARD OF EDUCATION OF       WORLDWIDE COMPANIES           01/03/2006   175   608   0600084   MS      Amite
001         AMITE CO
MS561003-   BOARD OF EDUCATION OF       SR ACQUISITION I, LLC         10/10/2013   232   673   1303497   MS      Amite
002         AMITE COUNTY
MS561019-   BIRD, CONNIE                F-OIL PROPERTIES INC          04/17/2012   222   415   1204474   MS      Amite
001
MS561019-   SIMS, MICHAEL               F-OIL PROPERTIES INC          04/17/2012   222   419   1204475   MS      Amite
002



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                                                                                                               County /
Lease No.             Lessor           Lessee                        Lease Date Book Page     File No. State
                                                                                                                Parish
MS561019-   JACKSON, DANIEL W., ET AL F-OIL PROPERTIES, INC.         03/19/2014   240   139   1402899   MS      Amite
003
MS561019-   SIMS JR., RALPH EDWIN      F-OIL PROPERTIES, INC.        03/28/2014   242   112   1403385   MS      Amite
004
MS561019-   CARPENTER, BILLIE          SUNCOAST LAND SERVICES,       07/17/2007   185   612   0704007   MS      Amite
005         CHRISTINE                  INC.
MS561019-   IVEY, EVA N.               SUNCOAST LAND SERVICES,       08/21/2007   185   658   0704024   MS      Amite
006                                    INC.
MS561019-   IVEY, GLADYS               SUNCOAST LAND SERVICES,       07/17/2007   185   614   0704008   MS      Amite
007                                    INC.
MS561019-   MCKEY, JODI IVEY           SUNCOAST LAND SERVICES,       08/21/2007   185   660   0704025   MS      Amite
008                                    INC.
MS561019-   IVEY, RONALD S.            SUNCOAST LAND SERVICES,       08/21/2007   185   662   0704026   MS      Amite
009                                    INC.
MS561019-   KIRKLND, LEIGH MICHELLE    SUNCOAST LAND SERVICES,       08/22/2007   185   664   0704027   MS      Amite
010                                    INC.
MS561019-   IVEY, NORMAN S.            SUNCOAST LAND SERVICES,       07/16/2007   185   610   0704006   MS      Amite
011                                    INC.
MS561019-   MCKAY, WANDA GAIL          SUNCOAST LAND SERVICES,       07/17/2007   185   616   0704009   MS      Amite
012                                    INC.
MS561020    BELL, JEAN SMYLIE          F-OIL PROPERTIES, INC.        02/18/2014   237   535   1402113   MS      Amite
MS561021-   ROBINSON, EMERSON B. III   SR ACQUISITION I, LLC         02/06/2014   237   726   1402143   MS      Amite
001
MS561021-   ROBINSON, JOHN GREEN BY    SR ACQUISITION I, LLC         02/06/2014   237   736   1402144   MS      Amite
002         AIF E B ROB
MS561021-   CANNON, RANDALL K., ET     F-OIL PROPERTIES, INC.        04/09/2014   240   34    1402885   MS      Amite
003         UX
MS561021-   STAFFORD, FRANCES          ENCANA OIL & GAS (USA) INC. 05/11/2012     218   497   1203382   MS      Amite
004         JACKSON
MS561021-   HARVEY, JAMES FORD         ENCANA OIL & GAS (USA) INC. 05/11/2012     218   456   1203377   MS      Amite
005

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                                                                                                                County /
Lease No.              Lessor           Lessee                        Lease Date Book Page     File No. State
                                                                                                                 Parish
MS561021-   JACKSON, JAMES FORD         ENCANA OIL & GAS (USA) INC. 05/11/2012     218   481   1203380   MS      Amite
006
MS561021-   JACKSON, JOHN HARVEY        ENCANA OIL & GAS (USA) INC. 05/11/2012     218   473   1203379   MS      Amite
007
MS561021-   HARRINGTON, LAURIE       ENCANA OIL & GAS (USA) INC. 05/11/2012        218   505   1203383   MS      Amite
008         HARVEY
MS561021-   HARVEY, MELBA LEROY, JR. ENCANA OIL & GAS (USA) INC. 05/11/2012        218   448   1203376   MS      Amite
009
MS561021-   VIDRINE, SUSAN JACKSON      ENCANA OIL & GAS (USA) INC. 05/11/2012     218   489   1203381   MS      Amite
010
MS561021-   JACKSON, WILLIAM THOMAS ENCANA OIL & GAS (USA) INC. 05/11/2012         218   466   1203378   MS      Amite
011
MS561022    BUCK, AUDREY LOUISE S.      F-OIL PROPERTIES, INC.        02/18/2014   237   555   1402116   MS      Amite
MS561023    DICKERSON, ALICE SMYLIE     F-OIL PROPERTIES, INC.        02/18/2014   237   616   1402126   MS      Amite
MS561024-   BIGLANE, NOLAND E.          F-OIL PROPERTIES, INC.        03/04/2014   237   522   1402111   MS      Amite
001
MS561024-   FRANCIS, DAVID J.           F-OIL PROPERTIES, INC.        02/28/2014   237   624   1402127   MS      Amite
002
MS561024-   FRANCIS, GENE R.            F-OIL PROPERTIES, INC.        02/26/2014   237   632   1402128   MS      Amite
003
MS561024-   FRANCIS, JOSEPH F. JR.      F-OIL PROPERTIES, INC.        02/24/2014   237   640   1402129   MS      Amite
004
MS561024-   FOSTER, BETTY S.            F-OIL PROPERTIES, INC.        03/21/2014   237   573   1402119   MS      Amite
005
MS561024-   LAMBDIN FAMILY              F-OIL PROPERTIES, INC.        03/27/2014   237   708   1402140   MS      Amite
006         PARTNERSHIP, L.P.
MS561024-   LAMBDIN, CLARK H.           F-OIL PROPERTIES, INC.        04/02/2014   240   196   1402904   MS      Amite
007
MS561024-   LAMBDIN, S.H. III MD        F-OIL PROPERTIES, INC.        04/02/2014   240   204   1402905   MS      Amite
008



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                                                                                                               County /
Lease No.             Lessor           Lessee                        Lease Date Book Page     File No. State
                                                                                                                Parish
MS561024-   BOYLE, KAREN LAMBDIN       F-OIL PROPERTIES, INC.        04/04/2014   240   16    1402882   MS      Amite
009
MS561024-   STEWART, DOUGLAS M.        ENCANA OIL & GAS (USA) INC. 07/27/2012     218   731   1203445   MS      Amite
010
MS561024-   PERRY, CATHY               ENCANA OIL & GAS (USA) INC. 08/02/2012     219   531   1203658   MS      Amite
011
MS561024-   STEWART, DONALD            ENCANA OIL & GAS (USA) INC. 07/27/2012     219   518   1203656   MS      Amite
012
MS561024-   CLAY, EVA S.               ENCANA OIL & GAS (USA) INC. 07/27/2012     220   140   1203830   MS      Amite
013
MS561024-   STEWART, MARK              ENCANA OIL & GAS (USA) INC. 07/27/2012     220   129   1203828   MS      Amite
014
MS561024-   MCDOWELL, MARY             ENCANA OIL & GAS (USA) INC. 07/27/2012     218   724   1203444   MS      Amite
015         STEWART
MS561024-   ROBERTS, NETTIE M.         ENCANA OIL & GAS (USA) INC. 07/27/2012     220   494   1203954   MS      Amite
016
MS561024-   BOONE, STACY STEWART       ENCANA OIL & GAS (USA) INC. 07/27/2012     219   544   1203660   MS      Amite
017
MS561024-   REESE, WILLIE STEWART      ENCANA OIL & GAS (USA) INC. 07/27/2012     220   146   1203831   MS      Amite
018
MS561025-   RICHMOND, PATRICIA M.      F-OIL PROPERTIES, INC.        03/07/2014   238    1    1402145   MS      Amite
001
MS561025-   SMITH, TERRY M.            F-OIL PROPERTIES, INC.        03/07/2014   238   103   1402162   MS      Amite
002
MS561025-   YARBROUGH, JANICE J.       F-OIL PROPERTIES, INC.        03/13/2014   238   95    1402161   MS      Amite
003
MS561025-   WILLIAMS, JOSEPH L., ET UX F-OIL PROPERTIES, INC.        03/12/2014   238   90    1402160   MS      Amite
004
MS561025-   ST DAVIS BAPTIST CHURCH    F-OIL PROPERTIES, INC.        03/19/2014   238   85    1402159   MS      Amite
005



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                                                                                                                County /
Lease No.              Lessor           Lessee                        Lease Date Book Page     File No. State
                                                                                                                 Parish
MS561025-   DIGEL, JEANNINE M.          F-OIL PROPERTIES, INC.        03/07/2014   237   590   1402122   MS      Amite
006
MS561025-   WILLIAMS, ERNEST LEE, ET    F-OIL PROPERTIES, INC.        03/12/2014   238   69    1402156   MS      Amite
007         UX
MS561025-   WILLIAMS, LENA              F-OIL PROPERTIES, INC.        03/21/2014   238   75    1402157   MS      Amite
008
MS561025-   WILLIAMS, J. R.             F-OIL PROPERTIES, INC.        03/21/2014   238   64    1402155   MS      Amite
009
MS561025-   HAMPTON, LINDA              F-OIL PROPERTIES, INC.        03/21/2014   237   653   1402131   MS      Amite
010
MS561025-   WILLIAMS, LEMMIE JR.        F-OIL PROPERTIES, INC.        03/20/2014   238   80    1402158   MS      Amite
011
MS561025-   DUNBAR, GLORIA DEAN         F-OIL PROPERTIES, INC.        03/12/2014   237   585   1402121   MS      Amite
012         SPEARS
MS561025-   BROWN, MILDRED              F-OIL PROPERTIES, INC.        03/27/2014   237   549   1402115   MS      Amite
013
MS561025-   ALLEN, SANDRA               F-OIL PROPERTIES, INC.        03/21/2014   237   517   1402110   MS      Amite
014
MS561025-   JACOBS, LOTTIE MAE          F-OIL PROPERTIES, INC.        03/27/2014   237   696   1402138   MS      Amite
015
MS561025-   BROWN, MELVIN R.            F-OIL PROPERTIES, INC.        03/27/2014   237   543   1402114   MS      Amite
016
MS561025-   HARDEN, LENA                F-OIL PROPERTIES, INC.        03/21/2014   237   658   1402132   MS      Amite
017
MS561025-   SPENCER, SHIRLEY            F-OIL PROPERTIES, INC.        03/27/2014   240   266   1402913   MS      Amite
018
MS561025-   HAMPTON JR., LESSIE J.      F-OIL PROPERTIES, INC.        06/13/2014   243   243   1403720   MS      Amite
019
MS561025-   HAMPTON, LESLIE K.          F-OIL PROPERTIES, INC.        06/09/2014   243   238   1403719   MS      Amite
020



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                                                                                                                County /
Lease No.             Lessor             Lessee                       Lease Date Book Page     File No. State
                                                                                                                 Parish
MS561025-   HAMPTON, APRIL S.            F-OIL PROPERTIES, INC.       06/07/2014   243   228   1403717   MS      Amite
021
MS561025-   BROWN, REGINA, ET AL         F-OIL PROPERTIES, INC.       03/24/2014   241   559   1403356   MS      Amite
022
MS561026    RYAN, JOHN III               F-OIL PROPERTIES, INC.       02/18/2014   238   12    1402147   MS      Amite
MS561027    RYAN, MARY ANN               F-OIL PROPERTIES, INC.       02/18/2014   238   20    1402148   MS      Amite
MS561028-   SMILEY, JAMES MALCOLM        F-OIL PROPERTIES, INC.       03/27/2014   238   47    1402152   MS      Amite
001         JR.
MS561028-   SMILEY, ETTA GILLIS, ET AL   ENCANA OIL & GAS (USA) INC. 11/19/2012    214   585   1202165   MS      Amite
002
MS561028-   DIXON, JAMES E., ET UX       PETROLEUM LAND SERVICES,     11/16/2012   205    9    1103948   MS      Amite
003                                      LLC
MS561029-   SHAY, SUSAN ALICE            F-OIL PROPERTIES, INC.       03/20/2014   238   39    1402151   MS      Amite
001         JACKSON
MS561029-   JACKSON-D’AMBROSI,           F-OIL PROPERTIES, INC.       03/20/2014   237   608   1402125   MS      Amite
002         ELIZABETH ANN
MS561029-   JACKSON, DAVID RUDD          F-OIL PROPERTIES, INC.       03/20/2014   237   668   1402134   MS      Amite
003
MS561029-   JACKSON, WILLIAM       F-OIL PROPERTIES, INC.             03/20/2014   237   688   1402137   MS      Amite
004         WINGATE
MS561029-   VANOOYEN, GALE JACKSON F-OIL PROPERTIES, INC.             03/20/2014   238   58    1402154   MS      Amite
005
MS561029-   STEWART, LAURA MASON         F-OIL PROPERTIES, INC.       03/20/2014   238   52    1402153   MS      Amite
006
MS561029-   MASON, MARSHALL LEE III      F-OIL PROPERTIES, INC.       03/20/2014   237   720   1402142   MS      Amite
007
MS561029-   KRAUSE, MARY ANN             F-OIL PROPERTIES, INC.       03/20/2014   237   702   1402139   MS      Amite
008
MS561029-   JACKSON, BARBARA             F-OIL PROPERTIES, INC.       03/20/2014   237   676   1402135   MS      Amite
009



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                                                                                                                County /
Lease No.              Lessor           Lessee                        Lease Date Book Page     File No. State
                                                                                                                 Parish
MS561029-   MASON, MARTHA               F-OIL PROPERTIES, INC.        04/20/2014   238   28    1402149   MS      Amite
010
MS561029-   LIBERTY TRACE, LLC          F-OIL PROPERTIES, INC.        03/17/2014   237   716   1402141   MS      Amite
011
MS561029-   FRANKLIN, PATRICIA LEE      F-OIL PROPERTIES, INC.        03/20/2014   237   579   1402120   MS      Amite
012
MS561029-   JACKSON, JAY BRUCE          F-OIL PROPERTIES, INC.        03/20/2014   237   682   1402136   MS      Amite
013
MS561029-   JACKSON, WAYNE GARY         F-OIL PROPERTIES, INC,        03/19/2014   240   165   1402901   MS      Amite
014
MS561029-   JACKSON, MATTHEW W.         F-OIL PROPERTIES, INC.        03/19/2014   240   153   1402900   MS      Amite
015
MS561029-   JACKSON, DANIEL W.          F-OIL PROPERTIES, INC.        03/19/2014   240   126   1402898   MS      Amite
016
MS561029-   LEWIS III, CHARLES H.       F-OIL PROPERTIES, INC.        05/06/2014   242   54    1403377   MS      Amite
017
MS561029-   BRADDOCK, SUZANNE           AUDOBON OIL AND GAS           06/26/2012   207   383   1200161   MS      Amite
019         JACKSON                     CORPORATION
MS561034-   COLLINS, MELENDAR JORE      F-OIL PROPERTIES, INC.        05/08/2014   240   47    1402887   MS      Amite
001
MS561034-   NORWOOD, JERRY WAYNE        F-OIL PROPERTIES, INC.        06/09/2014   242   68    1403379   MS      Amite
002
MS561041    ALDRIDGE, DALE ALVIN        F-OIL PROPERTIES, INC.        05/14/2014   241   530   1403351   MS      Amite
MS561051-   MORRIS, JAMES A.            AUDOBON OIL AND GAS           08/30/2012   206   236   1104313   MS      Amite
001                                     CORPORATION
MS561051-   MCALLISTER, R. S., ET UX    AUDOBON OIL AND GAS           08/10/2012   207   406   1200165   MS      Amite
002                                     CORPORATION
MS561052    JACKSON, JOE LEE, ET UX     PETROLEUM LAND SERVICES,      11/08/2012   205   142   1103981   MS      Amite
                                        LLC
MS561053- CHANEY, WILLIAM D.            TEXAS REEXPLORATION, LTD.     02/16/2012   210   646   1201134   MS      Amite
001                                     03

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                                                                                                               County /
Lease No.             Lessor           Lessee                        Lease Date Book Page     File No. State
                                                                                                                Parish
MS561053-   ROUSSEL, NANCYE            TEXAS REEXPLORATION, LTD.     02/16/2012   211   133   1201237   MS      Amite
002         CAROLYN                    03
MS561053-   CHANEY, LINDA SUSAN        TEXAS REEXPLORATION, LTD.     02/16/2012   211   116   1201234   MS      Amite
003                                    03
MS561053-   CHANEY, PATRICK PHARES     TEXAS REEXPLORATION, LTD.     02/16/2012   211   123   1201235   MS      Amite
004                                    03
MS561053-   PHARES, JOHN HADEN JR.     SN TMS, LLC                   10/01/2014   258   289   1501894   MS      Amite
005
MS561053-   PHARES, JAMES ALLEN        SN TMS, LLC                   10/01/2014   258   300   1501895   MS      Amite
006
MS561053-   PHARES, FRANCES            SN TMS, LLC                   10/01/2014   258   279   1501893   MS      Amite
007         MARGARET
MS561054    SAWYER, RUTH S., ET AL    PETROLEUM LAND SERVICES,       11/12/2012   205   290   1104020   MS      Amite
                                      LLC
MS563001- SMITH JR., CLAUDE L., ET UX SR ACQUISITION I, LLC          12/28/2011   207   126   1200098   MS      Amite
001
MS563001- CAMPBELL, LINDA K. SMITH, SR ACQUISITION I, LLC            12/28/2011   207   115   1200096   MS      Amite
002       ET V
MS563001- SMITH, CHARLES LONNIE       SR ACQUISITION I, LLC          12/28/2011   207   221   1200097   MS      Amite
003
MS563001- PRESCOTT, LAURA MARIE       SR ACQUISITION I, LLC          12/28/2011   207   104   1200094   MS      Amite
004       SMITH

                                                END OF EXHIBIT “A”




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                                                         EXHIBIT B

Attached to that certain Assignment and Bill of Sale dated effective June 1, 2020, by and between SN TMS, LLC, as Assignor, and
                                              White River SPV 2 LLC, as Assignee.


                                                               Wells


        WELL NAME                           WELL NO.         COUNTY/PARISH             STATE           API NUMBER

        CHARLES SPEARS                          1A                 AMITE            MISSISSIPPI      23005206880000

                                                   END OF EXHIBIT “B”




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                                                                  EXHIBIT C

        Attached to that certain Assignment and Bill of Sale dated effective June 1, 2020, by and between SN TMS, LLC, as Assignor, and
                                                      White River SPV 2 LLC, as Assignee.



Contract No. Grantor / Operator            Grantee / Non-Operator         Type                      Date    State County Book Page File No.
MS560JOA-001 ENCANA OIL & GAS (USA) INC    SN TMS, LLC, ET AL             JOINT OPERATING        12/01/2014 MS    Amite 271 435 160096
                                                                          AGMT                                                         4
MS560JOA-002 ENCANA OIL & GAS (USA) INC    SN TMS, LLC, ET AL             JOINT OPERATING        12/01/2013 MS    Amite
                                                                          AGMT
MS560ROW-    SHELDON CRAWFORD              SANCHEZ OIL & GAS              PIPELINE AND SURFACE   07/31/2012   MS    Amite   386    690 120447
002A                                       CORPORATION                    SITE AGMT.                                                      3
MS563JOA-001 GOODRICH PETROLEUM            SR ACQUISITION I, LLC, ET AL   JOINT OPERATING        03/15/2014   MS    Amite   272    265 160158
             COMPANY LLC                                                  AGMT                                                            0
MS582ROW-    JAMES E HEMPHILL ET UX        THRESHOLD DEVELOPMENT          PIPELINE EASEMENT      06/14/2001   MS    Amite
02A                                        COMPANY                        O&G



                                                           END OF EXHIBIT “C”




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                       ASSIGNMENT AND BILL OF SALE



ASSIGNORS:        SN TMS, LLC
                  1000 Main Street, Suite 3000
                  Houston, Texas 77002
                  Tel. (713) 783-8000


ASSIGNEE:         WHITE RIVER SPV 2 LLC
                  5899 Preston Road, Suite 505
                  Frisco, Texas 75034
                  Tel. (800) 919-4534


PREPARED BY:      SANCHEZ ENERGY CORPORATION
                  1000 Main Street, Suite 3000
                  Houston, Texas 77002
                  Tel. (713) 783-8000




INDEXING INSTRUCTIONS:

(ON NEXT PAGES)




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INDEXING INSTRUCTIONS:

Index in general index and note on face of each lease in Exhibit A.

Index in Sectional Indices as follows:

TOWNSHIP 1 NORTH, RANGE 1 WEST
SECTION 04: N/2NW/4
SECTION 06: PT N/2N/2NE/4NW/4
SECTION 16: E/2E/2

TOWNSHIP 1 NORTH, RANGE 2 WEST
SECTION 04: PT E/2; PT SW/4
SECTION 14: PT W/2W/2
SECTION 15: MOST OF SECTION
SECTION 20: W/2SW/4; NW/4; PT W/2W/2NE/4
SECTION 21: SE/4; PT NE/4; PT SE/4SW/4; SE/4

TOWNSHIP 2 NORTH, RANGE 1 EAST
SECTION 05: SW/4; SW/4NW/4
SECTION 06: PT E/2NE/4
SECTION 22: PT SE/4SE/4
SECTION 23: PT SW/4SW/4
SECTION 30: PT NW/4NW/4
SECTION 31: E/2NE/4; NW/4NE/4; PT N/2N/2NW/4; NW/4SE/4
SECTION 36: NW/4NW/4; E/2E/2SE/4

TOWNSHIP 2 NORTH, RANGE 1 WEST
SECTION 03: PT E/2; S/2S/2SW/4
SECTION 04: NW/4NW/4; PT SW/4NW/4; W/2SW/4; PT E/2SW4
SECTION 05: ALL, LESS PT SE/4NW/4 & PT SW/4NE/4
SECTION 06: N/4NW/4; PT S/2NW/4; S/2NE/4; N/4SE/4; N/2S/2SE/4
SECTION 07: SE/4SE/4
SECTION 08: ALL
SECTION 09: PT NW/4; PT NE/4; PT W/2SE/4
SECTION 10: PT NW/4; PT SW/4; NE/4; PT SE/4
SECTION 11: PT SW/4NW/4; NW/4SW/4; PT SW/4SW/4
SECTION 15: SW/4; W/2SE/4; PT SW/4NE/4; S/2NW/4; PT NW/4NW/4
SECTION 17: PT N/2; W/2SW/4; PT E/2SW/4
SECTION 18: NE/4NE/4
SECTION 22: NE/4SE/4
SECTION 23: SE/4SE/4

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SECTION 28: PT SW/4
SECTION 29: E/2SE/4; SW/4SE/4; W/2NW/4
SECTION 32: PT E/2E/2NW/4; PT NE/4; PT NW/4SE/4
SECTION 33: PT N/2NW/4
SECTION 36: W/2; NE/4

TOWNSHIP 2 NORTH, RANGE 2 WEST
SECTION 19: ALL
SECTION 20: ALL, LESS PT E/2E/2
SECTION 34: ALL
SECTION 35: W/2, LESS PT S/2S/2W/2; PT W/2W/2E/2
SECTION 39: PT E/2SW/4; PT W/2SW/4
SECTION 41: PT N/2NW/4NW/4; E/2W/2; W/2E/2; W/2E/2E/2
SECTION 42: E/2W/2; E/2, LESS PT E/2E/2

TOWNSHIP 2 NORTH, RANGE 3 WEST
SECTION 24: NE/4
SECTION 40: PT E/2NE/4

TOWNSHIP 2 NORTH, RANGE 4 WEST
SECTION 21: PT S/2; PT S/2N/2
SECTION 27: PT E/2E/2
SECTION 28: ALL
SECTION 29: ALL
SECTION 36: ALL
SECTION 37: ALL
SECTION 38: ALL
SECTION 39: ALL
SECTION 40: ALL
SECTION 41: ALL
SECTION 44: ALL
SECTION 46: ALL
SECTION 47: ALL
SECTION 48: ALL

TOWNSHIP 3 NORTH, RANGE 1 EAST
SECTION 05: SE/4SW/4
SECTION 06: W/2NW/4NW/4NW/4; W/2SW/4
SECTION 11: PT W/2W/2SW/4SW/4
SECTION 21: SE/4NW/4; SW/4 LESS N/2NE/4SW/4
SECTION 29: N/2NW/4SE/4


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TOWNSHIP 3 NORTH, RANGE 1 WEST
SECTION 02: N/2NW/4; W/2W/2NW/4NE/4
SECTION 03: N/2NE/4NE/4
SECTION 04: PT NW/4NE/4; PT S/2NW/4NW/4; PT NW/4SW/4SE/4
SECTION 12: PT NW/4NE/4
SECTION 14: PT W/2SW/4
SECTION 24: PT E/2SW/4
SECTION 26: PT SE/4SW/4; PT NW/4SE/4
SECTION 27: S/2S/2SW/4NW/4, NW/4SW/4; PT W/2SE/4SW/4; SE/4SE/4; S/2NE/4SE/4
SECTION 29: PT S/2NE/4
SECTION 36: E/2SW/4
SECTION 39: PT N/2SE/4SW/4

TOWNSHIP 3 NORTH, RANGE 2 WEST
SECTION 05: PT SE/4; PT SE/4SW/4
SECTION 06: PT S/2
SECTION 14: E/2 LESS ROAD; PT W/2
SECTION 32: PT N/2NW/4
SECTION 38: E/2 LESS ROAD
SECTION 39: W/2NW/4
SECTION 49: SW/4NE/4; W/2SE/4NE/4; PT E/2SE/4NE/4
SECTION 52: PT S/2

TOWNSHIP 4 NORTH, RANGE 1 WEST
SECTION 04: SE/4SW/4
SECTION 06: SE/4SE/4
SECTION 15: NE/4NE/4
SECTION 16: NW/4NW/4




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                             ASSIGNMENT AND BILL OF SALE



STATE OF MISSISSIPPI

COUNTY OF WILKINSON

        This Assignment and Bill of Sale (this “Assignment”) is by and between SN TMS, LLC
(“Assignor”), a wholly owned subsidiary of Sanchez Energy Corporation whose address is 1000
Main Street, Suite 3000, Houston, Texas 77002, and White River SPV 2 LLC (“Assignee”), whose
address is 5899 Preston Road, Suite 505, Frisco, Texas 75034. Assignor and Assignee referred to
collectively as the “Parties”.

                                         WITNESSETH:

        WHEREAS, Assignor has agreed to assign to Assignee all of its interest in and to the Assets
(as defined herein);

        WHEREAS, Assignee has agreed to assume the Asset Related Liabilities (as defined
herein);

       NOW, THEREFORE, in consideration of the premises and of the mutual covenants and
agreements hereinafter contained and performed by the Parties hereto, Assignor and Assignee
hereby agree as follows:

                                       ARTICLE 1
                                  CONVEYANCE OF ASSETS

       Section 1.1     Conveyance of Assets. FOR AND IN CONSIDERATION of the sum of
ONE HUNDRED TWENTY-FIVE DOLLARS ($125.00) and other good and valuable
consideration, the receipt and full sufficiency of which are hereby acknowledged by the Parties,
Assignor does, subject to the reservations, covenants, terms and conditions of this Assignment,
hereby GRANT, SELL, CONVEY, TRANSFER, ASSIGN, SET OVER and DELIVER to
Assignee, and Assignee hereby accepts from Assignor, effective as of the Effective Date (as
defined herein), one hundred percent (100%) of Assignor’s interest in the following (the “Assets”):

       (a)     the oil, gas, and mineral leases described in Exhibit “A” attached hereto (“Leases”),
               and all of Assignor’s interest in the Leases and lands described in the Leases or
               pooled or unitized therewith, including, but not limited to, leasehold working
               interests, net revenue interests, royalty interests, non-participating royalty interests,
               overriding royalty interests, net profits interests, reversionary interests and any and
               all other interests owned by Assignor in and to the Leases and the lands described
               in the Leases and pooled or unitized therewith;

       (b)     all wells (including all oil, gas, water, disposal or injection wells) located on any of
               the Leases or on any expired lease or lands with which any Lease has been unitized,

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              whether such wells are producing, shut-in, abandoned or in any other condition
              (Assignor’s collective interest in such wells, including the wells described in
              Exhibit “B” attached hereto (“Wells”));

       (c)    all surface agreements, rights-of-way, saltwater disposal agreements, joint
              operating agreements, letter agreements, unit designations, unit agreements and any
              other contracts and instruments that are used for, or attributable to, the ownership
              or operation of any of the Leases or Wells, including, but not limited to, the
              contracts listed in Exhibit “C” attached hereto (“Agreements”);

       (d)    all equipment, machinery, fixtures and other personal and mixed property,
              operational and nonoperational, known or unknown, located on any of the Leases
              and Wells, that are primarily used or held for use in connection with the ownership,
              operation or development of the Leases and Wells, including pipelines, gathering
              systems, well equipment, casing, tubing, pumps, motors, fixtures, machinery,
              compression equipment, flow lines, processing and separation facilities, water lines
              and related facilities, structures, materials, drilling barge, boats and other items
              primarily used in the ownership, operation or development of the Leases and Wells;

       (e)    all hydrocarbons attributable to the Leases and Wells to the extent such
              hydrocarbons (i) were produced from and after the Effective Date, or (ii) were in
              pipelines or in tanks above the pipeline sales connection, in each case, as of the
              Effective Date, and any unsold inventory of gas products as of the Effective Date,
              and any and all imbalances relating to the Assets regardless of the time of
              occurrence; and

       (f)    all files, records, maps, information and data that (i) relate to the ownership,
              operation or development of the Assets described above, (ii) that are in such
              Assignor’s or its Affiliates’ possession, and (iii) that are not subject to
              confidentiality obligations, including: (A) land and title records (including
              abstracts of title, title opinions and title curative documents); (B) applicable
              contract files; (C) correspondence (to the extent not subject to attorney-client
              privilege or other similar privilege); (D) operations, environmental, health and
              safety, pipeline safety, production, accounting and asset tax records (other than to
              the extent relating to Assignor’s business generally); and (E) production, facility
              and well records and data (including non-confidential logs).

       TO HAVE AND TO HOLD the Assets, together with all rights, privileges and
appurtenances thereto, unto Assignee and its successors and assigns forever, subject to the
reservations, covenants, terms and conditions set forth in this Assignment.

       Section 1.2   Excluded Assets.       Assignor hereby reserves and retains the following
(the “Excluded Assets”):

       (a)    all of Assignor’s corporate minute books and corporate financial records that relate
              to Assignor’s business generally;



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  (b)    all hydrocarbons produced from the Assets with respect to all periods prior to the
         Effective Date, other than those hydrocarbons produced from or allocated to the
         Assets and in storage or existing in stock tanks, pipelines or plants (including
         inventory) as of the Effective Date;

  (c)    all personal computers, network equipment and associated peripherals not
         including SCADA, measurement or communication equipment;

  (d)    all drilling rigs, and all trucks, cars and vehicles;

  (e)    all of Assignor’s proprietary computer software, patents, trade secrets, copyrights,
         names, trademarks, logos and other intellectual property;

  (f)    all documents and instruments and other data or information of Assignor that may
         be protected by an attorney-client privilege, including all work product of and
         attorney-client communications with Assignor’s legal counsel or any other
         documents or instruments that may be protected by an attorney-client privilege, but
         excluding any title opinions covering, addressing or commenting on the Assets
         and/or other materials addressing the environmental or other condition of the
         Assets; and

  (g)    all documents and instruments and other data or information that cannot be
         disclosed to Assignee as a result of confidentiality arrangements under agreements
         with third parties or which are proprietary information of third parties such as
         seismic data.

                                      ARTICLE 2
                                     DISCLAIMERS

  Section 2.1    Disclaimers of All Warranties and Representations.

                (i)    Assignor and Assignee acknowledge and agree that the Assets are
         being conveyed without warranty of title of any kind whether expressed or implied,
         at common law, by statute, or otherwise. Without in any way limiting the generality
         of the foregoing, Assignee acknowledges and agrees that the Assets are being
         assigned subject to the following:

                 (ii)   all matters of public record in the county(ies) where a particular
         Asset is located which are still in effect and affect such Asset;

                 (iii)   the terms and conditions of all Agreements, Leases (including with
         respect to (x) any Leases that have expired, or will expire, pursuant to their express
         terms, and (y) any portions of any Leases that are lost as the result of any vertical
         or horizontal “Pugh clauses” or other similar provisions contained therein);

                 (iv)     liens for taxes or assessments not yet due or delinquent;



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                   (v)     conventional rights of reassignment upon final intention to abandon
           or release the Assets, or any of them;

                   (vi)    easements, conditions, covenants, restrictions, servitudes, permits,
           rights-of-way, surface leases and other similar rights for the purpose of surface or
           other operations, facilities, pipelines, transmission lines, transportation lines,
           distribution lines, power lines, telephone lines and other like purposes, or for the
           joint or common use of the lands, rights-of-way, facilities and equipment;

                 (vii) vendors’, carriers’, warehousemens’, repairmens’, mechanics’,
           workmens’, materialmens’, construction or other like liens arising by operation of
           law in the ordinary course of business or incident to the construction or
           improvement of any property in respect of obligations which are not yet due;

                 (viii) liens created under Leases, permits, easements, rights-of-way or
           Agreements, or by operation of law;

                  (ix)   any encumbrance affecting the Assets that has been cured or
           remedied by applicable statutes of limitation or statutes of prescription;

                  (x)      calls on production under existing Agreements;

                  (xi)     defects arising out of lack of survey;

                   (xii) defects arising out of lack of corporate or other entity authorization
           in the public records; and

                 (xiii) defects that affect only which person has the right to receive royalty
           payments (rather than the amount of the proper payment of such royalty payment).

       (b)   IN ADDITION, ASSIGNOR MAKES NO WARRANTIES, EXPRESS,
STATUTORY OR IMPLIED, OR REPRESENTATION OF ANY KIND AND ASSIGNOR
EXPRESSLY DISCLAIMS ALL LIABILITY AND RESPONSIBILITY FOR ANY
REPRESENTATION, WARRANTY, STATEMENT OR INFORMATION MADE OR
COMMUNICATED (ORALLY OR IN WRITING) TO ASSIGNEE OR ANY ASSIGNEE
REPRESENTATIVE (INCLUDING ANY OPINION, INFORMATION, PROJECTION OR
ADVICE THAT MAY HAVE BEEN PROVIDED TO ASSIGNEE BY ASSIGNOR, ANY
AFFILIATE OR SUBSIDIARY OF ASSIGNOR, OR ANY OF THEIR RESPECTIVE
OFFICERS, DIRECTORS, MANAGERS, MEMBERS, PARTNERS, EMPLOYEES, AGENTS,
ADVISORS, PROFESSIONALS OR REPRESENTATIVES). WITHOUT IN ANY WAY
LIMITING THE GENERALITY OF THIS SECTION 2.1, ASSIGNOR EXPRESSLY
DISCLAIMS ANY REPRESENTATION OR WARRANTY, EXPRESS, STATUTORY OR
IMPLIED BY ASSIGNOR, ANY AFFILIATE OR SUBSIDIARY OF ASSIGNOR, OR ANY OF
THEIR RESPECTIVE OFFICERS, DIRECTORS, MANAGERS, MEMBERS, PARTNERS,
EMPLOYEES, AGENTS, ADVISORS, PROFESSIONALS OR REPRESENTATIVES, AS TO
(I) TITLE TO ANY OF THE ASSETS, (II) THE CONTENTS, CHARACTER OR NATURE OF
ANY REPORT OF ANY PETROLEUM ENGINEERING CONSULTANT, OR ANY
ENGINEERING, GEOLOGICAL OR SEISMIC DATA OR INTERPRETATION, RELATING

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TO THE ASSETS, (III) THE QUANTITY, QUALITY OR RECOVERABILITY OF
HYDROCARBONS IN OR FROM THE ASSETS, (IV) ANY ESTIMATES OF THE VALUE
OF THE ASSETS OR FUTURE REVENUES GENERATED BY THE ASSETS, (V) THE
PRODUCTION OF HYDROCARBONS FROM THE ASSETS, (VI) THE MAINTENANCE,
REPAIR, CONDITION, QUALITY, SUITABILITY, DESIGN OR MARKETABILITY OF THE
ASSETS, (VII) THE CONTENT, CHARACTER OR NATURE OF ANY INFORMATION
MEMORANDUM, REPORTS, BROCHURES, CHARTS OR STATEMENTS PREPARED BY
OR ON BEHALF OF ASSIGNOR OR THIRD PARTIES WITH RESPECT TO THE ASSETS,
(VIII) ANY OTHER MATERIALS OR INFORMATION THAT MAY HAVE BEEN MADE
AVAILABLE TO ASSIGNEE OR ANY ASSIGNEE REPRESENTATIVE IN CONNECTION
WITH THE TRANSACTION EFFECTED BY THIS ASSIGNMENT OR ANY DISCUSSION
OR PRESENTATION RELATING THERETO AND (IX) ANY IMPLIED OR EXPRESS
WARRANTY OF FREEDOM FROM PATENT OR TRADEMARK INFRINGEMENT.

     (c)   (c)   ASSIGNOR FURTHER DISCLAIMS ANY REPRESENTATION OR
WARRANTY, EXPRESS, STATUTORY OR IMPLIED, OF MERCHANTABILITY,
FREEDOM FROM LATENT VICES OR DEFECTS, FITNESS FOR A PARTICULAR
PURPOSE OR CONFORMITY TO MODELS OR SAMPLES OF MATERIALS OF ANY
ASSETS, RIGHTS OF A PURCHASER UNDER APPROPRIATE STATUTES TO CLAIM
DIMINUTION OF CONSIDERATION OR RETURN OF THE PURCHASE PRICE OR
CONSIDERATION, IT BEING EXPRESSLY UNDERSTOOD AND AGREED BY THE
PARTIES THAT, ASSIGNEE SHALL BE DEEMED TO BE ACQUIRING THE ASSETS IN
THEIR PRESENT STATUS, CONDITION AND STATE OF REPAIR, “AS IS” AND “WHERE
IS” WITH ALL FAULTS OR DEFECTS (KNOWN OR UNKNOWN, LATENT,
DISCOVERABLE OR UNDISCOVERABLE), AND THAT ASSIGNEE HAS MADE OR
CAUSED TO BE MADE SUCH INSPECTIONS AS ASSIGNEE DEEMS
APPROPRIATE. WITHOUT LIMITING THE FOREGOING, ASSIGNOR FURTHER
DISCLAIMS ANY REPRESENTATION OR WARRANTY, EXPRESS, STATUTORY OR
IMPLIED, OF THE VALUE, QUALITY, QUANTITY OR DELIVERABILITY OF ANY OIL,
GAS, OR OTHER MINERAL OR RESERVE, ATTRIBUTABLE OR RELATED TO THE
ASSETS.

      (d) (d)  ASSIGNEE WARRANTS AND REPRESENTS THAT IT: (I) IS
EXPERIENCED AND KNOWLEDGEABLE WITH RESPECT TO THE OIL AND GAS
EXPLORATION INDUSTRY GENERALLY AND WITH TRANSACTIONS AND
ASSIGNMENTS OF THIS TYPE SPECIFICALLY; (II) POSSESSES MORE THAN
SUFFICIENT KNOWLEDGE, EXPERIENCE AND EXPERTISE TO EVALUATE
INDEPENDENTLY THE MERITS AND RISKS OF THE TRANSACTIONS HEREIN
CONTEMPLATED; AND (III) IS NOT IN A MATERIALLY DISPARATE BARGAINING
POSITION WHEN COMPARED TO ASSIGNOR.

     (e)  ASSIGNOR HAS NOT AND WILL NOT MAKE ANY REPRESENTATION OR
WARRANTY REGARDING ANY MATTER OR CIRCUMSTANCE RELATING TO
ENVIRONMENTAL LAWS, THE RELEASE OF HAZARDOUS MATERIALS OR OTHER
MATERIALS INTO THE ENVIRONMENT OR THE PROTECTION OF HUMAN HEALTH,
SAFETY, NATURAL RESOURCES OR THE ENVIRONMENT, OR ANY OTHER
ENVIRONMENTAL CONDITION OF THE ASSETS, AND NOTHING IN THIS

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ASSIGNMENT OR OTHERWISE SHALL BE CONSTRUED AS SUCH A
REPRESENTATION OR WARRANTY. ASSIGNEE SHALL BE DEEMED TO BE
ACQUIRING THE ASSETS “AS IS – WHERE IS” WITHOUT ANY REPRESENTATION OR
WARRANTY WHATSOEVER, WITH ALL FAULTS FOR PURPOSES OF THEIR
ENVIRONMENTAL CONDITION, AND ASSIGNEE HAS MADE OR CAUSED TO BE
MADE SUCH ENVIRONMENTAL INSPECTIONS AS ASSIGNEE DEEMS
APPROPRIATE. ASSIGNEE SHALL RELY, AND HEREBY RELIES, UPON ASSIGNEE’S
OWN INVESTIGATION AND DUE DILIGENCE OF THE PHYSICAL CONDITION OF THE
ASSETS, INCLUDING ANY AND ALL ENVIRONMENTAL CONDITIONS, AND
ASSIGNEE HEREBY ACCEPTS THE ASSETS INCLUSIVE OF ANY ADVERSE
ENVIRONMENTAL CONDITION PRESENTLY EXISTING, WHETHER KNOWN OR
UNKNOWN.

       Section 2.2    Assignee accepts this Assignment subject to and on the basis of the
foregoing disclaimers, disclaims any reliance on any statements or information made or provided
regarding any such matters, and waives any rights it may otherwise have had to rely on any such
statements or information. ASSIGNOR AND ASSIGNEE AGREE THAT, TO THE EXTENT
REQUIRED BY APPLICABLE LAW TO BE EFFECTIVE, THE DISCLAIMERS OF
CERTAIN REPRESENTATIONS AND WARRANTIES CONTAINED IN THIS SECTION 2.1
ARE CONSPICUOUS DISCLAIMERS.

        Section 2.3      Except to the extent constituting Retained Liabilities, Assignee hereby
assumes and agrees, by accepting this Assignment, the responsibility for the Assets and all the
risk, cost, and expense of all Liabilities and operations related to the Assets, including without
limitation (i) any ongoing operations related to any Asset, (ii) any and all repair and maintenance
related to the Assets, (iii) the proper plugging and abandoning the Wells, (iv) any surface
restoration or environmental obligations related to any of the Assets, and (v) all other Liabilities
relating to, arising out of or arising in connection with the use, occupation, operation, ownership,
maintenance or abandonment of the Assets whether arising prior to, on or after the Effective Date
(all Liabilities set forth in this Section 2.2, collectively, the “Asset Related Liabilities”). As used
in this Assignment, “Liability” or “Liabilities” means any debt, liability, loss, damage, claim,
demand, cost, expense (including reasonable attorneys’ and consultants’ fees and expenses),
interest, award, judgment, penalty, fine, commitment or obligation (whether direct or indirect,
known or unknown, asserted or unasserted, absolute or contingent, accrued or unaccrued, matured
or unmatured, determined or determinable, disputed or undisputed, liquidated or unliquidated, or
due or to become due) of every kind and description (whether in contract, tort, strict liability or
otherwise), including all costs and expenses related thereto (including all fees, disbursements and
expenses of legal counsel, experts and advisors and costs of investigation), and including
Liabilities arising under any law, regulation, lawsuit or other legal action, any order, writ,
judgment, injunction, decree, stipulation, determination or award entered by or with any
governmental, regulatory or administrative authority and Liabilities arising under any of the
Agreements and whether arising prior to, on or after the Effective Date. “Retained Liabilities”
means the following obligations and Liabilities, known or unknown, arising from, based upon or
associated with the Assets: (a) personal injury, illness or death relating to the use, ownership or
operation of the Assets prior to the Effective Date to the extent such injury, illness or death occurs
both prior to the Effective Date and during Assignor’s ownership of the Assets; (b) Hazardous
Materials related or attributable to the Assets that, during Assignor’s ownership of the Assets, were

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disposed of by Assignor or any of its affiliates at off-site commercial disposal facilities; and (c)
any claim made by an employee of Assignor or any of its affiliates relating to such employment.

         Section 2.4      Assignee agrees to defend, indemnify and hold harmless Assignor and
Sanchez Oil & Gas Corporation (“SOG”) (which acted as contract operator), their respective
agents, employees and assigns (each an “Indemnified Party” and collectively, the “Indemnified
Parties”) from any and all Asset Related Liabilities and any and all obligations and Liabilities
relating to, arising out of or arising in connection with Assignee’s and/or SOG’s operation or use
of the Assets, even if such Liabilities arose from conditions, actions or inactions occurring prior
to, on or after to the Effective Date of this Assignment and even if such Liabilities are caused in
whole or in part by, or contributed to by, the negligence (whether sole, joint or concurrent), strict
liability or other legal fault of an Indemnified Party, its affiliates, agents, employees or contractors,
or any invitee or third party, and whether or not caused by a preexisting condition.

        Section 2.5    Additionally, Assignee hereby agrees to indemnify and hold harmless
Assignor and the Indemnified Parties from any and all claims arising from the production and sale
of hydrocarbons from the Assets assigned hereunder, including the accounting or payment to third
parties of monies attributable to their interests in such production, including any suspense funds,
insofar as such claims relate to hydrocarbons produced from the Wells. Assignee shall be subject
to, responsible for and comply with, at its sole cost and expense, all duties and obligations of
Assignor and any of the Indemnified Parties, express or implied, with respect to the Assets under
or by virtue of any Lease, contract, Agreement, document, permit, applicable statute or rule,
regulation or order of any governmental authority or at common law, specifically including, but
not limited to, any governmental request or requirement or contractual obligation to plug, re-plug
and/or abandon any Well of whatsoever type, status or classification, or take any clean-up, surface
restoration, environmental abatement or remediation or other action with respect to the Assets.

                                           ARTICLE 3
                                        MISCELLANEOUS

        Section 3.1     Government Filings. Assignee agrees and warrants that upon the execution
of this Assignment either Assignee or its designated operator will satisfy all requirements to
qualify under federal, state, and local laws, ordinance, regulations, and orders to operate the Wells,
at Assignee’s sole cost and expense, including, but not limited to, the following:

        (a)     file with the Mississippi State Oil and Gas Board (“MSOGB”) a MSOGB Form 2
                (Change of Operator) for each Well;

        (b)     file with the MSOGB a MSOGB Form 8 (Authorization to Transport) for each Well
                which is producing;

        (c)     submit financial assurance to the MSOGB satisfactory to the MSOGB to secure the
                plugging and abandonment obligations for all Wells and obtain the release of all
                financial assurance provided to the MSOGB by Assignor and/or SOG; and

        (d)     submit to the Mississippi Department of Environmental Quality a permit transfer
                form to transfer and assume from Assignor and SOG all environmental and natural


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               resource permits, authorizations, notifications, etc., presently held by or identified
               with Assignor and/or SOG.

        Section 3.2   Sale Order. This Assignment is expressly made subject to the terms of that
certain Sale Order dated June 18, 2020, issued by the United States Bankruptcy Court for the
Southern District of Texas in Case No. 19-34508 (the “Sale Order”).

        Section 3.3    Taxes. Assignee shall assume and pay all taxes, including ad-valorem taxes,
production taxes, or any other taxes of any kind or character imposed on the Assets as of the
Effective Date of this Assignment.

         Section 3.4    Successors and Assigns. This Assignment shall be binding upon and inure
to the benefit of the Parties and their respective successors and assigns. All references herein to
either Assignors or Assignee shall include their respective successors and assigns.Exhibits. All of
the Exhibits referred to in this Assignment constitute a part of this Assignment.Counterparts. This
Assignment may be executed in counterparts, each of which shall be deemed an original
instrument, but all such counterparts together shall constitute one instrument. No Party shall be
bound until such time as all of the Parties have executed counterparts of this Assignment. To
facilitate recordation or filing of this Assignment, each counterpart must be filed with a parish or
state agency or office that contain those portions of the Exhibits to this Assignment that describe
property in that parish or under the jurisdiction of that agency or office. Complete copies of this
Assignment containing the entire Exhibits have been retained by Assignor and Assignee. IN
WITNESS WHEREOF, this Assignment has been executed by each of the Parties as of the dates
of the acknowledgments below but shall be effective for all purposes as of June 1, 2020 (the
“Effective Date”).


                                    [Signature Page Follows]




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ASSIGNOR:

SN TMS, LLC,
a Delaware limited liability company

By: _________________________________
Name:
Title:



 STATE OF

 COUNTY OF

        Personally appeared before me, the undersigned authority in and for the said county and
        state, on this ____day of __________, 2020, within my jurisdiction, the within named
        _______________, who proved to me on the basis of satisfactory evidence to be the
        person whose name is subscribed in the above and foregoing instrument and
        acknowledged that he/she/they executed the same in his/her/their representative
        capacity(ies), and that by his/her/their signature(s) on the instrument, and as the act and
        deed of the person(s) or entity(ies) upon behalf of which he/she/they acted, executed the
        above and foregoing instrument, after first having been duly authorized so to do.

                                                 _______________________________________
                                                 NOTARY
____________________
My commission expires




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ASSIGNEE:

WHITE RIVER SPV 2 LLC,
a Texas limited liability company


By: _________________________________
Name: Jason Puchir
Title: Chief Financial Officer




 STATE OF

 COUNTY OF



        Personally appeared before me, the undersigned authority in and for the said county and
        state, on this ____day of __________, 2020, within my jurisdiction, the within named
        JASON PUCHIR, who proved to me on the basis of satisfactory evidence to be the person
        whose name is subscribed in the above and foregoing instrument and acknowledged that
        he executed the same in his representative capacities, and that by his signature on the
        instrument, and as the act and deed of the person or entity upon behalf of which he acted,
        executed the above and foregoing instrument, after first having been duly authorized so
        to do.

                                                 _______________________________________
                                                 NOTARY
____________________
My commission expires




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                                           EXHIBIT A

      Attached to that certain Assignment and Bill of Sale dated effective June 1, 2020, by and
                                between SN TMS, LLC, as Assignor,
                              and White River SPV 2 LLC, as Assignee.

                                              Leases

Lease No.                  Lessor               Lessee                              Lease Date Book Page      S
MS550018-      WEBSTER, LEAH                    F-OIL PROPERTIES, INC.              07/16/2013    192   513   M
T00            KATHRYN
MS550056-      WADE, MILDRED M.                 F-OIL PROPERTIES INC                02/06/2013    191   667   M
T01
MS550056-      WEBSTER, GAIL M.                 F-OIL PROPERTIES, INC.              07/16/2013    192   476   M
T02
MS550056-      BROWN, JEAN M.                   F-OIL PROPERTIES, INC.              07/16/2013    192   505   M
T03
MS550056-      GILLON, ELIZABETH M.             F-OIL PROPERTIES, INC.              07/16/2013    192   484   M
T04
MS550056-      SUSIE MORRIS MARTENS             F-OIL PROPERTIES, INC.              07/16/2013    192   498   M
T05            ESTATE
MS550056-      BELL, JOHN C.                    F-OIL PROPERTIES INC                11/30/2012    185   335   M
T06
MS550056-      BELL, DOUGLAS V.                 F-OIL PROPERTIES INC                02/06/2013    191   673   M
T07
MS550056-      BELL, MARY LEE                   F-OIL PROPERTIES, INC.              07/16/2013    192   491   M
T08
MS550063-      JAMES HUFF                       TRIDIMENSION ENERGY LP              08/15/2008    158   153   M
001            ROSENBLATT TRUST
MS550063-      DURRETT, BERT                    F-OIL PROPERTIES INC                07/23/2012    181   431   M
008
MS550063-      STEPHENS RESOURCES               F-OIL PROPERTIES INC                07/19/2012    181   441   M
009            LLC
MS550063-      MOORMAN, SCHICKRAM               F-OIL PROPERTIES INC                07/19/2012    181   437   M
010            & STEPHENS
MS550063-      BRAME, JOE A.                    F-OIL PROPERTIES INC                07/10/2012    181   428   M
011
MS550063-      MERRILL, ANN DURRETT             F-OIL PROPERTIES INC                07/10/2012    181   434   M
012
MS550063-      WITTER, PHILLIPS                 F-OIL PROPERTIES INC                07/30/2012    185   451   M
013            CONNELL
MS550063-      BRAME, JOE A.                    F-OIL PROPERTIES, INC.              06/25/2014    211   341   M
014


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Lease No.              Lessor           Lessee                     Lease Date Book Page     S
MS550063-    MOORMAN, SCHICKRAM         F-OIL PROPERTIES, INC.     06/25/2014   211   351   M
015          & STEPHENS, LTD.
MS550063-    MURRAH FAMILY              F-OIL PROPERTIES, INC.     06/25/2014   211   362   M
016          PARTNERSHIP
MS550063-    STEPHENS RESOURCES,        F-OIL PROPERTIES, INC.     06/25/2014   211   367   M
017          LLC.
MS550063-    MURRAH FAMILY              F-OIL PROPERTIES, INC.     06/25/2014   211   357   M
018          PARTNERSHIP
MS550063-    WITTER, PHILLIPS           F-OIL PROPERTIES, INC.     06/30/2014   212   275   M
019          CONNELL
MS550063-    MERRILL, ANN               F-OIL PROPERTIES, INC.     06/25/2014   211   346   M
020
MS550063-    DAWSON, LARRY CALVIN SN TMS, LLC                      12/02/2014   223   480   M
023
MS550063-    CARTER, MARY LEE           SN TMS, LLC                12/02/2014   223   527   M
024
MS550063-    DAWSON, JENNETTER          SN TMS, LLC                12/02/2014   223   511   M
025
MS550063-    DAWSON, JERRY CARL         SN TMS, LLC                12/02/2014   223   519   M
026
MS550063-    HARRELL, NATHAN JOHN SN TMS, LLC                      12/02/2014   223   488   M
027
MS550063-    DAY, MORRIS EDWARD         SN TMS, LLC                12/10/2014   223   501   M
028
MS550063-    DAY, DAVID DEAN            SN TMS, LLC                12/15/2014   223   541   M
029
MS550063-    BASS, ROSEMARY DAY         SN TMS, LLC                12/16/2014   223   506   M
030
MS550063-    PITTMAN, MITTIE B.         SN TMS, LLC                12/10/2014   223   535   M
031
MS550063-    PENDER, CATHY ANN          SN TMS, LLC                12/26/2014   223   460   M
032
MS550063-    CLIFFORD, PETER LANE,      SN TMS, LLC                12/15/2014   223   475   M
033          JR.
MS550063-    CLIFFORD, JULES            SN TMS, LLC                12/15/2014   223   455   M
034          CULBERTSON
MS550063-    CLIFFORD, CRISTY LANE      SN TMS, LLC                12/15/2014   223   465   M
035
MS550063-    CLIFFORD, PETER LANE       SN TMS, LLC                12/15/2014   223   470   M
036
MS550063-    HEINEN, HUBERT             SN TMS, LLC                02/05/2015   225   159   M
039          PLUMMER
MS550063-    QUIN-FOURNET OIL           SN TMS, LLC                02/05/2015   225   76    M
040          PROPERTIES


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Lease No.              Lessor           Lessee                     Lease Date Book Page     S
MS550063-    HARDING REV TR DTD         SN TMS, LLC                02/06/2015   225   164   M
041          03/31/2006
MS550063-    LAFLEUR, SUSAN             SN TMS, LLC                12/18/2014   225   68    M
042
MS550063-    PRICE, GLENDA E.           SN TMS, LLC                12/02/2014   225   97    M
043
MS550063-    PRICE, CELESTE             SN TMS, LLC                12/02/2014   225   120   M
044
MS550063-    BROWN, CAROLYN PRICE SN TMS, LLC                      12/02/2014   225   135   M
045
MS550063-    BREEDING, LESLIE           SN TMS, LLC                12/17/2014   225   143   M
046          EDWARD, III
MS550063-    YEAGER, VAUGHN             SN TMS, LLC                12/31/2014   225   105   M
047          DANIEL
MS550063-    THE OGDEN SHARON           SN TMS, LLC                12/19/2014   225   128   M
048          HUDNALL TRUST #2
MS550063-    MERRILL, ANN               SN TMS, LLC                12/16/2014   225   115   M
049
MS550063-    DURRETT, BERT E.           SN TMS, LLC                12/16/2014   225    1    M
050
MS550063-    ROBRO ROYALTY              F-OIL PROPERTIES, INC.     07/07/2014   220   291   M
051          PARTNERS, LTD
MS550063-    WOODS, SHIRLEY DAY         SN TMS, LLC                01/13/2015   225   18    M
052
MS550063-    NETTLES, JOSEPHINE DAY SN TMS, LLC                    01/13/2015   224   595   M
053
MS550063-    GARDNER, ROSE DAY          SN TMS, LLC                01/13/2015   224   590   M
054
MS550063-    EDMONSON, MARY DAY         SN TMS, LLC                01/13/2015   225   23    M
055
MS550063-    WISE OIL CORPORATION       SN TMS, LLC                12/18/2014   224   638   M
056
MS550063-    MABLE RUTH HARRIS          SN TMS, LLC                12/30/2014   224   610   M
057          TRUST
MS550063-    PRICE, CURTIS L. JR.       SN TMS, LLC                12/02/2014   224   646   M
058
MS550063-    THOMAS, LAURA PRICE        SN TMS, LLC                12/02/2014   224   654   M
059
MS550063-    PRICE, WOODROW JR.         SN TMS, LLC                12/02/2014   225   89    M
060
MS550063-    DAWSON, ALICIA DENISE      SN TMS, LLC                12/02/2014   224   662   M
061
MS550063-    MAGLIC, GWEN S.            SN TMS, LLC                12/18/2014   224   633   M
063


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Lease No.              Lessor           Lessee                     Lease Date Book Page     S
MS550063-    SHARP, JOHN S.             SN TMS, LLC                12/18/2014   225   13    M
064
MS550063-    FLOYD, ODELL LEROY, ET     SN TMS, LLC                12/09/2014   225   42    M
065          UX
MS550063-    THE WILLIAM K.             SN TMS, LLC                12/31/2014   224   600   M
066          MCGARVEY REV TR
MS550063-    MCCLELLAND, ANN            SN TMS, LLC                12/31/2014   224   618   M
067          MCGARVEY
MS550063-    LOMETA HUDNALL COX         SN TMS, LLC                12/18/2014   225   82    M
068          TRUST #2
MS550063-    REYNOLDS, SMITH P., III    SN TMS, LLC                01/13/2015   225   34    M
069
MS550063-    BURROUGHS, JEAN R.         SN TMS, LLC                01/13/2015   224   582   M
070
MS550063-    STEPHENS RESOURCES,        SN TMS, LLC                12/05/2014   224   575   M
071          LLC
MS550063-    MOORMAN SCHICKRAM          SN TMS, LLC                12/05/2014   225    6    M
072          AND STEPHENS, LTD
MS550063-    HOYT, PRICILLA             SN TMS, LLC                12/17/2014   225   28    M
073
MS550063-    BONNIE C. WHITAKER         SN TMS, LLC                11/06/2014   224   572   M
074          TRUST, ET AL
MS550063-    MARY JOHN                  SN TMS, LLC                11/06/2014   225   73    M
075          SPENCETRUST I, ET AL
MS550063-    GERMANY PROPERTIES         SN TMS, LLC                12/30/2014   225   179   M
076          LTD
MS550063-    THE EUGENE J.              SN TMS, LLC                12/31/2014   225   539   M
077          MCGARVEY, JR. REV TR
MS550063-    B BAR B LAND & CATTLE,     SN TMS, LLC                12/10/2014   225   430   M
078          LLC
MS550063-    EXOTIC OIL & GAS, LLC      SN TMS, LLC                12/10/2014   225   450   M
079
MS550063-    KJJ OIL & GAS, LLC         SN TMS, LLC                12/10/2014   225   475   M
080
MS550063-    LOTTERHOS, DAVIS H.        SN TMS, LLC                02/10/2015   225   484   M
081
MS550063-    LUETGE, NANCY HEINEN       SN TMS, LLC                02/05/2015   225   489   M
082
MS550063-    MILLER, DAYTON L.          SN TMS, LLC                02/13/2015   225   494   M
083
MS550063-    MULLIKIN, PETER M.         SN TMS, LLC                02/06/2015   225   499   M
084
MS550063-    SLOCUM, MELONEE            SN TMS, LLC                02/10/2015   225   514   M
086          LOTTERHOS


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Lease No.              Lessor           Lessee                     Lease Date Book Page     S
MS550063-    SMITH, MARGARET            SN TMS, LLC                02/13/2015   225   519   M
087          LOTTERHOS
MS550063-    TRAVIS, JOHN A., III       SN TMS, LLC                02/20/2015   225   524   M
088
MS550063-    WILLOUGHBY, AGNES F.       SN TMS, LLC                02/12/2015   225   529   M
089
MS550063-    GOLOWKA, NANCY F.          SN TMS, LLC                02/09/2015   225   465   M
091
MS550063-    DAWSON, LASHANDA     SN TMS, LLC                      12/02/2014   225   442   M
095          LYNN
MS550063-    FARBER, NANCY GRAVES SN TMS, LLC                      02/12/2015   225   457   M
096
MS550063-    BOWLUS, SARA ANN           SN TMS, LLC                02/13/2015   226   107   M
097          LAWSON
MS550063-    EDWARDS, ELIZABETH         SN TMS, LLC                02/20/2015   226   177   M
098          AYERS MCCARTY
MS550063-    FROH, VIVIAN ROSE M.       SN TMS, LLC                02/18/2015   226   113   M
099
MS550063-    GARRETT, RUBYE E.          SN TMS, LLC                02/05/2015   226   182   M
100
MS550063-    HAYMAKER HOLDING           SN TMS, LLC                03/09/2015   226   148   M
101          COMPANY, LLC
MS550063-    HELEN MCGEE LUDLAM         SN TMS, LLC                02/23/2015   226   139   M
102          TRUST
MS550063-    LOTTERHOS, FRED J., III    SN TMS, LLC                02/10/2015   226   118   M
103
MS550063-    CARL AND BETSY URBAN SN TMS, LLC                      02/05/2015   226   160   M
104          LIVING TR
MS550063-    TRAVIS, WILLIAM B.   SN TMS, LLC                      02/20/2015   226   62    M
105
MS550063-    UPSTREAM ENERGY, LLC       SN TMS, LLC                02/23/2015   226   74    M
106
MS550063-    PBR PROPERTIES JOINT       SN TMS, LLC                01/21/2015   226   67    M
107          VENTURE
MS550063-    HAYNES, STEPHANIE          SN TMS, LLC                02/11/2015   226   98    M
108
MS550063-    CCW INTERESTS, INC         SN TMS, LLC                02/10/2015   226   172   M
109
MS550063-    MORRISON, ROSEMARY         SN TMS, LLC                02/12/2015   226   187   M
110          GRAVES
MS550063-    REAM INTERESTS, INC.       SN TMS, LLC                02/12/2015   226   155   M
111
MS550063-    SLOAN, LACY MARIE          SN TMS, LLC                02/10/2015   226   123   M
112


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Lease No.              Lessor           Lessee                     Lease Date Book Page     S
MS550063-    BREEDING, SAMANTHA K. SN TMS, LLC                     02/10/2015   226   83    M
113
MS550063-    ESTATE OF DOROTHEA B. SN TMS, LLC                     01/23/2015   226   194   M
114          PRENTISS
MS550063-    LOUIS ALDEN GRELLING SN TMS, LLC                      03/17/2015   226   131   M
115          REV TRUST
MS550063-    WILMOTH INTERESTS, INC SN TMS, LLC                    02/11/2015   226   165   M
116
MS550063-    ROBRO ROYALTY              SN TMS, LLC                12/01/2014   226   91    M
117          PARTNERS, LTD.
MS550063-    BRAME, JOE A.              SN TMS, LLC                12/05/2014   225   274   M
118
MS550063-    HARRELL, TABITHA HOYT SN TMS, LLC                     02/10/2015   227   18    M
119
MS550063-    JOHNSON, SONIA HAYNES SN TMS, LLC                     02/11/2015   227    1    M
120
MS550063-    TALTON, PHYLLIS            SN TMS, LLC                01/23/2015   226   611   M
121
MS550063-    STEWART, BERNICE           SN TMS, LLC                03/18/2015   226   594   M
123          FORMAN
MS550063-    PITTMAN, DUSTIN            SN TMS, LLC                03/21/2015   226   652   M
125
MS550063-    MILLS, CATHERINE           SN TMS, LLC                02/13/2015   226   599   M
126          LOTTERHOS
MS550063-    LYLE, ARY JANE             SN TMS, LLC                02/13/2015   226   624   M
127          LOTTERHOS
MS550063-    JOHNSON, CAROL E.          SN TMS, LLC                03/25/2015   226   619   M
128          MAHAFFEY
MS550063-    GREEN MINERALS, LLC        SN TMS, LLC                02/11/2015   226   589   M
129
MS550063-    FARMER, BETTE VIRGINIA     SN TMS, LLC                02/11/2015   226   634   M
130          BERRY
MS550063-    GOUGH-SMITH CREDIT         SN TMS, LLC                03/09/2015   226   641   M
131          SHELTER TRUST
MS550063-    SUGARBERRY OIL & GAS       SN TMS, LLC                12/10/2014   226   657   M
132          CORP, ET AL
MS550063-    LOMETA HUDNALL COX         SN TMS, LLC                03/13/2015   226   604   M
133          TRUST #2
MS550063-    BUTLER, LEIGH BARNETT      SN TMS, LLC                02/27/2015   227   497   M
134
MS550063-    VICKERY, JAMES M.          SN TMS, LLC                01/16/2015   227   510   M
135
MS550063-    WILSON, ALESHA HOYT        SN TMS, LLC                02/10/2015   227   502   M
136


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Lease No.              Lessor             Lessee                   Lease Date Book Page     S
MS550063-    PIRTLE, ROBERT S.            SN TMS, LLC              01/15/2015   227   486   M
137
MS550063-    VALK, DONNA LEE              SN TMS, LLC              03/24/2015   227   646   M
138
MS550063-    RUETER, BEATRICE             SN TMS, LLC              03/24/2015   227   636   M
139          MARTINEZ
MS550063-    MARTINEZ, TERRENCE           SN TMS, LLC              03/24/2015   228   12    M
140
MS550063-    MARTINEZ, RALPH M.           SN TMS, LLC              03/24/2015   227   597   M
141
MS550063-    LAWSON, JAMES S. , JR.       SN TMS, LLC              02/13/2015   227   587   M
142
MS550063-    INGALLS, MARION W.           SN TMS, LLC              02/12/2015   228    1    M
143
MS550063-    HIGGINS, LAURA W.            SN TMS, LLC              02/12/2015   227   641   M
144
MS550063-    HELLER, MARIA LOUISE         SN TMS, LLC              03/24/2015   227   619   M
145
MS550063-    GASKELL, MIRIAM D.           SN TMS, LLC              03/23/2015   227   609   M
146
MS550063-    DIXON, BETTE ANN             SN TMS, LLC              03/24/2015   227   582   M
147
MS550063-    BARNETT, JOHN BRIAN          SN TMS, LLC              02/27/2015   227   614   M
148
MS550063-    GARDNER, LYNNE M.            SN TMS, LLC              03/16/2015   227   592   M
149
MS550063-    DAY, RICHARD D.              SN TMS, LLC              01/13/2015   227   631   M
150
MS550063-    BP AMERICA                   SN TMS, LLC              03/31/2015   227   602   M
151          PRODUCTION COMPANY
MS550063-    VENDETTA ROYALTY             SN TMS, LLC              12/01/2014   228   114   M
152          PARTNERS LTD.
MS550063-    MURRAH FAMILY                SN TMS, LLC              03/18/2015   227   624   M
153          PARTNERSHIP
MS550063-    WITTER, PHILLIPS             SN TMS, LLC              03/13/2015   228    6    M
154          CONNELL
MS550063-    MARJORIE DAVIS               SN TMS, LLC              04/01/2015   228   227   M
155          SIMMONS TRUST
MS550063-    BUFKIN, ELIZABETH W.         SN TMS, LLC              01/26/2015   225   169   M
156
MS550063-    COX, DARLA S.                SKLARCO L.L.C.           03/06/2013   188   719   M
157
MS550063-    BLAND, ROANE F.              SKLARCO L.L.C.           01/09/2013   187   509   M
158


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Lease No.              Lessor             Lessee                   Lease Date Book Page     S
MS550063-    STEWART, BERNICE F.          SKLARCO L.L.C.           01/09/2013   187   514   M
159
MS550063-    ESKAY, LALIE F.              SKLARCO L.L.C.           01/09/2013   187   504   M
160
MS550063-    DAVENPORT                    SKLARCO L.L.C.           01/10/2013   187   499   M
161          PLANTATION, LLC
MS550063-    BRAY, ROBERT M.              SKLARCO L.L.C.           01/10/2013   188   338   M
162
MS550063-    FLINT, LAURA BUFORD          SKLARCO L.L.C.           01/25/2013   188   323   M
163
MS550063-    BUFORD, J. DUDLEY, JR.       SKLARCO L.L.C.           01/28/2013   188   328   M
164
MS550063-    SHELL, DR. DAN, IV           SKLARCO L.L.C.           01/29/2013   188   333   M
165
MS550063-    KIPP, NAN BUFORD             SKLARCO L.L.C.           01/24/2013   188   318   M
166
MS550063-    VILLA, JENNIFER S.           SKLARCO L.L.C.           01/31/2013   188   287   M
167
MS550063-    BRISTER, BEVERLY W.          SKLARCO L.L.C.           01/31/2013   188   282   M
168
MS550063-    NELSON, ELIECE S.            SKLARCO L.L.C.           02/19/2013   188   500   M
169
MS550063-    CRAWFORD, DAVID S.           SKLARCO L.L.C.           06/14/2013   191   32    M
170
MS550063-    WILKERSON, DAVID N.          SKLARCO L.L.C.           06/14/2013   191   44    M
171
MS550063-    ROSS, SALLY ANN              SKLARCO L.L.C.           01/22/2013   188   77    M
172
MS550063-    GEX, WALTER J., III          SKLARCO L.L.C.           01/02/2013   187   487   M
173
MS550063-    LOBRANO, EDWARD P.,          SKLARCO L.L.C.           03/01/2013   188   708   M
174          JR.
MS550063-    TOMPKINS, BARBARA            SKLARCO L.L.C.           02/28/2013   188   696   M
175          PERRY
MS550063-    DALIA, ANN WARD              SKLARCO L.L.C.           04/05/2013   190   75    M
176
MS550063-    WARD, MARION STANTON SKLARCO L.L.C.                   04/05/2013   190   73    M
177
MS550063-    WARD, EDWIN COULTER          SKLARCO L.L.C.           04/12/2013   190   71    M
178
MS550063-    WARD, GEORGE M.              SKLARCO L.L.C.           04/16/2013   190   69    M
179
MS550063-    WARD, JOHN MILLS             SKLARCO L.L.C.           04/09/2013   190   77    M
180


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Lease No.              Lessor           Lessee                     Lease Date Book Page     S
MS550063-    SMITH, MARION              SKLARCO L.L.C.             04/09/2013   189   537   M
181
MS550063-    WILLIAMS, MILTON C.        SKLARCO L.L.C.             09/09/2013   193   335   M
182
MS550063-    O’ROURKE, DAWN MARIE SKLARCO L.L.C.                   09/07/2013   193   330   M
183
MS550063-    WILLIAMS, FRANK C.         SKLARCO L.L.C.             09/20/2013   193   310   M
184
MS550063-    LEASURE, DALLAS        SKLARCO L.L.C.                 09/06/2013   193   325   M
185          MICHAEL
MS550063-    PEYTON, GAIL CHRISTINE SKLARCO L.L.C.                 09/04/2013   193   320   M
186
MS550063-    DENNISON, SHELLEY          SKLARCO L.L.C.             09/11/2013   193   340   M
187          ANNE CREAMER
MS550063-    GREEN, KATE DON            SKLARCO L.L.C.             04/12/2013   189   410   M
188
MS550063-    DAVENPORT                  SKLARCO L.L.C.             08/28/2012   181   664   M
189          PLANTATION, LLC
MS550063-    BRISTER, BEVERLY W.        SKLARCO L.L.C.             08/13/2012   180   585   M
190
MS550063-    VILLA, JENNIFER S.         SKLARCO L.L.C.             08/17/2012   180   612   M
191
MS550063-    COX, DARLA S.              SKLARCO L.L.C.             08/17/2012   180   607   M
192
MS550063-    NELSON, ELIECE S.          SKLARCO L.L.C.             08/15/2012   180   602   M
193
MS550063-    TUCKER, DEBBIE             SKLARCO L.L.C.             09/25/2012   182   219   M
194
MS550063-    ESKAY, LALIE F.            SKLARCO L.L.C.             09/13/2012   181   700   M
195
MS550063-    CALLICUTT, ALICE           SKLARCO L.L.C.             10/03/2012   184   33    M
196          OLIVER
MS550063-    BLAND, ROANE F.            SKLARCO L.L.C.             09/13/2012   181   704   M
197
MS550063-    BRAY, DAVID P.             SKLARCO L.L.C.             10/11/2012   184   156   M
198
MS550063-    BRAY, ROBERT M.            SKLARCO L.L.C.             10/30/2012   188   65    M
199
MS550063-    DAVIS, A. VIDAL            SKLARCO L.L.C.             11/14/2012   186   119   M
200
MS550063-    BUFKIN, ELIZABETH W.       SKLARCO L.L.C.             11/16/2012   185   523   M
201
MS550063-    CRAWFORD, DAVID S.         SKLARCO L.L.C.             11/15/2012   187   286   M
202


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MS550063-    BRAMLETTE, DAVID C.         SKLARCO L.L.C.            11/20/2012   186   103    M
203
MS550063-    WILKERSON, DAVID N.         SKLARCO L.L.C.            11/13/2012   187   290    M
204
MS550063-    ROSS, SALLY ANN             SKLARCO L.L.C.            05/12/2013   189   715    M
205
MS550063-    SHELL, DR. DAN, IV          SKLARCO L.L.C.            06/12/2013   190   628    M
206
MS550063-    KIPP, NAN BUFORD            SKLARCO L.L.C.            08/27/2012   181   674    M
207
MS550063-    GRICE, JOEL S.              PULSAR HOLDINGS II, LLC   12/02/2011   169   576A   M
208
MS550063-    REEVES, MARY S.             PULSAR HOLDINGS II, LLC   12/02/2011   169   591    M
209
MS550063-    PARKER, JULIA L.            PULSAR HOLDINGS II, LLC   12/02/2011   169   581    M
210
MS550063-    WINDHAM, NANCY L.           PULSAR HOLDINGS II, LLC   12/02/2011   169   586    M
211
MS550063-    BURROUGHS, JEAN R.          SKLARCO L.L.C.            07/03/2013   191   102    M
212
MS550063-    REYNOLDS, SMITH P., III     SKLARCO L.L.C.            07/01/2013   191    21    M
213
MS550063-    REAM INSTERESTS, INC.       SKLARCO L.L.C.            07/29/2013   191   596    M
214
MS550063-    C. C. W. INTERESTS, INC.    SKLARCO L.L.C.            08/01/2013   192    57    M
215
MS550063-    WRIGHT, VIRGINIA L.         SKARCO L.L.C.             10/30/2013   195   662    M
216
MS550063-    THE TRUST OF EILEEN J.      SKARCO L.L.C.             06/10/2013   190   659    M
217          BROWN ET AL
MS550063-    FOSTER, SUSAN KAY           SKARCO L.L.C.             10/30/2013   195   640    M
218
MS550063-    THE OGDEN SHARON            SKLARCO L.L.C.            01/10/2013   187   492    M
219          HUDNALL TRUST #2
MS550063-    DAVIS, ROBERT E.            SKLARCO L.L.C.            04/01/2013   189   219    M
220
MS550063-    DAVIS, GLENDA B.            SKLARCO L.L.C.            04/02/2013   189   229    M
221
MS550063-    VICKERY, JAMES M.           SKLARCO L.L.C.            01/25/2013   188   490    M
222
MS550063-    GAMMILL, DAVE               SKLARCO L.L.C.            02/05/2013   188   523    M
223
MS550063-    VICKERY, JOHN S.            SKLARCO L.L.C.            01/15/2013   188    88    M
224


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Lease No.              Lessor             Lessee                   Lease Date Book Page     S
MS550063-    C. C. W. INTERESTS, INC.     SKLARCO L.L.C.           01/22/2013   188   308   M
225
MS550063-    REAM INSTERESTS, INC         SKLARCO L.L.C.           11/20/2012   186   193   M
226
MS550063-    FARMER, BETTE V.             SKLARCO L.L.C.           03/26/2013   189   161   M
227
MS550063-    FARBER, NANCY GRAVES SKLARCO L.L.C.                   02/22/2013   188   598   M
228
MS550063-    MORRISON, ROSEMARY           SKLARCO L.L.C.           02/26/2013   188   592   M
229          GRAVES
MS550063-    CLIFFORD, PETER LANE         SKLARCO L.L.C.           01/29/2013   188   371   M
230
MS550063-    ESTATE OF DOROTHEA B. SKLARCO L.L.C.                  01/16/2013   188   355   M
231          PRENTISS
MS550063-    REYNOLDS, SMITH P., III SKLARCO L.L.C.                01/02/2013   187   397   M
232
MS550063-    BURROUGHS, JEAN R.           SKLARCO L.L.C.           01/02/2013   187   373   M
233
MS550063-    DORCHESTER ROYALTY,          SKLARCO L.L.C.           03/19/2013   189   173   M
234          CORPORATION
MS550063-    BALLANTYNE, ANNE M.          SKLARCO L.L.C.           03/20/2013   189   155   M
235
MS550063-    HOLLOWAY, PAIGE T.           SKLARCO L.L.C.           02/26/2013   188   713   M
236
MS550063-    COLLINS, BARBARA             SKLARCO L.L.C.           02/28/2013   188   684   M
237
MS550063-    THE PATRICK L.               SKLARCO L.L.C.           02/25/2013   188   586   M
238          GILLILAND 1974 TRUST
MS550063-    NISBET, SHANNON              SKLARCO L.L.C.           02/07/2013   188   384   M
239
MS550063-    MORTIMER, GLENN G.           SKLARCO L.L.C.           03/20/2013   189   167   M
240
MS550063-    BURROUGHS, JEAN R.           SKLARCO L.L.C.           01/02/2013   187   379   M
241
MS550063-    REYNOLDS, SMITH P, III       SKLARCO L.L.C.           01/02/2013   187   403   M
242
MS550063-    MERRILL, ANN D.              SKLARCO L.L.C.           12/11/2012   186   173   M
243
MS550063-    DURRETT, BERT E.             SKLARCO L.L.C.           03/18/2013   189   289   M
244
MS550063-    STEPHENS RESOURCES, SKLARCO L.L.C.                    01/18/2013   187   292   M
245          LLC
MS550063-    MOORMAN SCHICKRAM & SKLARCO L.L.C.                    01/18/2013   188   303   M
246          STEPHENS, LTD


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MS550063-    BRAME, JOE A.                SKLARCO L.L.C.           11/09/2012   184   621   M
247
MS550063-    BRAME, JOE A.                SKLARCO L.L.C.           12/06/2012   186   189   M
248
MS550063-    JOANNE C. SESSIONS           SKLARCO L.L.C.           06/11/2013   191   113   M
249          ESTATE
MS550063-    CATCHINGS, WILLIAM           SKLARCO L.L.C.           11/14/2012   187   263   M
250          HENRY, JR.
MS550063-    SESSIONS, CHARLES E.         SKLARCO L.L.C.           11/07/2012   184   567   M
251
MS550063-    SESSIONS, T. O., JR.         SKLARCO L.L.C.           11/07/2012   187   277   M
252
MS550063-    KEE, CAROLYN S.              SKLARCO L.L.C.           07/23/2012   180   444   M
253
MS550063-    EUGENE J. MCGARVEY,          SKLARCO L.L.C.           11/27/2012   185   515   M
254          JR., REV TRUST
MS550063-    MCCLELLAND, ANN M.           SKLARCO L.L.C.           11/07/2012   185   527   M
255
MS550063-    YEAGER, VAUGHN        SKLARCO L.L.C.                  12/12/2012   186   185   M
256          DANIEL
MS550063-    BREEDING, SAMANTHA K. SKLARCO L.L.C.                  03/19/2013   189   185   M
257
MS550063-    BREEDING, LESLIE             SKLARCO L.L.C.           03/19/2013   189   179   M
258          EDWARD
MS550063-    SLOAN, LACEY MARIE           SKLARCO L.L.C.           04/16/2013   189   662   M
259
MS550063-    WILLIAM K. MCGARVEY          SKLARCO L.L.C.           11/21/2012   185   519   M
260          REV TRUST
MS550063-    SESSIONS, T. O., JR.         SKLARCO L.L.C.           05/13/2013   190   275   M
261
MS550063-    PERSELL, RALPH M., JR.       SKLARCO L.L.C.           07/15/2013   195   315   M
262
MS550063-    COINTMENT, ALTHEA S.         SN TMS, LLC              01/27/2015   227   10    M
263
MS550063-    DUNN, GWENDOLYN              SKLARCO L.L.C.           02/27/2013   188   574   M
264          STUART
MS550063-    HOLT, EDWIN L., JR           SKLARCO L.L.C.           03/19/2013   189   201   M
265
MS550063-    GOBER, GINGER HOLT           SKLARCO L.L.C.           04/02/2013   189   223   M
266
MS550063-    HOLT, LISA C.                SKLARCO L.L.C.           04/16/2013   189   392   M
267
MS550063-    CHAFFIN, ROUCHELLE           SKLARCO L.L.C.           05/15/2013   189   698   M
268          STUART


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Lease No.              Lessor             Lessee                   Lease Date Book Page     S
MS550063-    STUTZMAN, GRACE              SKLARCO L.L.C.           11/14/2012   186   149   M
269
MS550063-    FLOYD, SUE STUTZMAN          SKLARCO L.L.C.           11/14/2012   185   539   M
270
MS550063-    TURNER, VIVIAN               SKLARCO L.L.C.           12/19/2012   187   300   M
271
MS550063-    PERSELL, RALPH M., JR.       SKLARCO L.L.C.           03/29/2013   189   539   M
272
MS550064     CROSBY-MISSISSIPPI           GRIFFIN & GRIFFIN        04/27/2009   154   280   M
             RESOURCES,                   EXPLORATION LLC
MS550078-    REEVES, BARBARA ANN          F-OIL PROPERTIES, INC.   06/20/2013   191   697   M
001
MS550078-    BRALEY, REBECCA              F-OIL PROPERTIES, INC.   06/20/2013   191   685   M
002
MS550078-    LEE, SARA LOU                F-OIL PROPERTIES, INC.   06/20/2013   191   691   M
003
MS550103     WESBERRY, JANE ANN      SR ACQUISITION I, LLC         02/25/2014   203   116   M
             LEAKE
MS550130-    CALLOWAY, T. JOE, ET UX F-OIL PROPERTIES, INC.        07/15/2014   212   247   M
001
MS550141-    REYNOLDS, JUDY M.            SN TMS, LLC              08/28/2014   220   166   M
001
MS550141-    GRACE, PEGGY M.              SN TMS, LLC              09/19/2014   220   177   M
002
MS550141-    MARBURY, KITTY CURRY SN TMS, LLC                      09/22/2014   220   195   M
003
MS550141-    BELLO, LINDA SUE             SN TMS, LLC              09/23/2014   220   183   M
004
MS550141-    WATTS, SYLVIA ANN            SN TMS, LLC              09/22/2014   220   189   M
005
MS550141-    MASON, RICHARD               SN TMS, LLC              09/19/2014   224   547   M
006
MS550142-    LAMBDIN FAMILY               SN TMS, LLC              09/03/2014   220   172   M
001          PARTNERSHIP LP.
MS550142-    HABIG, PAUL DOUGLAS,         SN TMS, LLC              09/18/2014   224   511   M
002          JR
MS550142-    GOUDEAU, PATRICIA            SN TMS, LLC              09/18/2014   224   519   M
003          PALMER
MS550142-    DELL, LISA ELLEN             SN TMS, LLC              11/24/2014   225   559   M
004          ROTHSCHILD
MS550142-    ROYSTON, PATRICIA            SN TMS, LLC              11/19/2014   225   564   M
005
MS550142-    MARCUS ROTHSCHILD            SN TMS, LLC              02/23/2015   225   574   M
006          SUPPL NEEDS TR


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Lease No.              Lessor           Lessee                     Lease Date Book Page     S
MS550142-    CAMPO, JULIE JARREAU       SN TMS, LLC                09/18/2014   225   592   M
007
MS550142-    PALMER, WILLIAM G.         SN TMS, LLC                09/18/2014   225   608   M
008
MS550142-    WILSON, SHARON K           SN TMS, LLC                09/18/2014   225   600   M
009          PALMER
MS550142-    PALMER, MICHAEL            SN TMS, LLC                09/18/2014   227   564   M
010          TIMOTHY
MS550142-    BUSHMIHLE, HOWARD          SN TMS, LLC                02/11/2015   227   555   M
011          EUGENE, JR.
MS550142-    JARREAU, JENNIFER          SN TMS, LLC                02/17/2015   227   572   M
012          LYNN
MS550142-    AXIOM MINERALS, LLC        SN TMS, LLC                04/09/2015   227   536   M
013
MS550142-    BULL RUN ACQUISITIONS, SN TMS, LLC                    01/12/2015   227   547   M
014          LLC
MS550142-    PALMER, CINDY ANN      SN TMS, LLC                    09/18/2014   228   58    M
015
MS550142-    GREEN, MASON JR.           LOTT LAND SERVICES, LLC.   05/17/2014   206   348   M
016
MS550145-    WHITE, JACQUELYN      SN TMS, LLC                     12/12/2014   223   496   M
001          CLARK
MS550145-    STUTZMAN, SUSIE GRACE SN TMS, LLC                     12/19/2014   225   60    M
002
MS550145-    THE HOWARD LEGACY          SN TMS, LLC                12/22/2014   225   52    M
003          TRUST
MS550145-    DOOLEY, GENEVIEVE M.       SN TMS, LLC                12/08/2014   224   563   M
004
MS550145-    KING, MARTY LECLERC        SKLARCO L.L.C.             10/15/2013   194   365   M
005
MS550145-    KING, MARION LESTER        SKLARCO L.L.C.             10/18/2013   194   347   M
006
MS550145-    KING, JOHN MORRILL, III    SKLARCO L.L.C.             10/18/2013   194   353   M
007
MS550145-    KING, MYRON KEITH          SKLARCO L.L.C.             10/14/2013   194   359   M
008
MS550145-    CHAPMAN, PAUL B.           SKLARCO L.L.C.             08/01/2013   192   298   M
009
MS550145-    DAWSON, PHILLIS C.         SKLARCO L.L.C.             08/01/2013   192   305   M
010
MS550145-    DOOLEY, HERBERT L.         SKLARCO L.L.C.             11/16/2012   186   121   M
011
MS550145-    DOOLEY, RICKY J.           SKLARCO L.L.C.             11/21/2012   186   135   M
012


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MS550145-    DOOLEY, WARREN P.          SKLARCO L.L.C.             11/27/2012   185   486   M
013
MS550145-    DOOLEY, GEORGE B.          SKLARCO L.L.C.             11/19/2012   187   324   M
014
MS550145-    DOOLEY, KATHY D.           SKLARCO L.L.C.             12/14/2012   187   310   M
015
MS550145-    BRENDLER, JANETTE D        SKLARCO L.L.C.             11/20/2012   187   331   M
016
MS550145-    ESCHER, AUGUST LEE         SKLARCO L.L.C.             04/18/2013   189   380   M
017
MS550145-    ESCHER, JO RUTH            SKLARCO L.L.C.             05/05/2013   189   692   M
018
MS550145-    BRENDLER, JANETTE D.       SKLARCO L.L.C.             06/07/2013   190   251   M
019
MS550145-    CRAWFORD, KATHY D          SKLARCO L.L.C.             05/30/2013   190   232   M
020
MS550145-    DOOLEY, GEORGE B.          SKLARCO L.L.C.             05/28/2013   190   224   M
021
MS550145-    AGUILAR, JOSE M            SKLARCO L.L.C.             05/06/2013   191   551   M
022
MS550145-    ESCHER, THOMAS JOSEPH SKLARCO L.L.C.                  03/04/2013   188   724   M
023
MS550145-    BAILEY, LILLIAN E.         SKLARCO L.L.C.             05/08/2013   189   685   M
024
MS550156     WHITE, JACQUELYN C., ET NEW CENTURY                   01/31/2012   170   37    M
             AL                      PRODUCTION CO., LLC
MS550157-    BEST, CHARLES HENRY     SKLARCO L.L.C.                11/16/2012   185   42    M
001
MS550157-    MONTFORT, JULIA MAE        SKLARCO L.L.C.             12/05/2012   186   179   M
002
MS550157-    BEST, WILLIAM L.           SKLARCO L.L.C.             11/12/2012   184   615   M
003
MS550157-    BEST, JOSEPH M.            SKLARCO L.L.C.             11/12/2012   184   609   M
004
MS550157-    MONTFORT, MONTY            SKLARCO L.L.C.             12/18/2012   187   304   M
005          CLAYTON
MS550157-    TURNER, MARSHA BEST        SKLARCO L.L.C.             12/06/2012   186   113   M
006
MS550157-    HIGGINS, MELISSA BEST      SKLARCO L.L.C.             11/11/2012   184   603   M
007
MS550157-    MONTFORT, FRANK            SKLARCO L.L.C.             11/14/2012   185   66    M
008          WREN
MS550157-    SMITH, KIRK                SKLARCO L.L.C.             11/07/2012   184   539   M
009


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MS550157-    SIMONTON, H. E., JR.       SKLARCO L.L.C.             11/29/2012   186   167   M
010
MS550157-    NELSON, CONNIE B           SKLARCO L.L.C.             11/28/2012   185   499   M
011
MS550157-    RIVET, BEVERLY B           SKLARCO L.L.C.             11/28/2012   185   493   M
012
MS550157-    JOHNSON, EUGENE            SKLARCO L.L.C.             10/30/2012   184   358   M
013          MILTON
MS550157-    JOHNSON, A. ROBERT         SKLARCO L.L.C.             10/31/2012   184   376   M
014
MS550157-    BEST, CHARLES F.           SKLARCO L.L.C.             11/09/2012   184   631   M
015
MS550157-    DUNBAR, BARBARA A.         SKLARCO L.L.C.             11/13/2012   184   625   M
016
MS550157-    COSTINETT, WILLIAM         SKLARCO L.L.C.             11/09/2012   184   597   M
017
MS550157-    CHAFFIN, JAMES, JR.        SKLARCO L.L.C.             11/06/2012   184   549   M
018
MS550157-    BREEDLOVE, TERESA          SKLARCO L.L.C.             12/18/2012   188   690   M
019
MS550157-    TUMINELLO, BEVERLY         SKLARCO L.L.C.             11/30/2012   185   533   M
020
MS550157-    WARD, ELIZABETH            SKLARCO L.L.C.             11/27/2012   185   505   M
021
MS550157-    WALTMAN, SVEND             SKLARCO L.L.C.             11/19/2012   185   60    M
022
MS550157-    CHAFFIN, PHILLIP           SKLARCO L.L.C.             11/16/2012   185   54    M
023
MS550157-    FENERTY, MARGUERITE        SKLARCO L.L.C.             11/17/2012   185   48    M
024
MS550158-    LEAK, HARRISON             SKLARCO L.L.C.             08/14/2012   182   111   M
001          CARTER, III
MS550158-    HELEN J. YOUNG TRUST       SKLARCO L.L.C.             08/14/2012   182   81    M
002          OF 1996
MS550158-    LEAK, JAMES CAULFEILD,     SKLARCO L.L.C.             08/14/2012   182   135   M
003          II
MS550158-    CRAMER, ANN WREN           SKLARCO L.L.C.             08/14/2012   182   105   M
004          ROBERTSON
MS550158-    SMITH, ROBERT P.           SKLARCO L.L.C.             08/14/2012   182   69    M
005
MS550158-    SMITH, ALLEN L., JR.       SKLARCO L.L.C.             08/14/2012   184   42    M
006
MS550158-    TRASK, MARTHA LEWIS        SKLARCO L.L.C.             08/14/2012   182   99    M
007


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Lease No.              Lessor           Lessee                     Lease Date Book Page     S
MS550158-    LEWIS, JOHN SOUTH, JR.     SKLARCO L.L.C.             08/14/2012   182   75    M
008
MS550158-    LEWIS, ANDREW              SKLARCO L.L.C.             08/14/2012   182   87    M
009          JACKSON
MS550158-    LEWIS, ROBERT, DR.         SKLARCO L.L.C.             08/14/2012   182   93    M
010
MS550159     AGUILAR, TONI ANN          SKLARCO L.L.C.             05/08/2013   189   673   M
MS550200-    McCURLEY, MARION           HAROLD J. ANDERSON, INC.   08/04/2011   172   475   M
001          EARL
MS550200-    McCURLEY, THOMAS C.        HAROLD J. ANDERSON, INC.   08/04/2011   172   470   M
002
MS550200-    McCEARLEY, LAWRENCE        HAROLD J. ANDERSON, INC.   08/04/2011   172   465   M
003          W. JR.
MS550201     McCURLEY, MARION E.        HAROLD J. ANDERSON, INC.   08/04/2011   172   461   M
MS550216-    McKEY, FOREST WAYNE        HAROLD J. ANDERSON, INC.   10/31/2011   177   375   M
001
MS550216-    TULLIER, KAREN             HAROLD J. ANDERSON, INC.   10/31/2011   173   159   M
002
MS550216-    STERLING, SHIRLEY          HAROLD J. ANDERSON, INC.   10/31/2011   173   153   M
003
MS550216-    VANDERSLICE, LOIS          HAROLD J. ANDERSON, INC.   10/31/2011   173   147   M
004
MS550216-    JOFFRION, KATHY M.         HAROLD J. ANDERSON, INC.   10/31/2011   173   165   M
005
MS550217     WALKER, ROBERT             HAROLD J. ANDERSON, INC.   11/16/2011   173   142   M
             EDWARD
MS550223-    ROBERTS, LAURA             HAROLD J. ANDERSON, INC.   09/22/2011   179   560   M
001          STOCKETT
MS550223-    PARIS, CHARLES             HAROLD J. ANDERSON, INC.   03/22/2012   178   603   M
008          HOWARD
MS550223-    CALLICOTT, VIRGINIA        HAROLD J. ANDERSON. INC.   03/22/2012   178   593   M
009          KATHLEEN JONES
MS550223-    MCDANIEL, BESSIE RUTH      HAROLD J. ANDERSON, INC.   03/22/2012   178   598   M
010          JONES
MS550223-    JONES, MARTHA JEWELL       HAROLD J. ANDERSON, INC.   03/22/2012   178   583   M
012
MS550223-    STOGNER, MARY JONES        HAROLD J. ANDERSON, INC.   03/22/2012   178   573   M
014
MS550223-    BERGIN, ELIZABETH J.       HAROLD J. ANDERSON, INC.   03/22/2012   178   568   M
015
MS550223-    JONES, W. ROGER JR.        HAROLD J. ANDERSON, INC.   03/22/2012   178   563   M
016
MS550223-    JONES, JOHN ACKLAND        HAROLD J. ANDERSON, INC.   03/22/2012   178   558   M
017


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MS550223-    JONES, WINDSOR              HAROLD J. ANDERSON, INC.   03/22/2012   178   553   M
018          THOMAS
MS550223-    ALBINSON, SHARON            HAROLD J. ANDERSON, INC.   03/22/2012   178   548   M
019          MCCOUEN JONES
MS550223-    PARIS, CATHERINE            HAROLD J. ANDERSON, INC.   03/22/2012   178   543   M
020          GRACE
MS550223-    RUBIN, ANN SIEGEL           HAROLD J. ANDERSON, INC.   05/22/2012   177   425   M
034
MS550223-    PERSELL, RALPH M. JR.       HAROLD J. ANDERSON, INC.   02/03/2012   178   86    M
035
MS550223-    SESSIONS, T.O. JR.          HAROLD J. ANDERSON, INC.   02/10/2012   178   81    M
036
MS550223-    JOANN C. SESSIONS GST       HAROLD J. ANDERSON, INC.   02/13/2012   177   469   M
037          MRTL TRUST
MS550223-    SESSIONS, ELLEN             HAROLD J. ANDERSON, INC.   04/17/2012   177   522   M
041          CHADWICK
MS550223-    SESSIONS, JAMES             HAROLD J. ANDERSON, INC.   04/17/2012   177   516   M
042          TIMOTHY
MS550223-    TOLBERT, BENJAMIN A.        HAROLD J. ANDERSON, INC.   02/03/2012   178   173   M
043          JR.
MS550223-    DOOLEY, PATRICIA            HAROLD J. ANDERSON, INC.   02/03/2012   178   161   M
044          TOLBERT
MS550223-    TOLBERT, RICHARD T.         HAROLD J. ANDERSON, INC.   02/03/2012   178   179   M
045
MS550223-    TOLBERT, ELIAS LAKE         HAROLD J. ANDERSON, INC.   02/03/2012   178   167   M
046
MS550223-    PITTMAN, MITTIE             HAROLD J. ANDERSON, INC.   04/25/2012   175   86    M
058
MS550223-    BREEDING, LESLIE            HAROLD J. ANDERSON, INC.   04/25/2012   175   100   M
059          EDWARD III
MS550223-    BREEDING, SAMANTHA          HAROLD J. ANDERSON, INC.   04/25/2012   177   594   M
060          KAY
MS550223-    SLOAN, LACEY MARIE          HAROLD J. ANDERSON, INC.   04/25/2012   175   107   M
061
MS550223-    HARRELL, TABITHA            HAROLD J. ANDERSON, INC.   04/25/2012   175   114   M
062
MS550223-    WILSON, ALESHA HOYT         HAROLD J. ANDERSON, INC.   04/25/2012   177   572   M
063
MS550223-    HOYT, PRICILLA              HAROLD J. ANDERSON, INC.   04/25/2012   175   93    M
064
MS550223-    SESSIONS FARMS, INC.        HAROLD J. ANDERSON, INC.   03/01/2012   178   77    M
067
MS550223-    BRANNAN, WILLIAM            HAROLD J. ANDERSON, INC.   03/20/2012   176   633   M
068          HAROLD


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MS550223-    BABERS, RONALD R.            HAROLD J. ANDERSON, INC.   03/20/2012   176   639   M
069
MS550223-    NELSON, DOROTHY              HAROLD J. ANDERSON, INC.   03/15/2012   179   512   M
077          DUVAL
MS550223-    REDHEAD, THOMAS M.           SR ACQUISITION I, LLC      01/02/2014   198   563   M
081
MS550223-    REDHEAD, JOHN DOMINIC SR ACQUISITION I, LLC             01/07/2014   198   577   M
082
MS550223-    NONIE MINERALS, LLC          SR ACQUISITION I, LLC      01/06/2014   198   570   M
083          REPR J. REDHEAD
MS550223-    ST. MARY TIMBER, INC.        SR ACQUISITION I, LLC      01/17/2014   199   210   M
084
MS550223-    NETTERVILLE, VICKI J.        SR ACQUISITION I, LLC      02/06/2014   199   203   M
085
MS550223-    BRINSON, VIVIAN              SR ACQUISITION I, LLC      01/09/2014   203   164   M
086
MS550223-    WELSH, RUTH F. CARTER        SR ACQUISITION I, LLC      01/09/2014   203   188   M
087
MS550223-    MORRIS, WILLIAM V. III       SR ACQUISITION I, LLC      01/09/2014   203   170   M
088
MS550223-    FLOWERS, LARRY C. III        SR ACQUISITION I, LLC      01/09/2014   203   176   M
089
MS550223-    SMITH, SARAH K.              SR ACQUISITION I, LLC      01/09/2014   203   182   M
090
MS550223-    PLUMMER, RICHARD             SR ACQUISITION I, LLC      03/17/2014   203   573   M
091
MS550223-    CARTER, MARY F. BY AIF       SR ACQUISITION I, LLC      01/09/2014   204   585   M
092          CLAUDIA REED
MS550223-    BAIRD, GEORGE O. III         SR ACQUISITION I, LLC      04/05/2014   208   212   M
104
MS550223-    JOHNSON, DEREK               SR ACQUISITION I, LLC      04/16/2014   208   244   M
107          MACAULAY
MS550223-    MORGAN, THOMAS RAY           SR ACQUISITION I, LLC      03/27/2014   208   278   M
108
MS550223-    SESSIONS, CHARLES E., ET SN TMS, LLC                    04/07/2014   208   292   M
125          UX
MS550223-    MORGAN, DAVID L.         SR ACQUISITION I, LLC          03/27/2014   208   272   M
126
MS550223-    SESSIONS, CHARLES E., ET NEW CENTURY                    11/28/2011   167   475   M
127          UX                       PRODUCTION CO., LLC
MS550223-    HARVEY, JAMES FORD       ENCANA OIL & GAS (USA)         08/01/2013   196   18    M
128                                   INC.
MS550223-    JACKSON, JAMES FORD,     ENCANA OIL & GAS (USA)         08/01/2013   195   464   M
129          ET AL                    INC.


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Lease No.              Lessor           Lessee                     Lease Date Book Page     S
MS550223-    STAFFORD, FRANCES          ENCANA OIL & GAS (USA)  08/01/2013      195   457   M
130          JACKSON                    INC.
MS550223-    HARMON, JOHN M. III        PETROLEUM PARTNERS, LLC 05/16/2011      162   298   M
131
MS550223-    LEAK, HARRISON CARTER      PETROLEUM PARTNERS, LLC 06/01/2011      166   264   M
132          III, ET AL
MS550223-    PREWITT, PATRICIA          ROBERT L. SMITH &       10/20/2011      168   437   M
133          MORGAN                     ASSOCIATES, INC.
MS550223-    HARVEY, MELBA LEROY        ENCANA OIL & GAS (USA)  08/01/2013      195   449   M
134          JR.                        INC.
MS550223-    HARMON, RICHARD T.         PETROLEUM PARTNERS, LLC 05/16/2011      162   308   M
135
MS550223-    HIMES, ROBERT L.           PETROLEUM PARTNERS, LLC 05/16/2011      162   313   M
136
MS550223-    MAUGH, VIRGINIA            ROBERT L. SMITH &       10/20/2011      168   425   M
137          MORGAN                     ASSOCIATES, INC.
MS550223-    WTJ PROPERTIES, LLC        ENCANA OIL & GAS (USA)  08/01/2013      195   489   M
138                                     INC.
MS550223-    HARMON, WILLIAM H.         PETROLEUM PARTNERS, LLC 05/16/2011      162   293   M
139
MS550223-    MORGAN, JOHN MARVIN        ROBERT L. SMITH &          11/11/2011   168   431   M
140                                     ASSOCIATES, INC.
MS550223-    HARMON, DONALD L.          PETROLEUM PARTNERS,        05/16/2011   162   303   M
141                                     LLC.
MS550223-    SMITH, FRANK CARROLL       PETROLEUM PARTNERS,        05/16/2011   162   318   M
142                                     LLC.
MS550223-    WHETSTONE, GLEN RAY        PETROLEUM LAND             09/01/2011   171   84    M
143          JR.                        SERVICES, LLC
MS550223-    WHETSTONE, JOAN S.,        PETROLEUM LAND             09/14/2011   171   100   M
144          IND/LIFE TENANT            SERVICES
MS550223-    ST. LUKE BAPTIST           F-OIL PROPERTIES, INC.     06/25/2014   225   233   M
145          CHURCH #1
MS550223-    FOULES, DIANE              F-OIL PROPERTIES, INC.     08/01/2014   218   489   M
146
MS550223-    FOULES, DALE               F-OIL PROPERTIES, INC.     08/01/2014   218   498   M
147
MS550223-    FOULES-HEYWARD,            F-OIL PROPERTIES, LLC      08/01/2014   218   516   M
148          CAROLYN
MS550223-    BYRD, KIM JEROME           F-OIL PROPERTIES, INC.     08/01/2014   218   462   M
149
MS550223-    BYRD, MICHELLE             F-OIL PROPERTIES, INC.     08/01/2014   218   507   M
150
MS550223-    BYRD, PATRICK              F-OIL PROPERTIES, INC.     08/01/2014   218   480   M
151


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Lease No.              Lessor           Lessee                     Lease Date Book Page     S
MS550223-    FOULES, LINDA MARIE        F-OIL PROPERTIES, INC.     08/01/2014   218   525   M
152
MS550223-    SPRUELL, JOSHUA            F-OIL PROPERTIES, INC.     08/01/2014   218   471   M
153
MS550223-    PLUMMER, BYRON             F-OIL PROPERTIES, INC.     08/01/2014   214   289   M
154
MS550223-    SWAN, SHELIA               SN TMS, LLC                08/24/2014   218   450   M
155
MS550223-    MARS, DARYL                SN TMS, LLC                08/24/2014   222   587   M
156
MS550223-    PATSY HOFFMAN BOND,        SN TMS, LLC                07/08/2014   214    1    M
157          LLC
MS550223-    M. C DAVIS, LLC            SN TMS, LLC                07/08/2014   213   635   M
158
MS550223-    LAZARD FAMILY (USA)  SN TMS, LLC                      07/08/2014   213   626   M
159          LLC
MS550223-    JORDAN, ROBERT HENRY SN TMS, LLC                      07/08/2014   214   28    M
160
MS550223-    JORDAN, RICHARD            SN TMS, LLC                07/08/2014   214   19    M
161          COLVIN
MS550223-    JORDAN, MICHAEL            SN TMS, LLC                07/08/2014   213   644   M
162          THOMAS
MS550223-    JORDAN, ALAN MCRAE         SN TMS, LLC                07/08/2014   214   10    M
163
MS550223-    JINKS FAMILY, LLC          SN TMS, LLC                07/08/2014   213   617   M
164
MS550223-    HEROLD-WINK-               SN TMS, LLC                06/25/2014   213   589   M
165          VALLHONRAT, L.L.C
MS550223-    HALL, PATTY COLVIN         SN TMS, LLC                07/08/2014   213   580   M
166
MS550223-    COLVIN, JAMES LUDWIG       SN TMS, LLC                07/08/2014   213   571   M
167
MS550223-    COLVIN RESOURCE            SN TMS, LLC                07/08/2014   213   553   M
168          HOLDINGS, LLC
MS550223-    COLVIN, GUS W. JR.         SN TMS, LLC                07/08/2014   213   562   M
169
MS550223-    C.H. COLVIN GROUP, LLC     SN TMS, LLC                07/08/2014   233   543   M
170
MS550223-    HUBBARD, JANE COLVIN       SN TMS, LLC                07/08/2014   213   598   M
171
MS550223-    PLUMMER, JOHNNIE           SN TMS, LLC                09/19/2014   220   627   M
172
MS550223-    CLAY, SHALETTA S.          SN TMS, LLC                09/19/2014   220   612   M
173


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Lease No.              Lessor           Lessee                     Lease Date Book Page     S
MS550223-    PLUMMER, RICHARD           SN TMS, LLC                10/09/2014   220   636   M
174
MS550223-    ROANE-RICHARD, LAKIA       SN TMS, LLC                09/19/2014   221   10    M
175
MS550223-    ROANE, TIMARU R.           SN TMS, LLC                09/19/2014   221    1    M
176
MS550223-    SLAUGHTER, JUANITA         SN TMS, LLC                09/15/2014   221   19    M
177
MS550223-    BYRD, VAN SHION            F-OIL PROPERTIES, INC      08/01/2014   220   603   M
178
MS550223-    MARS, MILDRED              SN TMS, LLC                10/07/2014   220   621   M
179
MS550223-    ROANE, CAROLYN L.          SN TMS, LLC                10/13/2014   222   602   M
180
MS550223-    LANKIN, PAULINE            SN TMS, LLC                10/01/2014   222   593   M
181
MS550223-    GRANGER JR., CAREY LEE SN TMS, LLC                    10/07/2014   222   611   M
182
MS550223-    BYRD, OMARI ALI            F-OIL PROPERTIES, INC      08/01/2014   227   44    M
183
MS550223-    GRANGER, SAMUEL            SN TMS, LLC                01/05/2015   227   38    M
184
MS550223-    MARS, TRACEY               SN TMS, LLC                11/11/2014   227   32    M
185
MS550223-    ROGERS, DARIUS             SN TMS, LLC                10/07/2014   225   616   M
186
MS550223-    VOGT, MARGARET             SN TMS, LLC                02/27/2015   225   293   M
187          LOUISE PARIS
MS550223-    JONES, REV. CECIL          SN TMS, LLC                02/27/2015   225   190   M
188          BARON, JR.
MS550223-    HOFFMAN, JOHN              SN TMS, LLC                07/08/2014   225   622   M
189          PRESTON
MS550223-    DAVIS, LEONA D.            SN TMS, LLC                02/13/2015   227   26    M
190
MS550223-    ROANE, MARCUS J.           SN TMS, LLC                09/19/2014   228   241   M
191
MS550232-    KIMBROUGH, PAMELA          HAROLD J. ANDERSON, INC.   12/28/2011   175   541   M
010          FEHLMAN
MS550232-    ADERMAN, KATHRYN           HAROLD J. ANDERSON, INC.   12/28/2011   175   555   M
011          FEHLMAN
MS550232-    HEBERT, DEBRA F.           HAROLD J. ANDERSON, INC.   12/28/2011   175   548   M
012
MS550232-    HAMIC, STEPHEN C           HAROLD J. ANDERSON, INC.   12/28/2011   175   697   M
013


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Lease No.              Lessor           Lessee                     Lease Date Book Page     S
MS550232-    CANTEY, NANCY H.           HAROLD J. ANDERSON, INC.   12/28/2011   175   690   M
014
MS550232-    STOKLEY, SHAWN E. IND      HAROLD J. ANDERSON, INC.   12/28/2011   175   704   M
015          & AIF BRANDO
MS550232-    KIRSCH, JAMIE STOKLEY      HAROLD J. ANDERSON, INC.   12/28/2011   175   683   M
016
MS550232-    BAKER, JAMES ET UX         HAROLD J. ANDERSON, INC.   05/15/2012   178   209   M
025
MS550240-    CLARK, MABEL M., ET AL HAROLD J. ANDERSON, INC.       11/29/2011   172   160   M
001
MS550243-    SMITH, SARAH NYMA          HAROLD J. ANDERSON, INC.   12/23/2011   179   359   M
001
MS550247-    BRAMLETTE, DAVID           HAROLD J. ANDERSON, INC.   01/17/2012   178   434   M
001
MS550247-    BROWN, BETTY GRAVES        HAROLD J. ANDERSON, INC.   02/07/2012   175   582   M
002
MS550248-    BRAMLETTE, DAVID           HAROLD J. ANDERSON, INC.   01/17/2012   178   430   M
001
MS550255-    MORRIS, ANN P.             HAROLD J. ANDERSON, INC.   01/24/2012   178   276   M
001
MS550255-    CRAWFORD, BEVERLY J.       HAROLD J. ANDERSON, INC.   01/24/2012   178   280   M
002
MS550255-    GILES, CHARLES             HAROLD J. ANDERSON, INC.   02/15/2012   178   40    M
003
MS550255-    NOWELL, TED                HAROLD J. ANDERSON, INC.   02/15/2012   178   33    M
004
MS550257-    WEBSTER, JESSIE P.         HAROLD J. ANDERSON, INC.   02/01/2012   175   182   M
001
MS550257-    BARNES, JULIA MAE          HAROLD J. ANDERSON, INC.   02/01/2012   175   177   M
002
MS550257-    HAMILTON, JANIE P.         HAROLD J. ANDERSON, INC.   02/01/2012   175   172   M
003
MS550257-    PARKER, VIVIAN N.          HAROLD J. ANDERSON, INC.   02/02/2012   175   167   M
004
MS550257-    BROWN, JOE                 HAROLD J. ANDERSON, INC.   02/02/2012   175   162   M
005
MS550257-    BUTLER, TAMMY D.           HAROLD J. ANDERSON, INC.   02/02/2012   175   157   M
006
MS550257-    JOHNSON, VALARIE M.        HAROLD J. ANDERSON, INC.   02/02/2012   175   187   M
007
MS550257-    PATTERSON, GLORIA M.,      HAROLD J. ANDERSON, INC.   03/08/2012   175   192   M
008          ET AL
MS550257-    PARKER, MILDRED            HAROLD J. ANDERSON, INC.   02/02/2012   175   678   M
009


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Lease No.              Lessor             Lessee                     Lease Date Book Page     S
MS550257-    WELSH, RUTH F. CARTER        SR ACQUISITION I, LLC      12/09/2013   198   557   M
010
MS550257-    SESSIONS, CHARLES E., ET SR ACQUISITION I, LLC          12/12/2013   198   584   M
011          UX
MS550257-    SMITH, SALLY             SR ACQUISITION I, LLC          11/29/2013   200   371   M
012
MS550257-    PARKER, GLENN                SR ACQUISITION I, LLC      11/29/2013   200   367   M
013
MS550257-    PARKER, CLARENCE JR.         SR ACQUISITION I, LLC      11/29/2013   200   375   M
014
MS550257-    EARL, WILLIE MAE             SR ACQUISITION I, LLC      11/29/2013   200   379   M
015
MS550257-    FLOWERS, LARRY C. III        SR ACQUISITION I, LLC      12/09/2013   199   259   M
016
MS550257-    CARTER, MARY F. BY AIF       SR ACQUISITION I, LLC      12/09/2013   199   313   M
017          CLAUDIA REED
MS550257-    SMITH, SARAH K.              SR ACQUISITION I, LLC      12/09/2013   200   383   M
018
MS550257-    MORRIS, WILLIAM V. III       SR ACQUISITION I, LLC      12/09/2013   200   389   M
019
MS550257-    BRINSON, VIVIAN              SR ACQUISITION I, LLC      12/09/2013   200   533   M
020
MS550257-    MCMORRIS, JACQUELINE         SR ACQUISITION I, LLC      11/29/2013   203   111   M
021
MS550257-    MCMORRIS, DAMON JR.          SR ACQUISITION I, LLC      11/29/2013   203   569   M
022
MS550257-    MCMORRIS, ANGELA             SR ACQUISITION I, LLC      12/31/2013   203   565   M
023
MS550257-    ROGERS, STACEY               SR ACQUISITION I, LLC      11/29/2013   203   270   M
024          MCMORRIS
MS550257-    BENTLEY-MCMORRIS,            SR ACQUISITION I, LLC      04/15/2014   208   268   M
025          LYSANDRA
MS550257-    MCMORRIS, DARRION            SR ACQUISITION I, LLC      04/15/2014   208   264   M
026          REPR BY GUARDIAN
MS550257-    MCMORRIS, DAVID SR.          SR ACQUISITION I, LLC      11/29/2013   203   561   M
027
MS550257-    WALLACE, DAIJANA             SR ACQUISITION I, LLC      11/29/2013   204   452   M
028
MS550266-    KIFER, HELEN                 HAROLD J. ANDERSON, INC.   12/08/2011   172   136   M
001
MS550266-    DEAN, AMANDA                 HAROLD J. ANDERSON, INC.   12/08/2011   172   130   M
002
MS550266-    BURNSIDE, BEN JR.            HAROLD J. ANDERSON, INC.   12/08/2011   172   133   M
003


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Lease No.              Lessor           Lessee                     Lease Date Book Page     S
MS550266-    WHETSTONE, JOAN S.         HAROLD J. ANDERSON, INC.   02/02/2012   172   142   M
004
MS550266-    WHETSTONE, GLEN RAY        HAROLD J. ANDERSON, INC.   02/02/2012   172   145   M
005          JR.
MS550282-    YOUNG, ELIZABETH           HAROLD J. ANDERSON, INC.   04/06/2012   178    1    M
001
MS550282-    MARY ALICE YOUNG           HAROLD J. ANDERSON, INC.   04/10/2012   177   666   M
002          SACHSE TRUST
MS550282-    EDWARD JOHN YOUNG          HAROLD J. ANDERSON, INC.   04/10/2012   178    7    M
003          JR. TRUST
MS550282-    ALICE YOUNG                HAROLD J. ANDERSON, INC.   05/23/2012   179   475   M
004          IRREVOCABLE TRUST
MS550290-    BROWN, JUDY F.             HAROLD J. ANDERSON, INC,   05/01/2012   176   299   M
005
MS550290-    CARRUTH, YANCEY F.         HAROLD J. ANDERSON, INC.   05/01/2012   176   283   M
006
MS550290-    RUNNELS, GLORIA F.         HAROLD J. ANDERSON, INC.   05/01/2012   176   342   M
007
MS550290-    TATE, KAY F.               HAROLD J. ANDERSON, INC.   05/01/2012   176   316   M
008
MS550290-    WHITE, SUSAN LEAKE         HAROLD J. ANDERSON, INC.   04/25/2012   179   307   M
009
MS550290-    GETER, DENISE G.           HAROLD J. ANDERSON, INC.   05/30/2012   179   53    M
010
MS550290-    MCDOWELL, JUDY R.          HAROLD J. ANDERSON, INC.   05/30/2012   159   277   M
011
MS550290-    DAVIS, CAROLYN R.          HAROLD J. ANDERSON, INC,   05/30/2012   179   285   M
012
MS550290-    BENNETT, BECKY G.          HAROLD J. ANDERSON, INC.   05/30/2012   179   59    M
013
MS550290-    O’MALLEY, BRENDA           HAROLD J. ANDERSON, INC.   05/30/2012   179   281   M
014
MS550290-    ROBERTSON, SAMUEL M.       HAROLD J. ANDERSON, INC.   05/30/2012   179   273   M
015
MS550290-    GONSOULIN, RANDY KIM       HAROLD J. ANDERSON, INC.   05/30/2012   179   47    M
016
MS550290-    EASTWOOD, JEFFREY          HAROLD J. ANDERSON, INC.   05/17/2012   179   491   M
018          ALTON
MS550290-    LEAK, HARRISON CARTER      HAROLD J. ANDERSON, INC    05/28/2012   179   334   M
019          III
MS550290-    LEAK, JAMES CAULFEILD      HAROLD J. ANDERSON, INC.   05/28/2012   179   342   M
020          II
MS550290-    CRAMER, ANNE               HAROLD J. ANDERSON, INC.   05/28/2012   179   350   M
021


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MS550290-    ROWE, GROVER ELLEN         SN TMS, LLC                09/24/2014   220   131   M
022
MS550290-    EARL, LINDA, ET UX         SN TMS, LLC                09/04/2014   217   420   M
023
MS550290-    STULL, CLARA               SN TMS, LLC                09/05/2014   217   440   M
024
MS550290-    BUCKNER, COLLA             SN TMS, LLC                09/05/2014   217   415   M
025
MS550290-    STEWART, BRENDA            SN TMS, LLC                09/15/2014   217   435   M
026
MS550290-    POOLE, GLENDA, ET AL       SN TMS, LLC                09/12/2014   220   121   M
027
MS550290-    SPURLOCK, DELORIS R.       SN TMS, LLC                09/05/2014   220   151   M
028
MS550290-    KELLY, GAIL S.             SN TMS, LLC                09/05/2014   220   136   M
029
MS550290-    DOUGLAS, WYNTRESS          SN TMS, LLC                02/03/2015   225   554   M
030
MS550290-    JONES JR., ARDIS           SN TMS, LLC                10/01/2014   226   481   M
031
MS550290-    JONES, ZERLIN              SN TMS, LLC                10/01/2014   225   549   M
032
MS550290-    DOHERTY JR., ELVIN         SN TMS, LLC                09/09/2014   220   156   M
033
MS550290-    HICKMAN, JOSEPH L.         SN TMS, LLC                09/18/2014   222   644   M
034
MS550290-    MCFARLAND, IRENE           SN TMS, LLC                10/13/2014   224   447   M
035
MS550290-    MCFARLAND, CASIDELL        SN TMS, LLC                10/13/2014   224   455   M
036
MS550290-    SPILLER, KANTRELL          SN TMS, LLC                10/13/2014   224   483   M
037
MS550290-    BROWN, DOUGLAS             SN TMS, LLC                09/15/2014   224   491   M
038
MS550290-    BROWN, SHAFT               SN TMS, LLC                09/15/2014   224   501   M
039
MS550290-    BROWN, WILLIAM, JR.        SN TMS, LLC                09/15/2014   224   496   M
040
MS550290-    EVANS, DIANE               SN TMS, LLC                09/24/2014   224   439   M
041          MCFARLAND
MS550290-    DOHERTY, ERICK             SN TMS, LLC                09/27/2014   224   534   M
042
MS550290-    BROWN, CORNELIUS           SN TMS, LLC                09/15/2014   225   569   M
043


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Lease No.              Lessor           Lessee                     Lease Date Book Page     S
MS550290-    BROWN, GREGORY             SN TMS, LLC                09/15/2014   225   579   M
044
MS550290-    MCFARLAND, WILLARD,        SN TMS, LLC                09/24/2014   225   584   M
045          JR.
MS550290-    BROWN, ELOUISE             SN TMS, LLC                09/15/2014   226   444   M
046
MS550290-    JOHNSON, LINDA             SN TMS, LLC                09/15/2014   226   464   M
047
MS550290-    JONES-JEFFERSON,           SN TMS, LLC                02/03/2015   226   449   M
048          TAMMIE
MS550290-    CLARK, CHRISTINE           SN TMS, LLC                02/03/2015   226   459   M
049
MS550290-    DORSEY, CAROLYN G.         SN TMS, LLC                02/03/2015   226   454   M
050
MS550290-    PARKER, WILLIE             SN TMS, LLC                02/03/2015   226   475   M
051
MS550290-    THOMAS, SHIRLEY            SN TMS, LLC                02/03/2015   226   469   M
052
MS550290-    JONES, ALMA B.             SN TMS, LLC                02/03/2015   226   486   M
053
MS550290-    OCTAVE, CATHERINE          SN TMS, LLC                02/03/2015   227   64    M
054
MS550290-    BROWN, TONYA               SN TMS, LLC                09/15/2014   224   506   M
056
MS550290-    JONES, KISER ARD           SN TMS, LLC                02/03/2015   227   59    M
057
MS550290-    BROWN, JAMES               SN TMS, LLC                03/31/2015   226   579   M
058
MS550290-    KELLY, SHERRY B            SN TMS, LLC                12/30/2014   226   584   M
059
MS550290-    JONES, GERALDINE           SN TMS, LLC                02/03/2015   227   542   M
060
MS550290-    JONES, SAM                 SN TMS, LLC                03/19/2015   227   53    M
061
MS550290-    HUNTER, DOROTHY J.         SN TMS, LLC                03/19/2015   228   52    M
062
MS550290-    HICKMAN, MANUEL SR.        SN TMS, LLC                09/18/2014   229   52    M
063
MS550290-    HICKMAN, CAROL E.          SN TMS, LLC                09/18/2014   229   60    M
064
MS550290-    HICKMAN, CHARLES E.        SN TMS, LLC                09/18/2014   229   28    M
065
MS550290-    HICKMAN, EMANUEL           SN TMS, LLC                09/18/2014   229   36    M
066


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Lease No.              Lessor           Lessee                     Lease Date Book Page     S
MS550290-    HICKMAN, JAMES D.          SN TMS, LLC                09/18/2014   229   20    M
067
MS550290-    HICKMAN, LEON              SN TMS, LLC                09/18/2014   229   44    M
068
MS550290-    JONES, RICHARD             SN TMS, LLC                02/03/2015   229   15    M
069
MS550314-    BRANNAN, WILLIAM           HAROLD J. ANDERSON, INC.   05/20/2012   179   103   M
004          HAROLD
MS550314-    BRANNAN, DAVIS HINES       HAROLD J. ANDERSON, INC.   05/20/2012   178   446   M
005
MS550316-    KIRTLAND, MARY BELLE       HAROLD J. ANDERSON, INC.   05/29/2012   179   262   M
001
MS550316-    KIRTLAND, WALTER A.,   HAROLD J. ANDERSON, INC.       05/29/2012   179   250   M
002          JR.
MS550316-    O’NEIL, KATHERINE HUFF HAROLD J. ANDERSON, INC.       05/29/2012   179   256   M
003
MS550316-    HUFF, LEONA ELIZABETH HAROLD J. ANDERSON, INC.        05/29/2012   179   244   M
004
MS550324-    CAMPBELL, ANNE MARIE       HAROLD J. ANDERSON, INC    04/25/2012   179   226   M
001


                                END OF EXHIBIT “A”




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                                          EXHIBIT B

     Attached to that certain Assignment and Bill of Sale dated effective June 1, 2020, by and
         between SN TMS, LLC, as Assignor, and White River SPV 2 LLC, as Assignee.

                                                 Wells


WELL NAME                     WELL         COUNTY/PARISH             STATE            API NUMBER
                               NO.
CMR “A”                         2             WILKINSON            MISSISSIPP       23157216230000
                                                                       I
CREEK COTTAGE WEST               1            WILKINSON            MISSISSIPP       23157221331000
1H                                                                     I
FASSMAN 9H                       1            WILKINSON            MISSISSIPP       23157220671000
                                                                       I


                                     END OF EXHIBIT “B”




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                                              EXHIBIT C

         Attached to that certain Assignment and Bill of Sale dated effective June 1, 2020, by and
                                   between SN TMS, LLC, as Assignor,
                                 and White River SPV 2 LLC, as Assignee.


Contract No.   Grantor / Operator                   Grantee / Non-Operator                Type
MS550100-      DENNIS GOTREAUX ET UX                AXIS ONSHORE LP                       SALT WATER
SWA                                                                                       DISPOSAL
MS550AGMT-     COMSTOCK RESOURCES                   SANCHEZ OIL & GAS                     LETTER AGREEMENT
001                                                 CORPORATION
MS550AGMT-     SN TMS, LLC                          ENCANA OIL & GAS (USA) INC LETTER AGREEMENT
002
MS550AGMT-     SN TMS, LLC                          GOODRICH PETROLEUM                    LETTER AGREEMENT
003                                                 COMPANY LLC
MS550AGMT-     SM TMS, LLC                          HALCON RESOURCES                      LETTER AGREEMENT
004                                                 OPERATING INC
MS550JOA-      ENCANA OIL & GAS (USA),              SANCHEZ OIL & GAS                     JOINT OPERATING
001            INC., ET AL                          CORPORATION                           AGMT
MS550JOA-      SR ACQUISITION I, LLC, ET            GOODRICH PETROLEUM                    JOINT OPERATING
002            AL                                   COMPANY LLC                           AGMT
MS550JOA-      SR ACQUISITION I, LLC, ET            GOODRICH PETROLEUM                    JOINT OPERATING
003            AL                                   COMPANY LLC                           AGMT
MS550JOA-      HALCON ENERGY                        HALCON OPERATING CO INC               JOINT OPERATING
004            PROPERTIES, INC ET AL                                                      AGMT
MS550JOA-      HALCON ENERGY                        HALCON OPERATING CO INC               JOINT OPERATING
005            PROPERTIES, INC ET AL                                                      AGMT
MS550JOA-      HK TMS, LLC, ET AL                   HALCON OPERATING CO INC               JOINT OPERATING
006                                                                                       AGMT
MS550JOA-      HALCON ENERGY                        HALCON OPERATING CO INC               JOINT OPERATING
007            PROPERTIES INC, ET AL                                                      AGMT
MS550JOA-      PRYME OIL & GAS, INC., ET            AXIS ONSHORE LP                       JOINT OPERATING
008            AL                                                                         AGMT
MS550SUR-      V. J. PURPERA, JR.                   SN TMS, LLC                           PIPELINE EASEMENT
001                                                                                       O&G
MS580ROW-      UNITED STATES                        SANCHEZ OIL & GAS                     ROAD RIGHT OF WAY
003            DEPARTMENT OF AGRC.                  CORPORATION

                                        END OF EXHIBIT “C”




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                             ASSIGNMENT AND BILL OF SALE



STATE OF LOUISIANA                    §
                                      §
PARISH OF CONCORDIA                   §


       This Assignment and Bill of Sale (this “Assignment”) is by and between SN TMS, LLC
(hereinafter referred to as “Assignor”), a wholly owned subsidiary of Sanchez Energy Corporation,
whose address is 1000 Main Street, Suite 3000, Houston, Texas 77002, and White River SPV 2
LLC, whose address is 5899 Preston Road, Suite 505, Frisco, Texas 75034 (hereinafter referred to
as “Assignee”). Assignor and Assignee referred to collectively as the “Parties”.

                                          WITNESSETH:

        WHEREAS, Assignor has agreed to assign to Assignee all of its interest in and to the Assets
(as defined herein);

        WHEREAS, Assignee has agreed to assume the Asset Related Liabilities (as defined
herein);

       NOW, THEREFORE, in consideration of the premises and of the mutual covenants and
agreements hereinafter contained and performed by the Parties hereto, Assignor and Assignee
hereby agree as follows:

                                      ARTICLE 1
                                 CONVEYANCE OF ASSETS

        Section 1.1    Conveyance of Assets. FOR AND IN CONSIDERATION of the
assumption by Assignee of the Asset Related Liabilities (as defined herein) and other good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged by the
Parties, Assignor does, subject to the reservations, covenants, terms and conditions of this
Assignment, hereby GRANT, SELL, CONVEY, TRANSFER, ASSIGN, SET OVER and
DELIVER to Assignee, and Assignee hereby accepts from Assignor, effective as of the Effective
Date (as defined herein), one hundred percent (100%) of Assignor’s interest in and to the following
(the “Assets”):

       (a)   the oil, gas, and mineral leases described in Exhibit “A” attached hereto (“Leases”),
             and all of Assignor’s interest in the Leases and lands described in the Leases or pooled
             or unitized therewith, including, but not limited to, leasehold working interests, net
             revenue interests, royalty interests, non-participating royalty interests, overriding
             royalty interests, net profits interests, reversionary interests, participation rights and
             any and all other interests owned by Assignor in and to the Leases and the lands
             described in the Leases and pooled or unitized therewith;



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       (b)   any wells in which Assignor own an interest (including all oil, gas, water, disposal or
             injection wells) located on any of the Leases or on any expired lease or lands with
             which any Lease has been unitized, whether such wells are producing, shut-in,
             abandoned or in any other condition (“Wells”);

       (c)   any and all surface agreements, rights-of-way, saltwater disposal agreements, joint
             operating agreements, letter agreements, unit designations, unit agreements,
             participation agreements and any other contracts and instruments that are used for, or
             attributable to, the ownership or operation of any of the Leases or Wells
             (“Agreements”); and

       (d)   all files, records, maps, information and data that (i) relate to the ownership, operation
             or development of the Assets described above, (ii) that are in such Assignor’s or its
             Affiliates’ possession, and (iii) that are not subject to confidentiality obligations,
             including: (A) land and title records (including abstracts of title, title opinions and
             title curative documents); (B) applicable contract files; (C) correspondence (to the
             extent not subject to attorney-client privilege or other similar privilege); (D)
             operations, environmental, health and safety, pipeline safety, production, accounting
             and asset tax records (other than to the extent relating to Assignor’s business
             generally); and (E) production, facility and well records and data (including non-
             confidential logs).

       TO HAVE AND TO HOLD the Assets, together with all rights, privileges and
appurtenances thereto, unto Assignee and its successors and assigns forever, subject to the
reservations, covenants, terms and conditions set forth in this Assignment.

       Section 1.2   Excluded Assets.         Assignor hereby reserves and retains the following
(the “Excluded Assets”):

       (a)   all of Assignor’s corporate minute books and corporate financial records that relate
             to Assignor’s business generally;

       (b)   all hydrocarbons produced from the Assets with respect to all periods prior to the
             Effective Date, other than those hydrocarbons produced from or allocated to the
             Assets and in storage or existing in stock tanks, pipelines or plants (including
             inventory) as of the Effective Date;

       (c)   all personal computers, network equipment and associated peripherals not including
             SCADA, measurement or communication equipment;

       (d)   all of Assignor’s proprietary computer software, patents, trade secrets, copyrights,
             names, trademarks, logos and other intellectual property;

       (e)   all documents and instruments and other data or information of Assignor that may be
             protected by an attorney-client privilege, including all work product of and attorney-
             client communications with Assignor’s legal counsel or any other documents or
             instruments that may be protected by an attorney-client privilege, but excluding any


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             title opinions covering, addressing or commenting on the Assets and/or other
             materials addressing the environmental or other condition of the Assets; and

       (f)   all documents and instruments and other data or information that cannot be disclosed
             to Assignee as a result of confidentiality arrangements under agreements with third
             parties.

                                          ARTICLE 2
                                         DISCLAIMERS

       Section 2.1    Disclaimers of All Warranties and Representations.

       (a)     Assignor and Assignee acknowledge and agree that the Assets are being conveyed
without warranty of title of any kind whether expressed or implied, at common law, by statute, or
otherwise. Without in any way limiting the generality of the foregoing, Assignee acknowledges
and agrees that the Assets are being assigned subject to the following:

              (i)    all matters of public record in the parish(es) where a particular Asset is
       located which are still in effect and affect such Asset;

               (ii)   the terms and conditions of all Agreements, Leases (including with respect
       to (x) any Leases that have expired, or will expire, pursuant to their express terms, and (y)
       any portions of any Leases that are lost as the result of any vertical or horizontal “Pugh
       clauses” or other similar provisions contained therein);

              (iii)   liens for taxes or assessments not yet due or delinquent;

               (iv)   conventional rights of reassignment upon final intention to abandon or
       release the Assets, or any of them;

               (v)     easements, conditions, covenants, restrictions, servitudes, permits, rights-
       of-way, surface leases and other similar rights for the purpose of surface or other
       operations, facilities, pipelines, transmission lines, transportation lines, distribution lines,
       power lines, telephone lines and other like purposes, or for the joint or common use of the
       lands, rights-of-way, facilities and equipment;

               (vi)   vendors’, carriers’, warehousemens’, repairmens’, mechanics’, workmens’,
       materialmens’, construction or other like liens arising by operation of law in the ordinary
       course of business or incident to the construction or improvement of any property in respect
       of obligations which are not yet due;

             (vii) liens created under Leases, permits, easements, rights-of-way or
       Agreements, or by operation of law;

              (viii) any encumbrance affecting the Assets that has been cured or remedied by
       applicable statutes of limitation or statutes of prescription;

              (ix)    calls on production under existing Agreements;

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            (x)     defects arising out of lack of survey;

             (xi)   defects arising out of lack of corporate or other entity authorization in the
     public records; and

           (xii) defects that affect only which person has the right to receive royalty
     payments (rather than the amount of the proper payment of such royalty payment).

       (b)   IN ADDITION, ASSIGNOR MAKES NO WARRANTIES, EXPRESS,
STATUTORY OR IMPLIED, OR REPRESENTATION OF ANY KIND AND ASSIGNOR
EXPRESSLY DISCLAIMS ALL LIABILITY AND RESPONSIBILITY FOR ANY
REPRESENTATION, WARRANTY, STATEMENT OR INFORMATION MADE OR
COMMUNICATED (ORALLY OR IN WRITING) TO ASSIGNEE OR ANY ASSIGNEE
REPRESENTATIVE (INCLUDING ANY OPINION, INFORMATION, PROJECTION OR
ADVICE THAT MAY HAVE BEEN PROVIDED TO ASSIGNEE BY ASSIGNOR, ANY
AFFILIATE OR SUBSIDIARY OF ASSIGNOR, OR ANY OF THEIR RESPECTIVE
OFFICERS, DIRECTORS, MANAGERS, MEMBERS, PARTNERS, EMPLOYEES, AGENTS,
ADVISORS, PROFESSIONALS OR REPRESENTATIVES). WITHOUT IN ANY WAY
LIMITING THE GENERALITY OF THIS SECTION 2.1, ASSIGNOR EXPRESSLY
DISCLAIMS ANY REPRESENTATION OR WARRANTY, EXPRESS, STATUTORY OR
IMPLIED BY ASSIGNOR, ANY AFFILIATE OR SUBSIDIARY OF ASSIGNOR, OR ANY OF
THEIR RESPECTIVE OFFICERS, DIRECTORS, MANAGERS, MEMBERS, PARTNERS,
EMPLOYEES, AGENTS, ADVISORS, PROFESSIONALS OR REPRESENTATIVES, AS TO
(I) TITLE TO ANY OF THE ASSETS, (II) THE CONTENTS, CHARACTER OR NATURE OF
ANY REPORT OF ANY PETROLEUM ENGINEERING CONSULTANT, OR ANY
ENGINEERING, GEOLOGICAL OR SEISMIC DATA OR INTERPRETATION, RELATING
TO THE ASSETS, (III) THE QUANTITY, QUALITY OR RECOVERABILITY OF
HYDROCARBONS IN OR FROM THE ASSETS, (IV) ANY ESTIMATES OF THE VALUE
OF THE ASSETS OR FUTURE REVENUES GENERATED BY THE ASSETS, (V) THE
PRODUCTION OF HYDROCARBONS FROM THE ASSETS, (VI) THE MAINTENANCE,
REPAIR, CONDITION, QUALITY, SUITABILITY, DESIGN OR MARKETABILITY OF THE
ASSETS, (VII) THE CONTENT, CHARACTER OR NATURE OF ANY INFORMATION
MEMORANDUM, REPORTS, BROCHURES, CHARTS OR STATEMENTS PREPARED BY
OR ON BEHALF OF ASSIGNOR OR THIRD PARTIES WITH RESPECT TO THE ASSETS,
(VIII) ANY OTHER MATERIALS OR INFORMATION THAT MAY HAVE BEEN MADE
AVAILABLE TO ASSIGNEE OR ANY ASSIGNEE REPRESENTATIVE IN CONNECTION
WITH THE TRANSACTION EFFECTED BY THIS ASSIGNMENT OR ANY DISCUSSION
OR PRESENTATION RELATING THERETO AND (IX) ANY IMPLIED OR EXPRESS
WARRANTY OF FREEDOM FROM PATENT OR TRADEMARK INFRINGEMENT.

     (c)  ASSIGNOR FURTHER DISCLAIMS ANY REPRESENTATION OR
WARRANTY, EXPRESS, STATUTORY OR IMPLIED, OF MERCHANTABILITY,
FREEDOM FROM LATENT VICES OR DEFECTS OR REDHIBITORY DEFECTS, FITNESS
FOR A PARTICULAR PURPOSE OR CONFORMITY TO MODELS OR SAMPLES OF
MATERIALS OF ANY ASSETS, RIGHTS OF A PURCHASER UNDER APPROPRIATE
STATUTES TO CLAIM DIMINUTION OF CONSIDERATION OR RETURN OF THE
PURCHASE PRICE OR CONSIDERATION, IT BEING EXPRESSLY UNDERSTOOD AND

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AGREED BY THE PARTIES THAT, ASSIGNEE SHALL BE DEEMED TO BE ACQUIRING
THE ASSETS IN THEIR PRESENT STATUS, CONDITION AND STATE OF REPAIR, “AS
IS” AND “WHERE IS” WITH ALL FAULTS OR DEFECTS (KNOWN OR UNKNOWN,
LATENT, DISCOVERABLE OR UNDISCOVERABLE), AND THAT ASSIGNEE HAS MADE
OR CAUSED TO BE MADE SUCH INSPECTIONS AS ASSIGNEE DEEMS
APPROPRIATE. WITHOUT LIMITING THE FOREGOING, ASSIGNOR FURTHER
DISCLAIMS ANY REPRESENTATION OR WARRANTY, EXPRESS, STATUTORY OR
IMPLIED, OF THE VALUE, QUALITY, QUANTITY OR DELIVERABILITY OF ANY OIL,
GAS, OR OTHER MINERAL OR RESERVE, ATTRIBUTABLE OR RELATED TO THE
ASSETS.

        (d)     Assignee hereby (i) expressly waives all warranties relating to fitness for a
particular purpose or guarantee against hidden or latent redhibitory vices under Louisiana law,
including all rights in redhibition pursuant to Louisiana Civil Code Articles 2520, et. seq., and the
warranty imposed by Louisiana Civil Code Article 2475; (ii) acknowledges that this express
waiver of redhibition shall be considered a material and integral part of this Assignment and the
good, valuable and sufficient consideration made part hereof; and (iii) acknowledges that this
waiver of all rights of redhibition has been reviewed by Assignee or counsel of its choosing, has
been knowingly and voluntarily consented to, is supported by adequate consideration, and is
effective upon the execution hereof.

        (e)    To the extent applicable to the Assets or any portion thereof, Assignee hereby
waives the provisions and all protections of the Louisiana Unfair Trade Practices and Consumer
Protection Law (La. R.S. 51:1402, et. seq.). Assignee warrants and represents that it: (i) is
experienced and knowledgeable with respect to the oil and gas exploration industry generally and
with transactions and assignments of this type specifically; (ii) possesses more than sufficient
knowledge, experience and expertise to evaluate independently the merits and risks of the
transactions herein contemplated; and (iii) is not in a materially disparate bargaining position when
compared to Assignor.

     (f)  ASSIGNOR HAS NOT AND WILL NOT MAKE ANY REPRESENTATION OR
WARRANTY REGARDING ANY MATTER OR CIRCUMSTANCE RELATING TO
ENVIRONMENTAL LAWS, THE RELEASE OF HAZARDOUS MATERIALS OR OTHER
MATERIALS INTO THE ENVIRONMENT OR THE PROTECTION OF HUMAN HEALTH,
SAFETY, NATURAL RESOURCES OR THE ENVIRONMENT, OR ANY OTHER
ENVIRONMENTAL CONDITION OF THE ASSETS, AND NOTHING IN THIS
ASSIGNMENT OR OTHERWISE SHALL BE CONSTRUED AS SUCH A
REPRESENTATION OR WARRANTY. ASSIGNEE SHALL BE DEEMED TO BE
ACQUIRING THE ASSETS “AS IS – WHERE IS” WITHOUT ANY REPRESENTATION OR
WARRANTY WHATSOEVER, WITH ALL FAULTS FOR PURPOSES OF THEIR
ENVIRONMENTAL CONDITION, AND ASSIGNEE HAS MADE OR CAUSED TO BE
MADE SUCH ENVIRONMENTAL INSPECTIONS AS ASSIGNEE DEEMS
APPROPRIATE. ASSIGNEE SHALL RELY, AND HEREBY RELIES, UPON ASSIGNEE’S
OWN INVESTIGATION AND DUE DILIGENCE OF THE PHYSICAL CONDITION OF THE
ASSETS, INCLUDING ANY AND ALL ENVIRONMENTAL CONDITIONS, AND
ASSIGNEE HEREBY ACCEPTS THE ASSETS INCLUSIVE OF ANY ADVERSE


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ENVIRONMENTAL CONDITION PRESENTLY EXISTING, WHETHER KNOWN OR
UNKNOWN.

      (g)  ASSIGNEE ACCEPTS THIS ASSIGNMENT SUBJECT TO AND ON THE
BASIS OF THE FOREGOING DISCLAIMERS, DISCLAIMS ANY RELIANCE ON ANY
STATEMENTS OR INFORMATION MADE OR PROVIDED REGARDING ANY SUCH
MATTERS, AND WAIVES ANY RIGHTS IT MAY OTHERWISE HAVE HAD TO RELY ON
ANY SUCH STATEMENTS OR INFORMATION. ASSIGNOR AND ASSIGNEE AGREE
THAT, TO THE EXTENT REQUIRED BY APPLICABLE LAW TO BE EFFECTIVE, THE
DISCLAIMERS OF CERTAIN REPRESENTATIONS AND WARRANTIES CONTAINED IN
THIS SECTION 2.1 ARE CONSPICUOUS DISCLAIMERS.

         Section 2.2      Except to the extent constituting Retained Liabilities, Assignee hereby
assumes and agrees, by accepting this Assignment, the responsibility for the Assets and all the
risk, cost, and expense of all Liabilities and operations related to the Assets, including without
limitation (i) any ongoing operations related to any Asset, (ii) any and all repair and maintenance
related to the Assets, (iii) the proper plugging and abandoning of any wells, (iv) any surface
restoration or environmental obligations related to any of the Assets, (v) any release, discharge, or
emission of hydrocarbons, hazardous substances, hazardous wastes, hazardous materials, solid
wastes or pollutants into or onto the environment, and (vi) all other Liabilities relating to, arising
out of or arising in connection with the use, occupation, operation, ownership, maintenance or
abandonment of the Assets whether arising prior to, on or after the Effective Date (all Liabilities
set forth in this Section 2.2, collectively, the “Asset Related Liabilities”). As used in this
Assignment, “Liability” or “Liabilities” means any debt, liability, loss, damage, claim, demand,
cost, expense (including reasonable attorneys’ and consultants’ fees and expenses), interest, award,
judgment, penalty, fine, commitment or obligation (whether direct or indirect, known or unknown,
asserted or unasserted, absolute or contingent, accrued or unaccrued, matured or unmatured,
determined or determinable, disputed or undisputed, liquidated or unliquidated, or due or to
become due) of every kind and description (whether in contract, tort, strict liability or otherwise),
including all costs and expenses related thereto (including all fees, disbursements and expenses of
legal counsel, experts and advisors and costs of investigation), and including Liabilities arising
under any law, regulation, lawsuit or other legal action, any order, writ, judgment, injunction,
decree, stipulation, determination or award entered by or with any governmental, regulatory or
administrative authority and Liabilities arising under any of the Agreements and whether arising
prior to, on or after the Effective Date. “Retained Liabilities” means the following obligations and
Liabilities, known or unknown, arising from, based upon or associated with the Assets: (a)
personal injury, illness or death relating to the use, ownership or operation of the Assets prior to
the Effective Date to the extent such injury, illness or death occurs both prior to the Effective Date
and during Assignor’s ownership of the Assets; (b) Hazardous Materials related or attributable to
the Assets that, during Assignor’s ownership of the Assets, were disposed of by Assignor or any
of its affiliates at off-site commercial disposal facilities; and (c) any claim made by an employee
of Assignor or any of its affiliates relating to such employment.

        Section 2.3  Assignee agrees to defend, indemnify and hold harmless Assignor and
Sanchez Oil & Gas Corporation (“SOG”) (which acted as contract operator), their respective
agents, employees and assigns (each an “Indemnified Party” and collectively, the “Indemnified
Parties”) from any and all Asset Related Liabilities and any and all obligations and Liabilities

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relating to, arising out of or arising in connection with Assignee’s and/or SOG’s operation or use
of the Assets, even if such Liabilities arose from conditions, actions or inactions occurring prior
to, on or after to the Effective Date of this Assignment and even if such Liabilities are caused in
whole or in part by, or contributed to by, the negligence (whether sole, joint or concurrent), strict
liability or any other legal fault of an Indemnified Party, its affiliates, agents, employees or
contractors, or any invitee or third party, and whether or not caused by a preexisting condition.

        Section 2.4    Additionally, Assignee hereby agrees to indemnify and hold harmless
Assignor and the Indemnified Parties from any and all claims arising from the production and sale
of hydrocarbons from the Assets assigned hereunder, including the accounting or payment to third
parties of monies attributable to their interests in such production, including any suspense funds,
insofar as such claims relate to hydrocarbons produced from any wells. Assignee shall be subject
to, responsible for and comply with, at its sole cost and expense, all duties and obligations of
Assignor and any of the Indemnified Parties, express or implied, with respect to the Assets under
or by virtue of any Lease, contract, agreement, document, permit, applicable statute or rule,
regulation or order of any governmental authority or at common law, specifically including, but
not limited to, any governmental request or requirement or contractual obligation to plug, re-plug
and/or abandon any well of whatsoever type, status or classification, or take any clean-up, surface
restoration, environmental abatement or remediation or other action with respect to the Assets.

                                          ARTICLE 3
                                       MISCELLANEOUS

        Section 3.1     Government Filings. Assignee agrees and warrants that upon the execution
of this Assignment either Assignee or its designated operator will satisfy all requirements to
qualify under federal, state, and local laws, ordinance, regulations, and orders to operate any wells,
including but not limited to, satisfying the financial security requirements under §104 of Statewide
Order 29-B of the Louisiana Office of Conservation, Department of Natural Resources and will
submit a change of operator form, Form MD-10-R-AO, and any required Surface Owner Contact
Information forms, Form SOCI, to the Louisiana Office of Conservation, Department of Natural
Resources, listing any and all wells. In addition, Assignee agrees and warrants that upon the
execution of this Assignment Assignee will notify the Louisiana State Mineral and Energy Board
and Office of Mineral Resources of the transfer of each state Lease and submit the required Form
B (Statement of Conveyance) and Form C for each state lease along with the requisite transfer
payment at Assignee’s sole cost and expense.

        Section 3.2   Sale Order. This Assignment is expressly made subject to the terms of that
certain Sale Order dated June 18, 2020, issued by the United States Bankruptcy Court for the
Southern District of Texas in Case No. 19-34508 (the “Sale Order”).

        Section 3.3    Taxes. Assignee shall assume and pay all taxes, including ad-valorem
taxes, production taxes, or any other taxes of any kind or character imposed on the Assets as of the
Effective Date of this Assignment.

        Section 3.4    Successors and Assigns. This Assignment shall be binding upon and inure
to the benefit of the Parties and their respective successors and assigns. All references herein to
either Assignors or Assignee shall include their respective successors and assigns.

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      Section 3.5    Incorporation of Exhibit “A”.         The Exhibit “A” referred to in this
Assignment constitutes a part of this Assignment.

        Section 3.6   Counterparts. This Assignment may be executed in counterparts, each of
which shall be deemed an original instrument, but all such counterparts together shall constitute
one instrument. No Party shall be bound until such time as all of the Parties have executed
counterparts of this Assignment. To facilitate recordation or filing of this Assignment, each
counterpart must be filed with a parish or state agency or office that contain those portions of
Exhibit “A” to this Assignment that describe Leases in that parish or under the jurisdiction of that
agency or office. Complete copies of this Assignment containing the entire Exhibit “A” have been
retained by Assignor and Assignee.

        IN WITNESS WHEREOF, this Assignment has been executed by each of the Parties as
of the dates of the acknowledgments below but shall be effective for all purposes as of June 1,
2020 (the “Effective Date”).


                                    [Signature Page Follows]




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ASSIGNOR:

SN TMS, LLC

By: _________________________________
Name:
Title:


 1.                            WITNESS

 (print name)


 2.                            WITNESS

 (print name)




                        Signature Page to Assignment and Bill of Sale
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 STATE OF

 COUNTY OF



         Personally appeared before me, the undersigned authority for the State and County
 aforesaid, _____________________________, as _________________________________ of
 SN TMS, LLC , who after being by me first duly sworn, stated under oath that he signed the
 above Assignment freely and voluntarily with full knowledge of the facts and matters contained
 therein, and that he was duly and properly authorized by SN TMS, LLC to execute this document
 on behalf of the limited liability company and bind the company to the terms and conditions of
 this Assignment.

        SWORN TO AND SUBSCRIBED before me this the                  day of                ,
        2020.

                                                _______________________________________
                                                NOTARY
____________________
My commission expires




                          Signature Page to Assignment and Bill of Sale
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ASSIGNEE:

WHITE RIVER SPV 2 LLC,
a Texas limited liability company


By: _________________________________
Name: Jason Puchir
Title: Chief Financial Officer




 1.                                 WITNESS

 (print name)


 2.                                 WITNESS

 (print name)




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 STATE OF

 COUNTY OF



         Personally appeared before me, the undersigned authority for the State and County
 aforesaid, JASON PUCHIR, as Chief Financial Officer of White River SPV 2 LLC, who after
 being by me first duly sworn, stated under oath that he signed the above Assignment freely and
 voluntarily with full knowledge of the facts and matters contained therein, and that he was duly
 and properly authorized by White River SPV 2 LLC to execute this document on behalf of the
 limited liability company and bind the company to the terms and conditions of this Assignment.

        SWORN TO AND SUBSCRIBED before me this the                   day of                 ,
        2020.

                                                 _______________________________________
                                                 NOTARY
____________________
My commission expires




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                                                          EXHIBIT A
 Attached to that certain Assignment and Bill of Sale dated effective June 1, 2020, by and between SN TMS, LLC, as Assignor, and
                                               White River SPV 2 LLC, as Assignee.

                                                             Leases

                                                                                      Lease
Lease No.                 Lessor               Lessee                                            Book Page     File No.   State     Parish
                                                                                      Date
LA532001-   PEABODY, ANDREW L., ET AL          RESURGENCE ENERGY                    07/14/2006   418    830     258597     LA      Concordia
001                                            PARTNERS LTD
LA532001-   BAXTER, KELLY H.                   RESURGENCE ENERGY                    08/15/2006   421    737     260824     LA      Concordia
002                                            PARTNERS LTD
LA532001-   DORBANDT, KENNETH T.               RESURGENCE ENERGY                    08/15/2006   419    961     259394     LA      Concordia
003                                            PARTNERS LTD
LA532001-   SMITH, CAROL PORTER                TRIDIMENSION ENERGY LP               10/14/2008   431    281     269537     LA      Concordia
004
LA532001-   RICCI JR., ARMADO T., ET AL        RESURGENCE ENERGY                    07/28/2006   419    425     259056     LA      Concordia
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